                     Plaintiff’s Exhibit B




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     AGREEMENT
                 Between the




                Union Pacific




                                          A
                  Railroad

                      and the
                                 IN
                   AV

  Transportation - Communications
          P-


                Union
    U



                 Effective July 31,2006
                        PB-90100




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'RULE 1 - SCOPE.

I       (a)    These rules shall govern the hours of service, rates of pay and working conditions of
the employees engaged in the work of the craft or class of clerical, office, station, tower and
telegraph station and store house employees as such craft or class is or may be defined by the
National Mediation Board.

        (b)     The work of the craft or class includes the writing or calculating incident to keeping
records and accounts, writing and transcribing letters, bills, reports, statements and similarwork and
to the operation of the following machines or devices, or similar equipmentor new office mechanical
or electronic equipment or devices when used in the performance of work within the scope of this
Agreement:

                                       Typewriters
                                       Adding Machines
                                       Calculating Machines
                                       Bookkeeping Machines
                                       Accounting Machines
                                       Timekeeping Machines
                                       Statistical Machines




                                                                          A
                                       Teletype Machines
                                       Dictaphone Machines
                                       Keypunch Machines
                                       Electronic Accounting Machines


       (c)                                                 IN
                                       Cathode Ray Tube Machines

               The following positions or work is subject to the provisions of this Agreement:

               TELEGRAPHERS.          Agents, agent-telegraphers, agent- telephoners,
                                       AV
       telegraphers, telephoners, telegrapher- clerks, telephoner-clerks, telegrapher-car
       distributors, ticket clerk-telegraphers, telegrapher-- switchtenders, CTC.
       telegraphers, train and tower directors, towermen, levermen, block operators,
       staffmen, managers, wire chiefs, repeater chiefs, chief operator, printer
       mechanicians, telephone operators (except switchboard operators) teletype
       operators, printer operators, agents non-telegraphers, and agents non-telephoners
       herein listed.
              P-


                OTHERS. Office, station and stores employees, such as office boys,
       messengers, chore boys, train announcers, gatemen, baggage and parcel room
       employees (other than clerks), train and engine crew callers, station helpers,
       telephone switchboard operators, elevator operators, and watchmen (except in
       Special Service Department) employees engaged in assorting waybills and/or
             U



       tickets, operators of office or station equipment devices, and appliances or machines
       for perforating, addressing envelopes, numbering claims and other papers, gathering
       and distributing mail, adjusting dictating machine cylinders and other analogous
       service; laundry workers, janitors and laborers employed in and around offices,
       stations, storehouses and warehouses.

               NOTE: The foregoing listing of positions is for reference and identification
                     purposes only. Such listing does not restrict inclusion within the
                     Scope of the Agreement any positions not specifically listed above.




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        (d)    EXCEPTIONS:

       (d-1) The immediate office force of the following officers of the Company, the specific
departments listed hereunder, and the positions listed in Attachment No.1 are excepted from all of
the provisions of this Agreement except Rules 1 and 2; however, all such positions are included in
and are a part of the craft and class by this Agreement:

                     EXECUTIVE OFFICES AND EXEMPT DEPARTMENTS
Office of:

        President                                   All Positions
        Vice President - Executive Dept.
        Vice President - Finance & Admin.
        Vice President - Information Tech.
        Exec. Vice President - Operations
        Exec. Vice President - Marketing & Sales
        Labor Relations Department
        Law Department
        Risk Management Section of Operations Department
        Controller




                                                                          A
        Security & Special Services

                            ASSISTANT VICE PRESIDENT OFFICES



        Assistant Vice President - Planning & Analysis
        Administrative Assistant - AVP - P&A
        Secretary - AVP - P&A
                                                           IN
        The following specific positions are also subject to this exception (d-1):
                                       AV
        Assistant Vice President - Sales
        Assistant to AVP - Sales
        Secretary to AVP - Sales

        Assistant Vice President - Marketing
        Secretary to AVP - Marketing
               P-


        Assistant Vice President - Intermodal Sales
        Secretary to AVP -IMS

        Vice President - Human Resources
        EEO Coordinator (2)
              U



        Secretary to VP - Human Resources

        Assistant Vice President - Supply
        Personnel Administrator
        Secretary to AVP- P&M

        Assistant Vice President - Operations
        Secretary to AVP - Operations



                                                  2




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        Except in the Executive Offices and Exempt Departments shown above, the establishment of
additional positions under this class of 1(d-1) exception, including positions listed in the offices of
Assistant Vice Presidents and those positions shown on Attachment 1, can only be accomplished by
agreement between the Director of Labor Relations and the General Chairman.

        (d-2) The rules of this Agreement, except Rules 1,2 and 10, are not applicable to clerical
positions, the nature of which consists of Associate Business Systems Consultant, System Method
Analyst, Information & Assistance Analyst, Junior Programmer, Programmer and Senior
Programmer and the positions listed in Attachment NO.2. Any addition to this list of excepted
positions shall be made only by agreement between the Director of Labor Relations and the General
Chairman. Employees holding these excepted positions shall be subject to the terms and provisions
of the Union Shop Agreement (Appendix C), notwithstanding the exceptions set forth in Sections 2
and 3 thereof.

        (e-1) Partially excepted positions are excepted from the promotion, assignment and
displacement rules of this Agreement. Employees holding these positions shall be subject to the
Union Shop Agreement (Appendix No. C), notwithstanding the exceptions set forth in Sections 2
and 3 thereof.

       (e-2) All Services Rendered (ASR) partially excepted positions are excepted from the




                                                                            A
promotion, assignment displacement and "overtime and call" rules of this Agreement. Employees
holding these ASR positions shall be SUbject to the Union Shop Agreement (Appendix No. C),
notwithstanding the exceptions set forth in Section 2 and 3 thereof.


formula established by the National Salary Plan.
                                                            IN
       The straight time hourly rate of the positions referred to herein will be determined by the


        As long as these positions are retained on this basis future adjustments ofthe rates of these
positions will be on the same basis.
                                        AV
       The designation of any partially excepted position as ASR will require an agreement between
the Senior Director of Labor Relations and the General Chairman.

       (e-3) Partially excepted positions covered by Sections (e-1) and (e-2) shall be bulletined in
the department or office affected in accordance with Rule 11, but selection of the incumbent shall be
a matter for the determination of the head of the department, subject only to the condition that
preference shall be given to employees in service.
              P-


       Employees working in the Zone in which the partially excepted position is located shall be
given preference, and if in the judgment of the head of the department none of the applicants from
such Zone are qualified, selection shall be made from the qualified employees in other Zones.
             U



        (e-4) The Carrier may designate not more than seventeen (17) percent of the current
number of clerical positions covered by this Agreement (excluding Rule 1[d-1] and Rule 1[d-2]
positions) as partially excepted positions.

        (e-5) In the event the Company transfers the partially excepted designation from one
position to another, the General Chairman will be notified in writing five (5) days in advance of such
transfer. The position from which the partially excepted designation is transferred will be considered
a new position and shall be bulletined for seniority choice. If a partially excepted designation is
transferred from one position to another, that designation will not again be transferred for a period of
three (3) months.

                                                   3




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         (e-6) The Company will provide the General Chairman with a listing of all authorized positions
indicating the designation of each position (fullycovered or partially excepted) at the first of each month.

       (f-1)  Rules of this Agreement covering assigned work day, rest day and holiday service,
overtime and calls, shall not apply to these positions except as provided in (f-2).

        (f-2)    The number of days comprehended in the workweek for positions included in Section
(f) of Rule 1 is six (6). Such employees included in this Section (f) shall be assigned one regular
rest day per week, Sunday, if possible. Rules applicable to five (5) day positions covered by this
Agreement shall apply to service on such assigned rest day. Such employees may be used on the
sixth day of the work week to the extent needed at the straight time rate of pay. If not worked on the
sixth day, or if worked less than a full day on such sixth day, there shall be no reduction in
compensation. Service on other than the assigned rest day shall be compensated for under the
rules applicable to these positions prior to September 1, 1949.

       The straight time hourly rate of the positions referred to herein will be determined by the
formula established by the National Salary Plan.

         (f-3)   Positions included in Section (f), classified as Agent-Telegraphers, shall be bulletined
and assigned in accordance with the Bulletin and Assignment Rules. All other positions included in




                                                                              A
this Section (f) shall be bulletined and applications considered on the basis of qualifications.
Applicants must be approved by the Service Unit Superintendent. Where qualifications are
sufficient, seniority shall govern.

        (g)
applications considered on the basis of qualifications.

         (h)
                                                              IN
               Monthly rated positions of Communication Specialists shall be bulletined and


                 Employees covered by the provisions ofthis Agreement shall be given preference in
filling positions included in Section (d-2) and Sections (e), (f) and (g) of this Rule 1.
                                         AV
       (i)    The title of a position shall be determined by the preponderance of the duties
assigned to such position.

         G)     Except as otherwise provided in this Agreement, work assigned to partially excepted
or fully covered positions shall not be removed and assigned to excepted positions covered by
paragraphs (d).
              P-


      (k)     Except as otherwise provided in this Agreement, positions or work covered by this
Scope Rule belong to the employees covered thereby and shall not be removed therefrom except by
agreement between the Director of Labor Relations and the General Chairman.

       (L)     Work covered by this Scope Rule which is incident to and directly attached to the
             U



primary duties of an employee not covered by this Agreement may be performed by such employee
provided the performance of such work does not involve the preponderance of the duties of such
other employee. Except as otherwise provided in this rule, nothing in this paragraph (L) will permit
the abolishment of a clerical position and the transfer of the work of that position to an employee not
covered by this Agreement.




                                                     4




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       (m)    Nothing in this Agreement shall be construed as removing positions orwork from its
coverage that was subject to the Agreement bearing an effective date of June 1, 1975.

         (n)   TYING AND UNTYING TRAILERS. The work of tying down and untying "piggy back"
trailers, automobiles and containers moving on rail cars shall, except as otherwise provided, be
performed by the employees covered by this agreement at those stations where, as of May 1, 1970,
such work was being performed by them; provided, however, that at stations where the work is to be
performed at a time when there are no such forces on duty, the work may be performed by other
employees then on duty regularly assigned to such work.

        NOTE: It is understood this Section (n) makes no change in the practices where
              employees other than station forces perform the tiedown and untying work at
              points where the work is likewise handled by station forces, nor does it
              preclude reassignment of such duties to others where it is not the obligation
              of the Company to have the work performed by its own employees.

        (0)     TRAIN ORDERS.

        (0-1) At locations which were identified as Union Pacific locations for purposes of applying
the UPfTCU Agreement prior to the effective date of this Agreement, no employee other than




                                                                            A
covered by this Agreement and train dispatchers will be permitted to handle train orders at telegraph
or telephone offices where a telegrapher or train order clerk is employed and is available or can be
promptly located, except in an emergency, in which case the employee shall be paid a call as
provided in Rule 39.


              Agreement qualified to handle train orders.   IN
        NOTE: The term "train order clerk" shall mean an employee covered by this


        (0-2) At locations which were identified as Missouri Pacific (including Texas and Pacific)
                                        AV
locations for purposes of applying the MPfTCU Agreement prior to the effective date of this
Agreement, the respective Train Order Rules (Rule 48 and Rule 48-A) of the MPfTCU Agreement
effective March 1,1973 as amended by subsequent agreements, including National Agreements,
will continue to apply. (Appendix W)


RULE 2 - SENIORITY DATE.
                        P-


      (a)    Subject to the provisions of Rules 37 and 44 and except as hereinafter provided,
employees in the craft and class shall establish a seniority date on the first day for which
compensation is paid in the performance of work under this Agreement.

        (b)     Where two or more persons are employed on the same day, seniority rank shall be
              U



determined by the last four digits of the persons' Social Security numbers. The employee with the
lowest last four digits will be ranked first and the other employees will follow in ascending sequential
order. In the event the last four digits of two or more employees' Social Security numbers are
identical, the next two digits of those employees' Social Security numbers will be utilized with the
lowest number placed on the seniority roster first and the other employees following in ascending
sequential order."




                                                   5




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        (c)    When positions included in Rule 1(d-1) are filled by other than employees covered by
this Agreement, a seniority date shall be granted on the date of such employment and shall be
maintained provided that within sixty (60) days of such initial employment with the Carrier the
employee establishes and thereafter maintains membership in good standing with the Organization
as provided in Rule 10.


RULE 3 - ENTRY RATES.

        Employees entering service on positions covered by an agreement with TCU shall be paid as
follows for all service performed within the first thirty-six (36) calendar months of service, in
accordance with the Scheinman Award dated December 5, 1994, amending Article III of the April 15,
1986 National Agreement:

       (a)    For the first twelve (12) calendar months of employment, new employees shall be
paid 85% of the applicable rates of pay (including COLA).

       (b)    For the second twelve (12) calendar months of employment, such employees shall be
paid 90% of the applicable rates of pay (including COLA).




                                                                           A
       (c)    For the third twelve (12) calendar months of employment, such employees shall be
paid 95% of the applicable rates of pay (including COLA).

        (d)    Employees who have had an employment relationship with the carrier and are rehired

service.

       (e)
                                                                N
will be paid at established rates after completion of a total of thirty-six (36) months' combined


              Service in a craft not represented by TCU shall not be considered in determining
                                                  VI
periods of employment under this rule.

       (f)    Employees who have had a previous employment relationship with a carrier in a craft
represented by TCU and are subsequently hired by another carrier shall be covered by this Article,
as amended. However, such employees will receive credit toward completion of the thirty-six (36)
                           A
month period for any month in which compensated service was performed in such craft provided
that such compensated service last occurred within one year from the date of SUbsequent
employment.
                        P-


         (g)     Any calendar month in which an employee does not render compensated service due
to furlough, voluntary absence, suspension, or dismissal shall not count toward completion of the
thirty-six (36) month period.

        (h)     Agreements which provide for training or other reduced rates that are lower than
             U



those provided for in Section 1 are preserved. If such agreements provide for payment at the lower
rate for less than the first thirty-six (36) months of actual service, Section 1 of this Article will be
applicable during any portion of that period in which such lower rate is not applicable.




                                                   6




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RULE 4 - MASTER SENIORITY ROSTER.

       (a)     A system-wide Master Seniority Roster shall be derived from a dovetailing offormer
Union Pacific Zones and Missouri Pacific Districts.

       (b)    For administrative purposes, the Master Roster shall be defined as Master Seniority
Roster 250 and will be comprised of the following Seniority Zones:

       Zone    200 - Omaha Headquarters
               201 - Harriman Dispatch Center
               202 - Field Operations Nebraska/Kansas/Iowa
               203 - Field Operations Wyoming/Colorado
               204 - Field Operations Idaho/Montana
               205 - Field Operations Utah
               206 - Field Operations OregonlWashington
               207 - Field Operations California/Nevada
               208 - Marketing & Sales
               209 - Field Operations Arizona
               210-NCSCOmaha
               212 - Omaha Accounting




                                                                        A
               216 - St. Louis Headquarters
               220 - Field Operations Texas (includes Nogalez, AZ and Calexico, CA)
               222 - Field Operations MissourillllinoislTennessee
               223 - Field Operations Arkansas
               224 - Field Operations Oklahoma/Louisiana
               225 - Omaha Building Services
               226 - UP Northern District
                                                             N
                                                VI
        (c)    Work location or department of employees holding seniority rights on the Master
Seniority Roster shall determine the Zone to which each employee is initially and subsequently
assigned. Thereafter, the applicable rules of this Agreement will apply.
                          A
RULE 5 - SENIORITY ROSTERS.

         (a)    The Master Seniority Roster shall show name, occupation, social security number,
status code, location and seniority date of employee. The Master Seniority Roster shall be brought
                       P-


up-to-date as soon as possible after January 1 of each year. A copy of the Master Seniority Roster
will be furnished to each General Chairman and all Local/District Chairmen as soon as possible,
after January 1 of each year. On the first day of each month, the Company shall furnish the General
Chairman a list of all newly hired employees, showing name, home address, location of
employment, and date first performed service, on the prescribed form.
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        (b)    The Master Seniority Roster shall be officially approved by the General Chairmen and
Director of Labor Relations. Seniority dates of employees as shown on seniority rosters so
approved shall be open for correction of errors for a period of one hundred twenty (120) days. Upon
presentation of proof of error, correction shall be made by agreement between the General
Chairman and Director of Labor Relations and seniority dates established by such agreement shall
not be subject to further protest.




                                                7




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        (c)     Lists of all employees assigned to "Zones" established under Rule 4 indicating the
information specified in (a) of this rule, shall also be brought up-to-date and posted as soon as
possible after January 1 of each year at a place accessible to all employees in the Zone. A copy of
the "Zone" Seniority Roster shall be furnished to the General Chairman and respective Local/District
Chairman. Each "Zone" Seniority Roster will be officially approved and subject to correction as
specified in paragraph (b) of this rule.


RULE 6 - EXERCISE OF SENIORITY.

        (a)   Except as otherwise provided in this Agreement, seniority rights of employees
covered by these rules may be exercised only in case of vacancies, new positions or reduction of
forces.

        (b)    The exercise of seniority in the reduction or restoration offorces, orthe displacement
of junior employees, is subject to the provisions of Rules 8 and 18(b).

        (c)    Displacement rights over junior employees shall be restricted to the Zone in which
currently employed, except as otherwise provided in this Agreement.

       (d)     An employee making application for new positions or vacancies shall be governed by




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Rules 8, 11, 12 and 15 of this Agreement.

        (e)     An employee holding a bulletined assignment may relinquish position and move to an



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extra board in that Zone which has been established and is maintained in accordance with the
provisions of Rule 56 of this Agreement. An employee relinquishing an assignment shall remain
thereon until relieved by an employee assigned by bulletin, as provided by Rule 11 or by recall of a
furloughed employee in accordance with Rule 18.

        (f)     When the duties of a position have been expanded, modified or changed through the
                                      AV
realignment of work, the affected employee may, upon written request and subject to the approval of
the General Chairman and the authorized officer of the Company, exercise seniority rights to any
position held by a junior employee, upon 36 hours advance notice and within 10 calendar days from
the date of approval and will be afforded training as provided by, and subject to, provisions of
Rule 21.
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RULE 7 - STARTING TIME - CHANGE IN STARTING TIME AND REST DAYS.

        (a)     Bulletined assignments shall have a fixed starting time and designated rest days.
The fixed starting time of such bulletined assignments shall not be changed without forty-eight (48)
hours' advance notice. Notice shall be posted during the assigned hours of the employee affected.
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       (b)     No shift shall start or end between 12:00 o'clock midnight and 6:00 a.m.

       (c)  The starting time of Agents and Agent-Telegraphers shall be at or between 6:30 AM
and 8:30AM.

       NOTE:      Exceptions to Sections (b) and (c) ofthis Rule 7 may be made
                  by agreement between the General Chairman and the Director
                  of Labor Relations.


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       (d)     When the established starting time of a bulletined position is changed one (1) hour
and less than three (3) hours at one time, or one (1) hour and less than three (3) hours in the
aggregate from the time the position was last bulletined, the employee affected may, within five (5)
calendar days thereafter, upon thirty-six (36) hours' advance notice, exercise seniority rights in
accordance with Rule 18 to any position held by a junior employee. Other employees affected must
exercise seniority rights in the same manner.

        (e)     When the established starting time of a bulletined position is changed three (3) hours
or more, either at one time or in the aggregate from the time the position was last bulletined, or when
either or both of the assigned rest days are changed, it shall constitute a new position and shall be
bulletined for seniority choice.

           NOTE:        Under Sections (a) and (d) of this rule, an employee filling a
                        position on temporary basis under Rule 12, may, if the employee
                        so elects, within thirty-six (36) hours of the changes, return to
                        former position or remain on the position for the duration of the
                        Rule 12 vacancy.


RULE 8 - SENIORITY, FITNESS AND ABILITY.




                                                                             A
       Employees covered by this Agreement shall be in line for promotion. Promotion,
assignments and displacements shall be based on seniority, fitness and ability. Fitness and ability
being sufficient, seniority shall prevail except this provision shall not apply to the positions listed in
1(e) and 1(f) - Agents only.

        NOTE: 1)
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                        The word "sufficient" is intended to establish more clearly the rights
                        of the senior employee to a new position or vacancy where two or
                                                   VI
                        more employees have adequate fitness and ability.

                2)      Fitness and ability does not mean the applicant is immediately
                        qualified to assume the duties of the position without guidance or
                        assistance. It means the applicant must have minimum skills raising
                            A
                        a reasonable probability that the applicant would be able to perform
                        all the duties of the position within a reasonable time.

                3)      In the event an applicant's fitness and ability are in question, the
                         P-


                        applicant will, upon written request, be given a fair test, if applicable,
                        or otherwise permitted to demonstrate fitness and ability for the
                        position. The applicant is entitled, upon request, to have a duly
                        accredited representative present during the test or demonstration
                        and the applicant and/or the representative will be permitted to review
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                        the results.




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RULE 9 - DECLINING PROMOTION.

        Employees declining promotion or declining to bid for a bulletined position shall not lose their
seniority.


RULE 10 - SENIORITY STATUS - EMPLOYEES PROMOTED.

         (a-1) Employees promoted to official or fully excepted positions with any of the Companies
listed in Section (c) on or before May 16, 1980, shall retain and continue to accrue seniority under
this Agreement. Employees promoted to official or fully excepted positions with the Companies
subsequent to May 16, 1980 shall, as a condition of retaining and accruing seniority under this
Agreement, be required to maintain membership in good standing in the Organization party hereto.
In the event such employee fails to maintain membership in good standing, the General Chairman
shall notify the Director of Labor Relations or his designated representative. If, within thirty (30)
calendar days after receipt of such notification the employee has not retained membership in good
standing with the Organization, the employee will forfeit all seniority under this Agreement.
Employees entitled to retain and accumulate seniority under this rule shall be privileged to bid on
bulletined positions in accordance with Rule 11. Employees released from a position shall exercise
seniority in the Zone where currently employed. The exercise of seniority must be made within ten




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(10) calendar days from date released.

       (a-2) Employees on positions covered by Sections (e), (f) (agents) and (g) of Rule 1 shall
not be subject to displacement by other employees in the exercise of seniority, except that


                                                            IN
employees may displace junior employees covered by paragraphs (1) and (2) of Section (e) or by
Sections (f) (agents) or (g) of Rule 1 with approval of the head of the department.

        (a-3) Employees accepting full-time positions with the Transportation Communications
Union shall be considered as in the service of the Company and on leave of absence, and shall
                                       AV
upon release from such service be entitled to all service benefits under the control of the Company,
normally accruing to active employees, and shall have the privilege of exercising seniority on any
position bulletined during their absence or exercising seniority rights in accordance with the
provisions of Rule 13.

       (b-1) Train Dispatchers. Employees included under this Agreement shall be given first
consideration for positions of train dispatchers not filled from the ranks of train dispatcher.
              P-


         (b-2) When additional train dispatchers are required, positions or vacancies shall be shown
on bulletin issued on the Zone where located. Employees desiring consideration for promotion to
train dispatcher shall file their application with the appropriate Company Officer, who shall promptly
notify applicants of acceptance, or rejection, and if rejected, the reason therefor, if requested.
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        (b-3) Employees notified of acceptance of their application shall be expected to qualify
within a reasonable time. If more than one employee on a Zone is accepted as qualified, the senior
employee shall be given preference. Examinations shall be given as soon as practicable after
employee indicated readiness, and if approved, shall be given a certificate of qualification.

        (b-4) Employees promoted to position of train dispatcher shall retain and continue to
accumulate seniority, and may exercise seniority held under this Agreement in accordance with the
provisions of Section (a-1) ofthis rule.



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        (b-5) Employees included in this Agreement may hold their regular assignment while filling
temporary train dispatcher vacancies or while filling temporary train dispatcher positions of less than
ninety (90) days' duration (subject to extension of time limit by agreement with General Chairman) or
until such time as they are able to work regularly as a train dispatcher for three (3) days or more a
week, in which event their assignment shall be relinquished and position bulletined in accordance
with the rules of this Agreement.

      (c)    The term Companies as referred to in this Rule will apply to all of the following
companies and/or subsidiaries:

                                         Alameda Belt Line
                               Alton & Southern Railway Company
                             American Refrigerator Transit Company
                  Arkansas and Memphis Railway Bridge and Terminal Company
                                      Belt Railway of Chicago
                          Brownsville and Matamoros Bridge Company
                         Chicago and Western Indiana Railway Company
                      Chicago Heights Terminal Transfer Railroad Company
                               Corpus Christi Terminal Association
                      Galveston, Houston and Henderson Railroad Company




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                          Houston Belt and Terminal Railway Company
                                   Insight Network Logistic, LLC
                             Kansas City Terminal Railway Company
                                  Longview Switching Company


                                    Portland Terminal CompanyIN
                           Ogden Union Railroad and Depot Company
                               Port Terminal Railroad Association

                            Terminal Railroad Association of St. Louis
                                  Texarkana Union Station Trust
                                        AV
                                Union Pacific Distribution Services
                                Union Pacific Finance Corporation
                                    Union Pacific Fruit Express
                                    Union Pacific Motor Freight
                                     Union Pacific Resources
                                     Union Pacific Technology
                                Union Terminal Railway Company
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      The above list of companies and/or subsidiaries may be amended in the future by agreement
between the parties.

        (d)     Employees promoted or transferring to other non-clerical Carrier positions in another
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craft which is represented by TCU or an Organization directly affiliated with TCU (e.g. ARASA
Supervisors, TCU Carmen, UPUYC Yardmasters) shall retain and continue to accumulate seniority,
and may exercise seniority held under the TCU clerical Agreement in accordance with the provisions
of Section (a-1) of this rule (Rule 10) provided such employees maintain membership in good
standing with the appropriate division ofTCU or affiliated Organization. It will be the responsibility of
the employee transferring to notify the General Chairman of such transfer.




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RULE 11 - BULLETINING POSITIONS.

        (a)      All new positions and vacancies, of thirty (30) days' or more duration, excluding
vacations, shall be promptly bulletined on bulletin boards accessible to all employees in the affected
zone for a period of ten (10) calendar days. The bulletin shall show wage grade, location, title,
duties of position, rate of pay, hours of service, assigned meal period, rest days, and, if temporary,
the probable or expected duration. Copies of bulletins shall be furnished to the General Chairman
and Local/District Chairmen.

         (b)    The positions advertised under Section (a) shall be dated on the 1st and 16th ofthe
month and issued for posting on those dates or the first succeeding business day. Employees
desiring bUlletined positions must have their applications, in duplicate, on file in the office of the
official whose name is signed to the bulletin, or in the office of the supervisor as maybe specified on
the bulletin, not later than noon of the tenth (10th) day from date of bulletin. A copy of the
application must be furnished Local/District Chairman direct by the employee. Applications for
bulletined positions cannot be withdrawn subsequent to closing time and date specified in the
vacancy notice. The official whose name is signed to the bulletin shall acknowledge receipt of
employee application by returning one copy of the application with proper notice thereon, and the
assignments shall be made as specified above. Shorter or longer time limits for bulletins and
applications may be established by agreement.




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        NOTE: When the tenth (10th) day falls on Saturday, Sunday or a holiday, the closing
              date and time of the vacancy bulletin shall be extended to noon on the
              succeeding business day.

        (c)


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                Under the provisions of Sections (a) and (b), the name of the successful applicant
shall be immediately posted in the zone for a period of ten (10) calendar days, and if vacating a
bulletined assignment, a bulletin covering the vacancy shall be advertised in accordance with (b)
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above. In the event no applications are received, the position shall be filled by appointment except
as provided in Rule 18.

       (d)     An employee applying for and assigned to a bulletined position shall be required to
accept the assignment.
                           A
         (e)     Except as otherwise provided in this Agreement, the employee assigned to a
bulletined position pursuant to Section (b) shall be placed on the position as soon as practicable, but
if applicant is not relieved to take the newly assigned position within ten (10) calendar days from the
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date of assignment notice, the employee shall be paid for each day worked, commencing with the
tenth (10th) day at the rate of the newly assigned position or the position on which the employee
works, whichever is greater.

        (f)     In addition to the higher level of compensation as provided in Section (e), an
employee who is not relieved to take the newly assigned position within ten (10) calendar days from
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the date of assignment notice shall, commencing on the eleventh (11th) day, be allowed a penalty
allowance of five (5) dollars for each day worked up to the ninetieth (90th) day folloWing the date of
assignment notice, and seven (7) dollars for each day worked commencing with the ninety-first
(91st) day until placed on the newly assigned position. Such employee, if held at a station other
than the home station, shall be allowed penalty compensation as provided above or actual personal
expenses, whichever is the greater.




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        (g)    When the application of the senior applicant for a position is declined, the employee
affected and the Local/District Chairman shall, upon request, be advised in writing the reasons
therefore.

       (h)   Employees may apply for any or all positions bulletined. Employees applying for
more than one vacancy or new position bulletined at the same time must indicate preference.
Employees may apply for positions in another Zone pursuant to the provisions of Rule 15.

         (i)    By agreement between the parties, the bulletining process may be amended for
certain departments and/or locations. In addition, the parties may also agree to amend the
bulletining process to allow the use of CRT machines.


RULE 12 - SHORT VACANCIES.

       (a)      New positions or vacancies of less than thirty (30) calendar days' duration are short
vacancies and if they are to be filled, they shall be posted as a "Notice of Temporary Position or
Vacancy" for application in accordance with the provisions of this rule. Whenever there is
reasonable evidence that such positions or vacancies shall continue for thirty (30) days or more,
they shall be immediately bulletined in accordance with the provisions of Rule 11 ofthis agreement.




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Except as provided in Section (e) of this rule, employees assigned to a short vacancy under this rule
must be placed on the position on the first full shift subsequent to the time and date of the
assignment notice and remain thereon for its duration unless displaced therefrom in a manner
provided for in this Agreement. An employee assigned to a short vacancy may choose to remain


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thereon or assume a regular position assigned under Rule 11.

        (b)    Except as may otherwise be provided in agreements made pursuant to Rule 56
(Reserve/Extra Board Agreements), new positions or vacancies posted in accordance with this rule
shall be assigned to the senior qualified applicant in the office making written application within
                                       AV
twenty-four (24) hours from time notice is posted.

        (c)     Notice shall be posted on bulletin boards in the office where vacancy occurs. The
senior qualified employee in the office making written application shall be assigned and must take all
the conditions of the assignment. If vacancy is for five (5) days or more, the successful applicant
shall take the rest days of the assignment.

       (d)     Pending assignment of the senior qualified applicant as provided herein or in the
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event no applications are received, the vacancy shall be filled by the procedures as set forth below:

               First      An available qualified reserve/extra board
                          employee at points where guaranteed
                          reserve/extra boards or similar arrangements
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                          are in effect.

               Second: An available qualified furloughed employeewho
                       has not worked forty (40) hours in the work
                       week commencing with Monday.

                          Rearranging forces on a day-to-day basis
                          during the same shift hours in the same office
                          where the vacancy exists. The following
                          rearrangement procedures shall be followed:

                                                 13




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                1)        Rearranging the senior available qualified
                          employee in the office who has previously
                          indicated in writing a desire to be rearranged.

               2)      Rearranging the junior available qualified employee in
                       the office.

                       Employees so rearranged shall be allowed a penalty
                       of $6.00 per day.

        (e)      An employee who has worked one shift in a twenty-four (24) hour period shall not be
permitted to work on a second shift in the same twenty-four (24) hour period if there are other
furloughed employees available and qualified to perform service on the assignment at the straight­
time rate. However, if an employee is worked on a second shift within a twenty-four (24) hour
period, all time worked in excess of eight (8) hours within the same twenty-four (24) hour period shall
be allowed at the time and one-half rate of pay.

        (f)     Employees displaced as a result of reduction in force may displace one 12(c)
vacancy at the location prior to exercising seniority to a bulletined position. An employee having no
displacement on bulletined positions at the location, including those affected by force reduction, may




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continue to effect displacements on 12(c) vacancies retaining the right to further displacement,
subject to recall to bulletined positions under Rule 18.




        (a)                                                IN
RULE 13 - RETURNING AFTER LEAVE OF ABSENCE OR FROM TEMPORARY ASSIGNMENT.

               An employee assigned to a temporary position, and/or returning after leave of
absence or vacation, may return to former position except as provided in Section (b) of this rule, or
may, upon return or within five (5) working days thereafter, exercise seniority rights to any position
                                       AV
bulletined or established in the Zone on or after the date of the temporary bulletin to which the
employee was assigned, or the day the employee left active service account leave of absence or
vacation. An employee thus displaced may exercise seniority in the same manner. An employee
displaced from a permanent assignment may exercise seniority to a position occupied by a junior
employee as provided in Rule 18.

      (b)     In the event the former position of the employee returning from vacation, leave of
absence or from a temporary assignment:
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       (1)     has been abolished;

        (2)    established starting time permanently changed one (1) hour or changed as
               provided in Rule 7;
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        (3)    assigned day or days off changed; or

       (4)     a senior employee has exercised displacement rights thereon, the returning
               employee shall be governed by the provisions of Rule 18(b).

       NOTE: The provisions of Sections (a) and (b) of this rule, insofar as military leaves
             are concerned, shall apply only to those employees returning from military
             service and having re-employment rights under Federal Law.


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                                                                                          •




RULE 14 - TESTING EMPLOYEES - TUITION REIMBURSEMENT.

        (a)     In recognition of the principle that tests may be used in determining sufficient fitness
and ability and qualification pursuant to Rules 8, 20 and 21, the Company will publish reasonable
job-related standards and testing procedures on positions requiring shorthand,typing, keypunching,
office machines and procedures and job-related skills.

       (b)    It is the policy of the Company to cooperate with employees in furthering their
genuine desires and efforts to become qualified for promotion to more desirable positions.

       (c)    For the purpose of enhancing railroad employment opportunities for employeeswith
more than one (1) year of service, tuition costs will be borne by the Company provided the following
requirements are met:

        1.      Institution of learning approved by the Company.

        2.      Courses must relate to job-related clerical technical skills.

        3.      Courses must be successfully completed.

        4.      Receipts documenting tuition costs must be presented to Supervisor




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                within sixty (60) days of course completion.

        5.      Report of passing grade must be submitted to Supervisor.


RULE 15 - TRANSFERRING TO OTHER ZONES/ROSTERS.

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       Employees with one (1) or more years of continuous employment relationship with the
Company in the clerical craft shall be entitled to make application for bulletined positions, other than
temporary, in another Zone as specified in Rule 4 of this Agreement. Such employees shall be
governed by the following conditions:
                           A
        (1)    Employees desiring to transfer to another Zone shall make written
               request to the officer designated to administer the bulletin process in
               the zone to which transfer is desired. Copies of the request must be
               furnished Bulletining Officer and Supervising Officer in the Zone in
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               which currently employed, and the applicable Local/District and
               General Chairman.

        (2)    Upon receipt of proper request the bUlletining officer shall furnish the
               employee copies of all applicable bulletins as soon as practicable,
               however, no later than the second (2nd) bulletining period, as
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               specified in Rule 11, following date such request is received.
               Thereafter, such employees may apply for said positions in the other
               Zone. Bulletins shall be furnished to the employee for a period not
               exceeding four (4) bulletining periods after which a new written
               request must be submitted as specified herein.




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        (3)    Employees will not be permitted to request transfer to more than one
               Zone at a time. Transfers from one Zone to another under this rule
               shall be made without expense to the Company.


RULE 16 - CONSOLIDATIONS.

        Except as otherwise provided in existing agreements, when two (2) or more offices or
departments are consolidated, employees affected shall have prior rights to corresponding positions
in the consolidated office or department, after which the rules of this Agreement shall govern.


RULE 17 - EMERGENCY REDUCTION IN FORCE.

        (a)     No advance notice shall be required when positions are abolished or forces reduced
under emergency conditions such as flood, snowstorm, tornado, hurricane, earthquake, fire or labor
disputes other than covered in Section (b) hereof provided such conditions result in the suspension
of the Company's operations in whole or in part.

        Abolishments or force reductions shall, under this provision, be confided solely to those work




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locations directly affected by any suspension of operations. Employees who are affected by an
emergency force reduction under this provision who report for work on their positions without having
been previously notified not to report shall receive four (4) hours' pay at the applicable rate of their
position. An employee who works any portion of the day, shall be paid in accordance with existing
rules.

        (b)                                                 IN
                No advance notice shall be required where positions are abolished in whole or in part
is due to a labor dispute between this Company and any of its employees.
                                        AV
        (c)     Employees covered by this Agreement who are out of service because of a strike as
specified in paragraphs (a) or (b) of this rule need not be formally recalled under Rule 18, but will be
returned to service on their regular or temporary position, whichever is applicable, within thirty-six
(36) hours from the beginning of the first full shift after strike is ended and pickets are removed.


RULE 18 - REDUCTION IN FORCE.
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         (a-t) Except as otherwise provided in Rule 17, five (5) working days' notice shall be given
of reduction in force of regularly assigned positions with a copy forwarded to the Local/District and
General Chairmen. The notice shall be posted in the affected office during working hours of the
position or positions abolished indicating the names of the regularly assigned incumbents, position
titles and the disposition of the remaining work, if any.
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      (a-2) When forces are to be reduced in a pool of identical or similar jobs in a department,
the Company shall abolish the position(s) occupied by the junior employee(s).

        (b-1) When forces are reduced, seniority rights shall govern. An employee whose position
is abolished or transferred must exercise seniority rights over junior employees and in turn the
displaced employee must also exercise seniority. In the exercise of said seniority rights, the affected
employee(s) must exercise seniority over junior employees in the zone where employed. Other
employees affected must exercise their seniority in the same manner. After exhausting seniority in
the zone, employees may displace junior employees in other zones. An employee

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displacing from a General Office Building position to a General Office Building position has two (2)
working days to exercise seniority rights to a position held by a junior employee. An employee
displacing to or from a position outside the General Office Building, or between different General
Office Buildings, has five (5) working days to exercise seniority rights to a position held by a junior
employee. An employee exercising his seniority and displacing on a position which is part of a pool
of similar or identical jobs in a department shall displace to the position occupied by the most junior
employee.

        (b-2) The time period to exercise seniority will be extended by a leave of absence or
vacation granted with the concurrence of the Department Head and Local/District Chairman, which
must then be exercised at the expiration of the leave or vacation or within five (5) working days
thereafter.

       (b-3) Employees who do not exercise seniority within the time period outlined in Item (b-1)
above and are not granted a leave of absence or vacation, pursuant to (b-2) above, shall be
considered furloughed, subject to return to service in accordance with this rule.

        (b-4) An employee whose position is abolished or transferred who is assigned to a
temporary vacancy prior to exercise of seniority in accordance with this rule may defer the exercise
of seniority until relieved from the temporary vacancy, or within five (5) working days thereafter.




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        Employees who do not possess sufficient seniority, fitness and ability to displace a junior
employee shall be furloughed. Employees furiouqhed under this rule must file name and address as
prescribed by Section (c) of this rule.

        (c)
                                                             IN
               Employees desiring to protect their seniority rights and to avail themselves of this rule
must within ten (10) calendar days from the date actually reduced to the furloughed list, file in writing
their names and addresses in duplicate, both with the proper officer (the officer authorized to bulletin
and award positions) and the Local/District Chairman, and advise promptly of any change in
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addresses or forfeit all seniority rights, except in cases of personal illness or other unavoidable
causes. The official and Local/District Chairman shall sign and return to the employee as a receipt
one copy of the address or changes in address so filed.

       Employees furloughed under this rule shall not be required to refile their name and address
unless a change has been made in their name or address.

         (d-1) Non-protected employees furloughed in a zone covering more than one point may
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elect to be recalled only for a bulletined position at the location of their choice provided there is a
position in existence in the zone at that point. Such election shall be made in writing to the proper
official of the Company and Local/District Chairman at the time furloughed. After having made such
election, the non-protected employee shall be recalled under the provisions of this rule only to a
bulletined position at the location designated and shall otherwise be fully covered by the provisions
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of this rule.

        (d-2) A non-protected employee not recalled for a bulletined position within a period of two
(2) years from date furloughed, service and seniority rights of such non-protected employee shall be
terminated, except that at any time prior to the expiration of the two (2) year period such non­
protected employee may notify the proper official of the Company and Local/District Chairman in
writing of desire to be recalled to a bulletined position in the zone under this rule.




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         (d-3) A non-protected employee with less than three (3) years of continuous service who
does not perform any compensated service for the Company for a period of 365 consecutive days
will terminate all seniority rights under this Agreement.

       The "365 consecutive days" shall exclude any period during which a furloughed employee
receives compensation pursuant to an I.C.C. employee protection order or an employee protection
agreement or arrangement.

        (e-1) When a bulletined new position or vacancy is not filled by an employee in service
senior to a furloughed employee who has sufficient fitness and ability and who has protected
seniority rights as provided in this rule, such senior furloughed employee shall be called to fill the
position.

         (e-2) Furloughed employees failing to return to service within ten (10) days after being
notified by registered or certified U.S. Mail sent to last address on file, or give satisfactory reason for
not doing so, shall forfeit all service and seniority rights.

        (f)      Furloughed employees who desire to return to service on positions or vacancies of
less than thirty (30) days' duration must file written notice with the proper officer of the Company and
the Local/District Chairman of the Organization, such notice may be cancelled or terminated in the
same manner. Subject to the provisions of Section (c) of Rule 12, such employees when available




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shall be called on a seniority basis when qualified for extra work or vacancies.

         (g)    In the application of this Rule 18 a furloughed protected employee will not be recalled



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to or otherwise required to exercise seniority rights on a position requiring a "change in residence" in
order to retain seniority and protected status, except as specifically provided by the UPfTCU Job
Stabilization Agreement, as amended, which is attached as an Appendix to this Agreement.

       (h)    The parties, by agreement, may amend the procedures for filing of name and
address as outlined in Section (c) hereof.
                                        AV
RULE 19 - POSITIONS ABOLISHED AND REINSTATED.

        (a)    If a position is abolished and reinstated by bulletin in the same or another Zone within
ninety (90) days, the last regularly assigned incumbent shall be returned to the position without
regard to seniority, provided such employee:
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        (1)     is still in service;
        (2)     makes application therefor in accordance with Rule 11; and
        (3)     furnishes advice on the application that such applicant was the last regularly
                assigned employee.
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       (b)      When an employee returns to a reinstated position underthis rule, other employees
who were displaced due to abolishment of the position may return to their former positions, if in
existence, in the same manner as provided in Section (a) of this rule.




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RULE 20 - FAILURE TO QUALIFY.

        (a)       An employee who is assigned to or acquires a position by bulletin, exercise of
seniority or in the application ofthese rules, will be given a reasonable time, with a minimum of thirty
(30) working days, exclusive of days spent in formal training, in which to qualify. In the event it is
obvious an employee, after assuming the assignment, will be unable to qualify, the employee may
be disqualified in a shorter period of time, subject to the provision of this rule.

         (b)    When an employee is disqualified, the Company will have the burden of proof and
will furnish written notice outlining the specific reasons for the disqualification. The employee
affected shall vacate such position and shall be governed by the provisions of Rule 18, except the
employee may request a formal hearing as provided by Rule 45(k). Employees disqualified on
temporary positions shall be governed by the provisions of Rules 13 and 45(k).

         (c)     Employees shall be given full cooperation of department heads and others in their
efforts to qualify.


RULE 21 - TRAINING.




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        (a)     Except as otherwise provided in this rule, an employee assigned to or displacing on a
bulletined position and who, in the judqrnent of the immediate supervisor, is not qualified for the
position and is required by the supervisor to train thereon before being permitted to take over the
assignment, may be required to train on the position for a reasonable length of time, not to exceed



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eight (8) weeks or other established training periods. Such employee shall be allowed
compensation at rate of position on which seniority has been exercised. Local supervisors shall
determine the extent to which training, if any, may be required or necessary under this rule. Training
shall be given during regular working hours of the position on which training is required.
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        (b-1) Except a provided in Rule 33, when the incumbent of a position requires additional
training as a result of a change in procedures or the installation of new machines, up to twenty (20)
hours' training prior to or following and continuous with regular shift may be required. The
incumbent shall be compensated at the pro rata rate of the position to which assigned for time
consumed in such training.

        (b-2) Where it is deemed necessary, other employees shall, upon request and by approval
of the supervisor, be given training during regular hours without loss of compensation, or up to
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twenty (20) hours prior to or following and continuous with their regular shift. Time consumed in
training outside regular hours shall be paid for at the pro rata rate of the position held.

         (b-3) When an employee works his assigned hours and is also required to attend an
instruction class outside those assigned hours, such employee will be allowed time and one-half on
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the minute basis for all time outside such assigned hours. An employee required to attend an
instruction class for eight (8) hours or less, who is not permitted to work his regular position or shift,
will be allowed eight (8) hours' pay at the pro rata rate.

        (c-1) An employee afforded training as provided in this rule will be given full cooperation
during the training period. In the event the employee fails to demonstrate reasonable progress
during the training period the employee may be disqualified in a shorter period than provided in this
rule, subject to the provisions of Rule 20(b).



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        (c-2) An employee who has been displaced and who is required to remain on the
assignment for the purpose of training the displacing employee, shall not be required to exercise
seniority until physically relieved; thereafter, Rule 18 shall apply.

      (c-3) Employees required to train or attend instruction classes on rest days or holidays will
be compensated as provided by Rule 39(b).

               NOTE: In the application of this rule, it is understood the employee will be
                     allowed compensation at the rate of position on which training is
                     required, his/her EMR or the protected rate, whichever is greater.


RULE 22 - BASIC DAY.

        Except as provided in Rules 17 and 36, eight (8) consecutive hours, exclusive of the meal
period, shall constitute a day's work.


RULE 23 - BASIS OF PAY.




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        (a)     Employees paid on a monthly, weekly, daily, hourly, or any other basis, shall continue
to be paid on the same basis. The conversion of monthly, daily or hourly rates to a different basis
shall be in accordance with the formula set by the National Salary Plan.

        (b)

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                Except as otherwise provided in this Agreement, regularly assigned employees shall
not be reduced below five (5) days per week, provided, however, that this number may be reduced
in a week in which holidays occur (within the five (5) days constituting the workweek) by the number
of such holidays.
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RULE 24 - RATING POSITIONS.

       (a)     Positions (not employees) shall be rated, and the transfer of rates from one position
to another shall not be permitted except by agreement.

      (b)      The rates of pay for new positions shall be established in accordance with
Chapter 9.1 of the National Salary Plan.
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       (c)     Extra employees shall receive the rate of pay of the position on which service is being
performed.

RULE 25 - PRESERVATION OF RATES
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        Employees temporarily or permanently assigned to higher-rated positions for a period of four
(4) hours or less during a shift shall be compensated for a minimum of four (4) hours at the higher
rate. Employees temporarily or permanently assigned to higher-rated positions in excess offour (4)
hours during a shift shall be compensated for the entire shift eight (8) hours at the higher rate.

       A "temporary assignment" contemplates the fulfillment of the duties and responsibilities of
the position during the time occupied, whether the regular occupant of the position is absent or
whether the temporary assignee does the work, irrespective of the presence of the regular
employee.

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RULE 26 - ADJUSTING RATES.

        (a)     Where the duties and responsibilities of a position are increased or reduced to the
extent that it compares with other existing positions of different rates of pay in the same Zone,
adjustment shall be considered in accordance with Chapter 9.2 of the National Salary Plan. Any
adjustment in rate of pay will be effective at the beginning of the next payroll period following
completion of the job evaluation. Joint on-the-ground investigations shall be held within sixty (60)
days if requested by the General Chairman.

        (b)       Established positions shall not be discontinued and new positions created under
different titles covering relatively the same class of work, for the purpose of reducing the rate of pay
or evading the application of these rules.

        (c)     If there are no positions in existence with comparable duties and responsibilities, the
rate of pay of such positions shall be established by the procedures set forth in the National Salary
Plan.


RULE 27 - CHANGES IN RATES.




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       Except when changes in rates result from negotiations for adjustments of a general
character, the changing of a rate of a position shall constitute a new position unless otherwise
mutually agreed.


RULE 28 - TEMPORARY ROAD SERVICE.
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        Employees not regularly assigned to road service, who are temporarily required to perform
service on their regular assignment away from their headquarters point which necessitates their
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traveling, shall be allowed necessary expenses while away from their headquarters and shall be
paid at the straight time rate for any additional time traveling outside of regular assigned hours to
and from the temporary assignment, except that no time shall be allowed between 10:00 PM and
7:00 AM when sleeping accommodations are furnished or are available, and an opportunity for five
(5) or more hours' sleep is afforded.


RULE 29 - TEMPORARY ASSIGNMENT AWAY FROM HOME.
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         Employees holding a regular or temporary assignment who are required by the Company to
perform service on another assignment at other than their home station shall receive the higher rate
of the two (2) positions and be compensated at the straight time rate for all time worked within the
hours of the assigned position, and at the time and one-half rate for time worked outside the hours
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of the regularly assigned position and shall be allowed actual necessary expenses while away from
headquarters.




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RULE 30 - TRAVEL TIME IN BOARDING CARS.

        (a)     Where employees are regularly required throughout their workweek to live away from
home in outfit cars, the facility furnished by the Company shall be adequate for the purpose and
maintained in a clean, healthful and sanitary condition. If outfit cars are furnished to such
employees required to live away from home, the employees shall receive no reimbursement for
lodging at their outfit headquarter. If such employees are required to live away from home during
their workweek at points where outfit cars are not furnished, such employees shall be reimbursed for
the actual reasonable expense thereof not to exceed $22.00 per day.

        (b)    If such employees are required to leave their outfit headquarters for service at other
locations where outfit lodging is not provided (except at the employee's home), such employees
shall be reimbursed for meal and lodging expense incurred in accordance with Rule 29.

        (c)     Where commissary cars are furnished, such employee shall be required to secure
meals from the commissary car and shall be reimbursed for actual cost of meals. If commissary
cars are not furnished, such employees shall be reimbursed for actual reasonable meal expense
with a maximum of $15.00 per day. The meal allowances provided for in this paragraph shall only
be paid for days on which the employee remains with the outfit cars.




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        (d)    Such employees, when traveling from one work point to another, shall be paid time
and one-half for all hours outside of regularly assigned hours or on rest day or holiday during which
the employee is required to perform service, such as driving trucks, making a check of maintenance
employees in the gang, etc. When such employees perform no service outside assigned hours



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when traveling from one work point to another, they shall receive no compensation outside regularly
assigned hours on rest day or holiday (this provision, as it pertains to holiday, relates to service'
performed on the holiday and does not set aside the holiday pay provisions as they apply to
situations where no service is performed on the holiday).
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RULE 31 - TRANSFERRING.

        Regularly assigned employees subject to the Hours of Service Act transferring from one
station to another, from one position to another, or to accept a bulletined position shall be allowed
compensation at the rate of the position vacated on the basis of eight (8) hours for each day's pay
lost as a result of transferring.
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RULE 32 - ALLOWANCES - EXTRA AND TRAVELING RELIEF EMPLOYEES.

         Extra or traveling relief employees who are required in the course of their employment to be
away from their headquarters point as designated by the Company shall be compensated as
follows:

        1.     The Company shall designate a headquarters point for each regularly
               assigned traveling relief position and for each extra employee. No
               designated headquarters point may be changed more frequently than
               once each sixty (60) days and only after at least fifteen (15) days'
               written notice to employee affected.

       2.      When such employees are unable to return to their headquarters
               point on any day they shall be reimbursed for the actual reasonable
               cost of meals and lodging away from their headquarters point not in
               excess of $22.00 per day.

       3.      An employee in such service shall be furnished with free
               transportation by the Company in travelling from headquarters point
               to another point and return, or from one point to another. If such




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               transportation is not furnished, the employee shall be reimbursed for
               the cost of the rail fare if such employee travels on other rail lines, or
               the cost of other public transportation used in making the trip; or if
               such employee has an automobile which the employee is willing to



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               use and the Company authorizes the use of said automobile, such
               employee shall be paid an allowance on the basis of current mileage
               rate established by the Company for each mile in traveling from
               headquarters point to the work point, and return, or from one work
               point to another.
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       4.      If the time consumed in actual travel, including waiting time en route
               from the headquarters point to the work location, together with
               necessary time spent waiting for the employee's shift to start,
               exceeds one (1) hour, or if on completion of shift necessary time
               spent waiting for transportation plus the time of travel, including
               waiting time en route, necessary to return to headquarters point or to
               the next work location exceeds one (1) hour, then the excess over
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               one (1) hour in each case shall be paid for as working time at the
               straight time rate of the job to which traveled. When employees are
               traveling by private automobile, time shall be computed at the rate of
               two (2) minutes per mile traveled.
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RULE 33 - MAJOR CHANGE IN DUTIES.

        When the duties and/or responsibilities of a position or positions undergo major change not
requiring the abolishment of the position(s) under other rules of this Agreement, the incumbent(s) of
the position(s) affected shall be offered the following options:

        1.      Remain on the position and receive training required as a result        of
                the change. Such training shall include keypunch training,               if
                required, and/or other job-related training for a reasonable period     of
                time in order to enable the employee to meet minimal standards          of
                the position.

        2.      Exercise displacement rights to a position assigned to a junior
                employee and afford the displacing employee training as provided
                for, and subject to, Rule 21.

                NOTE: Major change as contemplated under this rule is a change in duties
                      or responsibilities of a position of such a nature as to raise question
                      as to the incumbent's ability to perform the functions of the position,
                      without training as provided in Section 1 above.




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        When a major change of a position(s) is contemplated by the Carrier, the Director of Labor
Relations will notify the General Chairman in writing and provide the particulars relating to the nature
of the change, such as position(s), employee(s) affected, effective date of change, etc.



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       If a dispute arises over whether there has been a major expansion of duties, the General
Chairman will notify the Director of Labor Relations in writing, and they or their representatives will
conduct a joint check within ten (10) days from date the General Chairman's letter is received.
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RULE 34 - BEREAVEMENT RULE.

        (a)     In the event of death of a spouse, child, step child, parent, parent-in-law, stepparent,
stepparent-in-Iaw, grandparent, grandchild, guardian, brother or sister of an employee who has been
in service one (1) year or more, such employee shall be allowed time necessary with pay to attend
funeral and handle matters related thereto, not to exceed three (3) consecutive workdays, unless, in
individual hardship cases, local agreement is otherwise reached.
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        (b)     Under this rule, it shall be optional with the Company to fill, partially fill or blank the
position of an employee who is absent for the bereavement purposes.

         (c)    An employee falsely claiming bereavement time under this rule shall be subject to
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disciplinary action.




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RULE 35 - MEAL PERIOD.

      (a)     Unless otherwise agree to by the designated Company Officer and General
Chairman, the meal period shall not be less than thirty (30) minutes nor more than one (1) hour.

         (b)    For regular operations requiring sixteen (16) or more continuous hours, eight (8)
consecutive hours without meal period shall be assigned as constituting a day's work, in which case,
twenty (20) minutes shall be allowed in which to eat, without deduction in pay, between the ending of
the third hour and the beginning of the sixth hour after starting work.

        (c)     Except for regular operations requiring sixteen (16) or more continuous hours, all
regularly established positions shall have an assigned meal period, which shall be allowed between
the ending of the third hour and the beginning of the sixth hour after starting time, and the meal
period shall not be changed without thirty-six (36) hours' advance notice.

         (d)     Employees required to work any part of the assigned meal period shall be paid for the
actual time worked at the rate of time and one-half and at the first opportunity shall be allowed not
less than thirty (30) minutes without deduction in pay in which to eat.

         (e)     Employees shall not be required to work more than two (2) hours continuous with
their regular eight (8) hour assignment without being permitted to go to meals. Time taken for meals




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shall not terminate the continuous service period and shall be paid for up to thirty (30) minutes. If by
reason of an emergency an employee is required to work through the second meal period and is not
permitted to take time in which to eat before being released, such employee shall be paid an



RULE 36 - INTERMITTENT SERVICE.                             IN
additional thirty (30) minutes at the rate of time and one-half.




        By mutual agreement between the designated officer of the Company and the General
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Chairman, intermittent service assignments may be established. When such assignments are
established eight (8) hours' actual time on duty within a spread of twelve (12) hours shall constitute a
day's work. Employees filling such positions shall be paid not less than eight (8) hours within a
spread of twelve (12) consecutive hours, and shall be paid overtime for all time actually on duty or
held for duty in excess of eight (8) hours from the time required to report for duty to the time of
release within twelve (12) consecutive hours computed continuously from the time first required to
report until final release. Time shall be counted as continuous service in all cases where the interval
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of release from duty does not exceed one (1) hour.

        This rule shall not be construed as authorizing the working of split tricks where continuous
service is required.

        Intermittent service is understood to mean service of a character where during the hours of
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assignment there is no work to be performed for periods of more than one (1) hour's duration, and
service of the employees cannot otherwise be utilized.




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RULE 37 - STUDENT CLERK.

        Student Clerks will be paid in accordance with the National Salary Plan and Rule 3 (subject
to COLA and basic wage adjustments) for the time spent in training. During the training period
(which shall not exceed sixty (60) days unless otherwise specifically agreed to by the General
Chairman) the student will not be permitted to do productive work of the Clerks' craft except,
however, this shall not preclude on-the-job training under the direction of the incumbent of the
position. Except as provided herein, time spent as a student will not be counted as part of the sixty
(60) day probationary period as provided in Rule 44. Students will receive a seniority date as
provided in Rule 2 at the conclusion of the training period or after thirty (30) calendar days,
whichever occurs first, such seniority date shall be retroactive to the first compensated day of
training. Upon being accorded a seniority date, and thereafter, the Student Clerk shall be subject to
the terms of the existing Agreement, except that Student Clerks are not subject to displacement
from the training program.


RULE 38 - OVERTIME.

        (a)     Except as otherwise provided in these rules, time on duty in excess of eight (8) hours,
exclusive of the meal period, on any day shall be considered overtime and paid on the actual minute




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basis at the rate of time and one-half.

       (b)     Employees shall not be required to suspend work during assigned hours to absorb
overtime.



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                NOTE: Under the provisions of this rule, an employee may not be requested
                      to suspend work and pay during the tour of duty to absorb overtime
                      previously earned or in anticipation of overtime to be earned. It is not
                      intended that an employee cross craft lines to assist another
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                      employee. It is the intention, however, that an employee may be
                      used to assist another employee during the tour of duty in the same
                      office, station or location where working and in the Zone without
                      penalty. An employee assisting another employee on a position
                      paying a higher rate shall receive the higher rate for time worked
                      while assisting such employee, except that existing rules which
                      provide for payment of the highest rate for entire tour of duty shall
                      continue in effect. An employee assisting another employee on a
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                      position paying the same or lower rate shall not have rate reduced.

        (c)    No overtime hours shall be worked except by direction of proper authority, except in
cases of emergency where advance authority is not obtainable. In working overtime before and
after assigned hours, employees filling the particular positions on which overtime is required shall be
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used.

       (d)     Provisions in existing rules which relate to the payment of daily overtime shall remain
unchanged. Work in excess of forty (40) straight time hours in any workweek shall be paid at one
and one-half times the basic straight time hourly rate except where such work is performed by an
employee due to moving from one assignment to another or to or from an extra or furloughed list, or
where days off are being accumulated under Section (g) of Rule 41.




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        (e)    Employees worked more than five (5) days in a workweek shall be paid one and one-
half times the basic straight time hourly rate for work on the sixth and seventh days of their
workweek, except where such work is performed by an employee due to moving from one
assignment to another or to or from an extra or furloughed list, or where days off are being
accumulated under Section (g) of Rule 41.

         (f)    There shall be no overtime on overtime; neither shall overtime hours paid for, other
than hours not in excess of eight (8) paid for at overtime rates on holidays or for changing shifts, be
utilized in computing the forty (40) hours per week, nor shall time paid for in the nature of arbitraries
or special allowances such as attending court, deadheading, travel time, etc., be utilized for this
purpose, except when such payments apply during assigned working hours in lieu of pay for such
hours, or where such time is now included under existing rules in computations leading to overtime.


RULE 39 - NOTIFIED OR CALLED.

        (a)     Except as provided in Section (c) of this rule, employees notified or called to perform
work not continuous with, before, or after the regular work period shall be allowed a minimum of
three (3) hours pro rata for two (2) hours' work or less, and if held on duty in excess of two (2) hours,
time and one-half shall be allowed on the minute basis.




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        (b)     Employees notified or called to perform work on their designated rest days and
specified holidays shall be allowed a minimum of five (5) hours and twenty (20) minutes at the rate
of time and one-half for five (5) hours and twenty (20) minutes work or less, and if held on duty in



       (c)
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excess of five (5) hours and twenty (20) minutes, time and one-half shall be allowed on the minute
basis.

               Employees who have completed their regular tour of duty and have been released,
and required to return for further service, may, if the conditions justify, be compensated as if on
continuous duty.
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       (d)    Employees called into work ahead of, and continuous with their regular shift, will be
allowed a minimum of one (1) hour and thirty (30) minutes' pay at the time and one-half rate.


RULE 40 - HOLIDAY PAY.
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        Section 1. (a) Subject to the qualifying requirements contained in Section 3 hereof, and to
the conditions hereinafter provided, each hourly and daily rated employee shall receive eight (8)
hours' pay at the pro rata hourly rate for each of the following enumerated holidays:

                   New Year's Day                   Labor Day
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                   Washington's Birthday            ThanksgiVing Day
                   Good Friday                      Day After Thanksgiving Day
                   Memorial Day                     *Christmas Eve
                   Fourth of July                   Christmas
                                                    New Year's Eve
                   *The day before Christmas is observed.




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        (b)     Holiday pay for regularly assigned employees shall be at the pro rata rate of the
position to which assigned.

        (c)     For other than regularly assigned employees, if the holiday falls on a day on which
they would otherwise be assigned to work, they shall, if consistent with the requirements of the
service, be given the day off and receive eight (8) hours' pay at the pro rata rate of the position
which they otherwise would have worked. If the holiday falls on a day other than a day on which
they otherwise would have worked, they shall receive eight (8) hours' pay at the pro rata hourly rate
of the position on which compensation last accrued to them prior to the holiday.

        (d)     Subject to the applicable qualifying requirements in Section 3 hereof, other than
regularly assigned employees shall be eligible for the paid holidays or pay in lieu thereof provided in
paragraph (c) above, provided ­

        1.      compensation for service paid by the Company is credited to eleven (11) or
                more of the thirty (30) calendar days immediately preceding the holiday and

        2.     have had a seniority date for at least sixty (60) calendar days or have sixty
               (60) calendar days of continuous service preceding the holiday beginning
               with the first day of compensated service, provided employment was not




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               terminated prior to the holiday by resignation, for cause, retirement, death,
               non-compliance with a union shop agreement, or disapproval of application
               for employment.




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        Section 2. (a) Monthly rates, the hourly rates of which are predicated upon 169-1/3 hours,
shall be adjusted by adding the equivalent of eighty (80) pro rata hours to the annual compensation
(the monthly rate multiplied by 12) and this sum shall be divided by twelve (12) in order to establish a
new monthly rate. The hourly factor shall thereafter be 176 hours and overtime rates shall be
computed accordingly. Weekly rates that do not include holiday compensation shall receive a
corresponding adjustment.
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        (b)     All other monthly rates of pay shall be adjusted by adding the equivalent of twenty-
eight (28) pro rata hours to the annual compensation (the monthly rate multiplied by 12) and this
sum shall be divided by twelve (12) in order to establish a new monthly rate. The sum of presently
existing hours per annum plus twenty-eight (28) divided by twelve (12) shall establish a new hourly
factor and overtime rates shall be computed accordingly.
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        Weekly rates not included in Section 2(a) shall receive a corresponding adjustment.

        Section 3. (a) A regularly assigned employee shall qualify for the holiday pay provided in
Section 1 hereof if compensation paid by the Company is credited to the workdays immediately
preceding and following such holiday or if the employee is not assigned to work but is available for
service on such days. If the holiday falls on the last day of a regularly assigned employees
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workweek, the first workday following rest days shall be considered the workday immediately
following. If the holiday falls on the first workday of the workweek, the last workday of the preceding
workweek shall be considered the workday immediately preceding the holiday.

        (b)    Except as provided in paragraph (c) below, all others for whom holiday pay is
provided in Section 1 hereof shall qualify for such holiday pay if, on the day preceding and the day
following the holiday, they satisfy one or the other of the following conditions:

        (i)    Compensation for service paid by the Company is credited;

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       (ii)     Such employee is available for service.

                NOTE: "Available" as used in Subsection (ii) above is interpreted by the
                      parties to mean that an employee is available unless laying off on
                      own accord or does not respond to a call, pursuant to the rules of the
                      applicable agreement, for service.

        (c)     For the purposes of Section 1, other than regularly assigned employees who are
relieving regularly assigned employees on the same assignment on both the workday preceding and
the workday following the holiday shall have the workweek of the incumbent of the assigned position
and shall be subject to the same qualifying requirements respecting service and availability on the
workdays preceding and following the holiday as apply to the employee relieved.

                NOTE: Compensation paid under sick leave rules or practices shall not be
                      considered as compensation for purposes of this rule.

       Section 4. (a) Under no circumstances shall an employee be allowed, in addition to holiday
pay, more than one (1) time and one-half payment for service performed on a holiday which is also a
workday, a rest day and/or a vacation day.

        (b)    When any of the eleven (11) recognized holidays enumerated in Section 1 of this




                                                                            A
rule, or any day which by agreement, or by law or proclamation of the State or Nation, has been
substituted or is observed in place of any of such holidays. falls during hourly or daily rated
employees' vacation periods, they shall, in addition to vacation compensation, receive the holiday



                                                             IN
pay provided for therein provided they meet the qualification requirements specified. The
"workdays" and "days" immediately preceding and following the vacation period shall be considered
the "workdays" and "days" preceding and following the holiday for such qualification purposes.


RULE 41 - FORTY HOUR WORKWEEK.
                                        AV
        (a)     Subject to the exceptions as hereinafter specified, employees shall have a workweek
consisting of forty (40) hours which shall consist of five (5) days of eight (8) hours each with two (2)
consecutive days off in each seven (7). Workweeks may, however, be staggered to meet the
Company's operational requirements.

                NOTE: The expression "positions" and "work" used in this rule refer to
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                      service, duties, or operations necessary to be performed the
                      specified number of days per week and not to the workweek of
                      individual employees.

       (b)      Five-day Positions. On positions the duties of which can reasonably be met in five
(5) days, the days off shall be Saturday and Sunday.
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      (c)      Six-day Positions. Where the nature of the work is such that employees shall be
needed six (6) days each week, the rest days shall be either Saturday and Sunday or Sunday and
Monday.

       (d)     Seven-day Positions. On positions which are to be filled seven (7) days per week,
any two (2) consecutive days may be the rest days with the presumption in favor of Saturday and
Sunday.


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        (e-1) Regular Relief Assignments. All possible regular relief assignments with five (5)
days of work and two (2) consecutive rest days shall be established to do the work necessary on
rest days of assignments in six (6) or seven (7) day service or combinations thereof, or to perform
relief work on certain days and such types of other work on other days as may be assigned under
this Agreement. Where no guarantee rule now exists, such relief assignments shall not be required
to have five (5) days of work per week.

        (e-2) Assignments for regular relief positions may, on different days, include different
starting times, duties and work locations for employees in the same seniority Zone, provided they
take the starting time, duties and work locations of the employee or employees whom they are
relieving.

         (f)     Deviation from Monday - Friday Week. If in positions or work extending over a period
of five (5) days per week, an operational problem arises which the Company contends cannot be
met under the provisions of Section (b) of this Rule 41, and requires that some of such employees
work Tuesday to Saturday instead of Monday to Friday, and the employees contend the contrary,
and if the parties fail to agree thereon, then if the Company nevertheless puts such assignments into
effect, the dispute may be processed as a grievance or claim under this Agreement.

       (g)    Non-consecutive Rest Days. The typical workweek is to be one with two (2)




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consecutive days off, and it is the Company's obligation to grant this. Therefore, when an operating
problem is met which may effect the consecutiveness of the rest days of positions or assignment
covered by Section (c), (d) and (e) of this rule, the following procedure shall be used:

       1.


       2.
               Section (e).
                                                          IN
               All possible regular relief positions shall be established pursuant to


               Possible use of rest days other than Saturday and Sunday, by agreement or
               in accordance with other provisions of this Agreement.
                                       AV
       3.      Efforts shall be made by the parties to agree on the accumulation of rest time
               and the granting of longer consecutive rest periods.

       4.      Other suitable or practicable plans which may be suggested by either of the
               parties shall be considered and efforts made to come to an agreement
               thereon.
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       5.      If the foregoing does not solve the problem, then some of the relief or extra
               employees may be given non-consecutive rest days.

       6.      If, after the foregoing has been done, there still remains service which can
               only be performed by requiring employees to work in excess of five (5) days
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               per week, the number of regular assignments necessary to avoid this may be
               made with two (2) non-consecutive days off.

       7.      The least desirable solution of the problem would be to work some regular
               employees on the sixth (6th) or seventh (7th) days at overtime rates and thus
               withhold work from additional relief employees.




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       8.      If the parties are in disagreement over the necessity of splitting the rest days
               on any such assignments, the Company may. nevertheless, put the
               assignments into effect subject to the right of employees to process the
               dispute as a grievance or claim under this agreement, and in such
               proceedings, the burden shall be on the Company to prove that its
               operational requirements would be impaired if it did not split the rest days in
               question and that this could be avoided only by working certain employees in
               excess of five (5) days per week.

         (h)     Rest Days of Extra or Furloughed Employees. To the extent extra or furloughed
employees may be utilized under this Agreement. their rest days need not be consecutive; however,
if they take the assignment of a regular employee they shall take the rest days of that assignment.

       (i)    Beginning of Workweek. The term "workweek" for regularly assigned employees
shall mean a week beginning on the first day on which the assignment is bulletined to work. and for
unassigned employees shall mean a period of seven (7) consecutive days starting with Monday.

        (j)     Service on Rest Days. Service rendered by employees on their assigned rest days
shall be paid for under Rule 39(b) unless relieving an employee assigned to work on such day who
does not work any portion of such employee's assignment. in which case they shall be paid eight (8)




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hours at the rate of time and one-half.

       (k)     Work on Unassigned Days. Where work is required by the Company to be
performed on a day which is not a part of any assignment. it may be performed by an available extra




IRULE 42 - SICK LEAVE ALLOWANCE.
                                                             IN
or unassigned employee who will otherwise not have forty (40) hours of work that week; in all other
cases. by the regular employee.


                                                                                                      -   Comment: See interpretation
                                                                                                          dated 11/29/95 - document
                                        AV
                                                                                                          named
        Section 1. There is hereby established a non-governmental plan for sickness allowance             h:\master\ru1e42.int
supplemental to the sickness benefit provisions of the Railroad Unemployment Insurance Act as
now or hereafter amended. It is the purpose of this sick leave rule to supplement the sickness
benefits payable under the Act and not to replace or duplicate them.

        (a)     An employee who has been in the continuous service of the Company for the period
of time specified will be granted an allowance as set forth below for time absent on account of
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sickness or injury:

       (1)     Upon completion of one (1) year of service, a total in the following year of five
               (5) days' pay.

       (2)     Upon completion of two (2) years of service. a total in the following year of
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               seven and one-half (7Y2) days' pay.

       (3)     Upon completion of three (3) years of service. a total in the following year of
               ten (10) days' pay.




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               NOTE: In the application of paragraph (1) above, the rate of pay will be the
                     rate of the position to which assigned, the employee's Employee
                     Maintenance Rate (EMR) or protected rate being paid, whichever is
                     higher, and for an extra employee assigned to a guaranteed
                     reserve/extra board shall be the guaranteed reserve/extra board rate
                     of pay, the employee's EMR or protected rate being paid, whichever
                     is higher, for a reserve/extra employee working a non-guaranteed
                     reserve/extra board shall be the rate of the position called for or
                     protected rate being paid, whichever is higher.

        (b-1) Until an employee has completed three (3) years of continuous service, each
consisting of twelve (12) calendar months, and does not lose their seniority, the employee sick leave
allowance and eligibility therefore shall be calculated from the date of the employee entrance into
service.

        (b-2) Effective January 1, following completion of three (3) years of continuous service as
specified in the preceding paragraph, the calendar year, January 1 to December 31, shall be the
"year of service" for sick leave purposes.

       (b-3) During the period of transition from a service year to a calendar year as provided




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above, an employee shall be allowed not more than the equivalent of one (1) working day for each
calendar month or major fraction thereof intervening between the date of completion of three (3)
years of service, but in any event not more than ten (10) days, exclusive of any unused sick leave
allowance accrued under paragraph (d) of this rule.

        Example:
                                                           IN
                       An employee completed three (3) years of service on July 1.
                       Regardless of whether he has received a sick leave allowance, prior
                       to July 1, he will be allowed not more than six (6) working days,
                       exclusive of any unused sick leave allowance accrued under
                       paragraph (d) of this rule between July 1 and December 31, i.e., the
                                       AV
                       equivalent of one (1) day for each intervening calendar month.

         (c)    Where employees are regularly required to work their eight (8) hour assignments on
their rest days and/or holidays, when they are absent due to sickness on such days, the designated
holidays and assigned rest days will be considered as working days for the purpose of applying this
rule; however, the absent employee will be allowed only straight-time rate for the time lost on such
days.
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        (d)     After an employee has accumulated thirty (30) days of unused sick leave, thereafter,
in each year of service, the employee shall have the option, which must be made in the month of
October, of receiving payment in the month of December in five (5) full-day increments at the rate of
seventy-five percent (75%) ofthe daily allowance orthe employee may continue to accumulate the
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unused sick leave. Pay for unused sick time will be based upon the rate of the position occupied on
the last day of November, the employee's EMR or protected rate under the UPfTCU Job
Stabilization Agreement, whichever is higher, and will be paid no later than the first half payroll of
December. (Pay for extra employees assigned to a guaranteed reserve/extra board will be based
on the guaranteed reserve/extra board rate of pay, the employee's EMR or protected rate, whichever
is higher. Pay for furloughed employees and for extra employees working a non-guaranteed
reserve/extra board will be based on the rate of the position last worked, the employee's EMR or
protected rate, whichever is higher.)



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        (e)     An employee who is off account of sickness in any calendar year in excess of the
specified allowance entitled to under paragraph (a) of this rule shall, upon request. be given
additional sick leave with pay to the extent of unused sick leave in sick leave reserve. Sick leave
entitlement for the current year must be used before any sick leave in the sick leave reserve can be
used.

      (f)     Before the end of the last week in September of each year, each employee with
unused sick leave will be notified of the number of unused days which are being placed in the
employee sick leave reserve, and the total number of accumulated days in such sick leave reserve.

        (g)     It will be optional with the Company to fill, partially fill, or not fill the position of an
employee who is absent account of the employee's personal sickness and is receiving an allowance
under this rule. If the Company elects to fill the position in its entirety, appropriate rules of the
Agreement will be followed. The use of other employees on duty and on other positions in the same
office to perform the duties of the employee absent under this rule is permissible and such
employees will be compensated in accordance with Rule 25.

         (h)    The employing officer must be satisfied that the sickness is bona fide. Satisfactory
evidence as to sickness from a reputable physician, preferably in the form of a certificate, may be
required in case of doubt. This requirement will be determined on an individual case basis and not




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in the form of blanket instructions.

         (i)   No allowance will be made under this rule for any day on which the employee is
entitled to compensation under any other rule or agreement.

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                Any sick leave allowance to be paid by the Company under this rule shall be reduced
in the amount by the maximum daily allowance which the employee will be paid or could be paid, if
proper claim were made by said employee under the Railroad Unemployment Insurance Act. In
computing such supplemental allowance, only the assigned work days during which the employee is
accorded sick leave allowance as provided in this rule will be considered. All sick leave allowances
                                          AV
shall be paid in the current payroll period.

        (k)     An employee falsely claiming sick time will be subject to disciplinary action.

        (I)     Employees who retire or die shall receive pay for seventy-five percent (75%) of the
accumulated and unused sick leave at the rate of the position last occupied, the employee's EMR or
protected rate, whichever is higher. (Pay for employees assigned to a guaranteed reserve/extra
               P-

board will be based on the guaranteed reserve/extra board rate of pay, the employee's EMR or
protected rate, whichever is higher. Pay for furloughed employees and for employees assigned to a
non-guaranteed reserve/extra board will be based on the rate of the position last worked, the
employee's EMR or protected rate, whichever is higher.) Pay on behalf of a deceased employee
shall be paid to such beneficiary as may be designated or, in the absence of such designation, the
surviving spouse or children or the employee estate, in that order of preference.
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Section 2. (From Article IX - Personal Leave of the December 11, 1981 National Agreement.)

        (a)     A maximum of three days of personal leave will be provided on the following basis:

        1.      Employees who have met the qualifying vacation requirements during eight
                calendar years under vacation rules in effect on January 1, 1982 shall be
                entitled to one day of personal leave in subsequent calendar years;


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       2.      Employees who have met the qualifying vacation requirements during
               seventeen calendar years under vacation rules in effect on January 1, 1982
               shall be entitled to two days of personal leave in subsequent calendar years;
               and

       3.      Employees who have met the qualifying vacation requirements during twenty
               calendar years under vacation rules in effect on January 1, 1982 shall be
               entitled to three days of personal leave in subsequent calendar years.

         (b)     Personal leave days provided in Paragraph (a) may be taken upon 48 hours' advance
notice from the employee to the proper Carrier officer; provided, however, such days may be taken
only when consistent with the requirements of the Carrier's service. It is not intended that this
condition prevent an eligible employee from receiving personal leave days except where the request
for leave is so late in a calendar year that service requirements prevent the employee utilization of
personal leave days before the end of that year.

      (c)    Personal leave days will be paid for at the regular rate of the employee position, the
employee's EMR or the protected rate, whichever is higher.

        (d)    The personal leave days provided in Paragraph (a) shall be forfeited if not taken




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during each calendar year. The Carrier shall have the option to fill or not fill the position of an
employee who is absent on a personal leave day. If the vacant position is filled, the rules of the
agreement applicable thereto will apply. The Carrier will have the right to distribute work on a
position vacated among other employees covered by the TCU agreement.


RULE 43 - LEAVE OF ABSENCE.

        (a)
                                                          IN
                Employees shall be granted leave of absence when they can be spared without
interference to the service, but not to exceed ninety (90) days in a calendar year, except in cases of
                                      AV
sickness, physical disability of the employee, Organization work, service with railroad bureaus,
Interstate Commerce Commission, or holding public office, or by agreement between the
supervising officer and Local/District Chairman.

         (b)    Acceptance of other employment while on leave of absence, other than as provided
in Section (a) of this rule, without the approval of Local/District Chairman and supervising officer,
shall terminate an employee's service and seniority.
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       (c)     All leaves of absence in excess of ten (10) working days must be in writing and
copies shall be furnished Local/District Chairman. Leaves of absence of ten (10) days or less may
be required in writing.
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       (d)     An employee desiring to return from leave of absence before the expiration thereof
must give at least thirty-six (36) hours' advance notice before making displacement.

        (e)    After an employee has been on leave of absence for a period of one (1) year, the
position vacated and previously held by such employee shall be bulletined as a permanent vacancy
pursuant to Rule 11 of this Agreement, in lieu of temporary.




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        (1)     An employee failing to report for duty at the expiration of leave of absence may be
subject to discipline under Rule 45 unless a reasonable excuse for such failure to report is furnished
not later than ten (10) days from expiration of leave of absence.


RULE 44 - PROBATIONARY PERIOD - NEW EMPLOYEES.

        (a)      The applications of new employees entering the service shall be approved or rejected
within sixty (60) days. When applicant is not notified to the contrary within the time stated, it shall be
understood that the application is approved, but this clause shall not operate to prevent the removal
from service of such applicant if subsequent to the expiration of sixty (60) days it shall be proven that
the information given in the application is false, provided such action is taken by the Company within
three (3) years from the date the employee enters the service.

       (b)     Subsequent to the sixtieth (60th) day and prior to the expiration of the three (3) year
period as provided in (a) above, an employee whose application has been approved, shall not be
removed from service under the provisions of this rule without formal hearing as provided in Rule 45.

       (c)      Applicants shall, within sixty (60) days from date of employment, have returned to
them all service cards, letters of recommendation and other papers which have been furnished by
them to the railroad for filing with their application.




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RULE 45 - DISCIPLINE PROCEDURE.

        (a)

                                                             IN
               No employee shall be disciplined or dismissed without a fair and impartial hearing.
Suspension in proper cases pending a hearing, which shall be held within seven (7) days of the time
charge is made or employee suspended, shall not be considered a violation of this principle.
However, by mutual agreement between the Company and the affected employee, such employee
may waive in writing the right to a formal investigation and accept specified discipline. Such
                                        AV
employee shall be afforded an opportunity to consult with his duly accredited representative before
signing a waiver.

        NOTE: Proper cases in which an employee may be suspended pending a hearing
              are serious charges such as theft, altercation, Rule "G" violation,
              insubordination, serious misconduct and major offenses whereby the
              employee retention in service could be hazardous.
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         (b)     If an investigation is conducted, the employee shall be apprised at a reasonable time
prior to such hearing of the precise charge(s). The charge(s) as provided herein must be made
within fourteen (14) calendar days of the first date facts relating to the charge(s) are known by or to
an officer of the Company having jurisdiction within the administrative territory involved and who is
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authorized to participate in the investigation. In case of unsatisfactory service or incompetency all
charges to be investigated shall be stated. The employee shall have reasonable opportunity to
secure the presence of witnesses and the right to be represented by the duly accredited
representatives as defined in Rule 57.

      c)      Investigations and hearings shall be held when possible at home terminal of the
employee involved and at such time as not to cause the employee to lose time.



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         (d)   If the decision of the Company to issue discipline is to be appealed, a request to
discuss the decision in conference must be made in writing directly to the highest officer designated
by the Company to handle such disputes within sixty (60) days from the date discipline is issued.
Further handling ofthe dispute will be in accordance with Paragraphs (c) and (d) of Rule 46 except
this Paragraph (d) of Rule 45 and Rule 46 will not apply to requests for leniency and acceptance of
discipline by waiving investigation.

        (e)    If the final decision decrees that charges against the employee were not sustained,
the record shall be cleared of the charge; if suspended or dismissed, the employee shall be
reinstated and compensated for any loss of wages.

       (f)      Where an employee is dismissed or suspended from service for cause and
subsequently it is found that such discipline is unwarranted and the employee is restored to service
with pay for time lost, earnings in other employment shall be used to offset the loss of earnings.

        (g)     An employee disciplined as a result of formal investigation shall be advised in writing
of the discipline assessed within fifteen (15) days after the investigation is held with copy to the
General Chairman, unless a longer time limit is mutually agreed to in specific instances.

       (h)     A copy of the transcript of evidence taken at a formal investigation shall be furnished
to the employee and representative of the Organization within twenty (20) days from the date




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hearing is concluded.

        (i)   When a notation is made against the record of the employee, the employee will be
furnished copy and verification of receipt.

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        (k)
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               An employee who fails or refuses to be present for investigation or hearing after
being duly notified to do so shall terminate service and seniority rights.

               An employee disqualified under the provisions of Rule 20 of this Agreement shall
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upon request, which must be made in writing within seven (7) days after disqualification, be granted
formal hearing within seven (7) days from date hearing is requested. The hearing shall be limited to
the issue of qualification. If the issue of disqualification is upheld, the affected employee shall
exercise seniority as prescribed by Rules 18 and 20 and such employee shall have the right of
appeal as provided in Section (d) of this rule. If the issue of disqualification is not upheld, all
employees affected shall be restored to their former positions and paid for any loss of wages.
              P-

        (I)      Employees who consider themselves unjustly treated, other than covered by these
rules, will be provided a hearing, if requested in writing to their immediate supervisor within seven (7)
calendar days of cause of complaint. A reason shall be provided when a request for unjust
treatment hearing is submitted.

       The provisions of this Section shall not apply to partially or fully excepted positions if the
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incumbent is released pursuant to Rule 10 or in instances involving an employee's failure to meet
minimum fitness and ability requirements as set forth in Rule 8 and disqualification as provided in
Rule 45(k).

        (rn)    Nothing herein shall abridge the right of the Company to reinstate, with original
seniority status, to service employees who may have been relieved from active service for just
cause; however, the exercise of their displacement rights will be subject to agreement between the
Company and the General Chairman.


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RULE 46 - TIME LIMIT ON CLAIMS.

        (a)      All claims or grievances must be presented in writing by or on behalf ofthe employee
involved to the officer of the Company authorized to receive same within sixty (60) days from the
date of the occurrence on which the claim or grievance is based. Should any such claim or
grievance be disallowed, the Company shall, within sixty (60) days from the date same is filed, notify
whoever filed the claim or grievance (the employee or the representative) in writing of the reasons
for such disallowance. If not so notified, the claim or grievance shall be allowed as presented, but
this shall not be considered as a precedent or waiver of the contentions of the Company as to other
similar claims or grievances.

        (b)     If a disallowed claim or grievance is to be progressed, a request for conference to
discuss the claim or grievance must be presented in writing to the highest officer of the Company
designated to handle claims and grievances within sixty (60) days from receipt of notice of
disallowance. Failing to comply with this provision, the matter shall be considered closed, but this
shall not be considered as a precedent or waiver of the contentions of the employees as to other
similar claims or grievances.

        (c)      If conference to discuss the claim or grievance is requested, the parties shall meet
within sixty (60) days from receipt of such request at a mutually agreeable time and place to review




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the claim or grievance in conference. Within sixty (60) days from date of conference, the Company
shall notify the representative (or the employee if the employee who filed the claim or grievance is
handling same) of the results of the conference. If not so notified, the claim or grievance shall be
allowed as presented, but this shall not be considered as a precedent or waiver of the contentions of


sixty (60) day periods established herein.

        (d)
                                                            IN
the Company as to other similar claims or grievances. It is understood, however, that the parties
may, by agreement, at any stage of the handling of a claim or grievance on the property, extend the


                 All claims or grievances involved in a notification of conference results by the
Company which remain disallowed shall be barred, unless within nine (9) months from the date of
                                        AV
said notification, proceedings are instituted by the employee or the duly authorized representative
before the appropriate division of the National Railroad Adjustment Board or a system, group or
regional board of adjustment that has been agreed to by the parties hereto as provided in Section 3,
Second, of the Railway Labor Act. It is understood, however, that the parties may by agreement in
any particular case extend the nine (9) month period herein referred to.

         (e)     A claim may be filed at any time for an alleged continuing violation of any agreement
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and all rights of the claimant or claimants involved thereby shall under this rule be fully protected by
the filing of one claim or grievance based thereon as long as such alleged Violations, if found to be
such, continues. However, no monetary claim shall be allowed retroactively for more than sixty (60)
days prior to the filing thereof. With respect to the claims and grievances involving an employee
held out of service in discipline cases, the original notice or request for reinstatement with pay for
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time lost shall be sufficient.

       (f)    This rule recognizes the right of representatives of the Organization to file and
progress claims and grievances for and on behalf of the employees they represent.

        (g)     This rule is not intended to deny the right of the employees to use any other lawful
action for the settlement of claims or grievances provided such action is instituted within nine (9)
months of the date of the decision of the highest designated officer of the Company.



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RULE 47 - TRANSPORTATION.

      (a)      Committee of employees shall be granted transportation and necessary leave of
absence for investigation, consideration and adjustment of grievances.

       (b)     Employees transferred by direction of the Company shall be furnished free
transportation for themselves, dependent members of their families and household goods,
consistent with Federal and State Laws.

        (c)     Employees covered by this Agreement and those dependent upon them for support
shall be given the same consideration in granting free transportation as is granted other employees
in service.


RULE 48 - SHORTAGE IN PAY CHECKS.

      (a)    Employees who are short in their payroll voucher an amount equal to one (1) day's
payor more shall be given a voucher within three (3) days on request.

        (b)     When time is claimed in writing and such claim is disallowed, the employee making




                                                                                          A
the claim shall be notified in writing the reason for non-allowance.


RULE 49 - ATTENDING COURT AND OTHER HEARINGS AT THE REQUEST OF THE
COMPANY.

         (a)       An employee required by the Company to:

                   1.
                                                                        IN
                            Attend court or other public forum or tribunal as a witness for the Company
                                               AV
                   2.       Attend court or other public forum tribunal as a witness for a party other than
                            the Company where the employee's testimony is desired by reason of the
                            employee's employment with the Company and the Company is not a party;
                            or

                   3.       Attend a hearing (investigation) under a labor contract as a witness for the
                            Company only and is not charged with a rule violation 1 , shall, subject to the
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                            conditions hereinafter specified, be:

                            A.        Furnished transportation required away-from-home terminal;

                            8.        Paid necessary expenses incurred away-from-home terminal; and
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                            C.        Compensated as follows, if required to attend any of the tribunals or
                                      hearings listed in Paragraphs 1, 2 or 3 above:




   'Notapplicable where theemployee has been charged with an offense orrule violation under a labor contract and isattending
a hearing orinvestigation asrequired bythat contract asa condition precedent todiscipline ordismissal, or isattending an
investigation requested bythe employee.

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                              1.      On the regular tour of duty shall be paid wage loss, if any;

                              2.      Outside of the regular tour of duty shall be paid actual time
                                      consumed at straight time rate with a minimum of eight (8)
                                      hours on any calendar day.

         (b)    No payment shall be made by the Company to any employee for attending a court or
other tribunal as a witness or attending hearings under any labor agreement except as provided in
this rule.


RULE 50 - JURY DUTY.

         When regularly assigned employees are summoned for jury duty and are required to lose
time from their assignments as a result thereof, they shall be paid for actual time lost with a
maximum of the basic day's pay at the straight time rate of the position held for each day lost less
the amount allowed the employee for jury service for each such day, except allowances paid by the
court for meals, lodging or transportation, subject to the following qualification requirements and
limitations:




                                                                         A
       (1)     An employee must exercise any right to secure exemption from the summons and/or
               jury service under federal, state or municipal statute and shall be excused from duty
               when necessary without loss of pay to apply for the exemption.

       (2)


       (3)                                                IN
               An employee must furnish the Company with a statement from the court of jury
               allowances paid and the days on which jury duty was performed.

               The number of days for which jury duty pay shall be paid is limited to a maximum of
               sixty (60) days in any calendar year.
                                       AV
       (4)     No jury duty pay shall be allowed for any day as to which the employee is entitled to
               vacation or holiday pay.

       (5)     When an employee is excused from railroad service because of jury duty, the
               Company shall have the option of determining whether or not the employee's regular
               position shall be blanked, notwithstanding the provisions of any other rules of this
               Agreement.
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RULE 51 - OFFICE EQUIPMENT, MACHINES, ETC.

     (a)     Typewriters, other office equipment devices, and supplies shall be furnished by the
Company at offices where the Company requires their use.

      (b)     The Company recognizes its responsibility in furnishing vehicles for use in transaction
of Company business; therefore, the ownership of such vehicles shall not be qualifying requisite of
employees in connection with their seniority rights for positions covered by this Agreement.


RULE 52 - BOND PREMIUMS AND LICENSE FEES.

       Employees shall not be required to pay premiums on bonds required by the Company in
handling its business, nor shall they be required to pay examination or license fees required of
employees operating vehicles or mechanical devices.


RULE 53 - NON-DISCRIMINATION.

        These rules shall be applied by the parties in compliance with State and Federal Laws and




                                                                         A
regulations and without regard to the race, religion, color, national origin, age or sex of the
individuals covered by the rules.


RULE 54 - PHYSICAL EXAMINATION-DISQUALIFICATION.

       (a)                                                IN
             Applicants for employment shall undergo a physical examination at the expense of
the Company to determine their fitness for the work required and to protect the health and safety of
employees.
                                      AV
      (b)      In the event an employee in active service is required to report for physical
examination, the following will govern:

               (1)     The Company will pay for the examination.

               (2)     If the employee passes the examination, he/she shall be returned to work
                       immediately and paid for all time lost taking the examination.
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               (3)     If the employee passes the examination and loses no time taking the
                       examination, he/she shall be paid for actual time consumed in taking the
                       examination, with a minimum of two (2) hours and a maximum of eight (8)
                       hours a day at pro rata rate of last service performed.
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               (4)     In the event the employee is required to travel to a point away from his/her
                       headquarters place of employment to take an examination, he/she shall be
                       allowed actual necessary expenses in connection therewith.




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      (c)     In the event an employee is required to report for physical examination after having
been absent from work, the following will govern:

               (1)     The Company will pay for the examination and the employee will, upon
                       request, be furnished a copy of the findings and diagnosis.

               (2)     The employee will be notified as promptly as possible, and in any event
                       within five (5) working days after the examination results are made available
                       to the Company, as to whether or not he/she passed. Any time lost in
                       excess of the five (5) working days will be paid for by the Carrier, provided
                       the employee passes the examination.

       (d)    When there is a dispute between the Company Medical Officer and an employee
personal physician, the following will govern:

               (1)     Upon request of the employee, the employee physician and a Company
                       Medical Officer shall confer and attempt to resolve the dispute. Failing to
                       agree, these physicians will, within fifteen (15) days, select a neutral
                       physician who is in no way connected with the employee, any union or any
                       railroad, and who will study the case, examine the employee, and within




                                                                            A
                       fifteen (15) days from his selection or examination of the employee, render a
                       decision which will be final as to the employee being able to return to service
                       in accordance with the Company's physical requirements. The time limits
                       referred to herein may be extended by agreement between the parties in


                                                            IN
                       individual cases. If it is determined by the majority that the employee
                       condition did not warrant being held from service, such employee will be
                       returned to service and paid for all time lost subject to the provisions of
                       paragraph (c)(2). The Company and the employee involved will each defray
                       the expense of their respective physicians. The fee of the third member of
                                       AV
                       the board will be borne equally by the employee involved and the Company.
                       Other examination expenses, such as X-rays, electrocardiograms, etc., will
                       be borne equally by the employee involved and the Company.

               NOTE: The Company will establish only reasonable physical requirements for
                     employees in the service and the Union reserves its right to contest any
                     physical requirement under the provisions of Section 3 of the Railway Labor
                     Act.
              P-


               (2)     Should the decision of the board of physicians be adverse to the employee
                       and such employee considers that their physical condition has improved
                       sufficiently to justify considering their return to service, a re-examination will
                       be arranged upon request of the employee, or the duly accredited
             U



                       representative, but not earlier than ninety (90) days after such decision, nor
                       more often thereafter than each ninety (90) days.

       (e)     This rule does not apply to periodic examinations on sight, hearing or color
perception, nor does it contemplate the commencement of periodic general physical examinations.

          (f)    Employees who are physically disqualified for the position to which assigned may, in
the exercise of their seniority, displace junior employees from positions which they are qualified to
fill, pursuant to Rule 18(b).


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RULE 55 - SERVICE LETTER.

        Employees whose applications are approved and who have been in the service sixty (60)
days or longer, shall, upon request, if they leave the service of the Company, be furnished with a
service letter showing length of service, capacity in which employed and cause for leaving.


RULE 56 - EXTRA BOARDS.

       Extra Board or Boards shall be maintained and rules governing the manner of working Extra
Board employees shall be established in writing by agreement.


RULE 57 - DULY ACCREDITED REPRESENTATIVE.

         Where the term "duly accredited representative", General or Local/District Chairman appears
in this Agreement, it shall be understood to mean the regularly constituted committees and/or the
officers of the Transportation Communications Union of which such committees or officers are a
part.




                                                                         A
RULE 58 - VACATIONS.

       Employees shall be granted vacations with payor payment in lieu thereof in accordance with


                                                          IN
the Vacation Agreement of December 12, 1941, the interpretations thereto and as such Vacation
Agreement has been supplemented and amended by subsequent National Vacations Agreements
of ­

                              August 21,1954
                                      AV
                              August 19, 1960
                              November 20, 1964
                              December 15, 1966
                              January 13, 1967
                              December 28, 1967
                              June 24, 1968
                              February 25, 1971
                              January 30, 1979
              P-


                              December 11, 1981

or as further amended by National Agreements.
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RULE 59 - HEALTH AND SAFETY.

        (a)     The health and safety of employees shall be protected while on duty.

        (b)     Good drinking water shall be furnished, artificially cooled when climatic conditions
require; drinking fountains shall be provided where practicable.

        (c)    Offices, locker rooms and washrooms shall be adequately lighted and heated
consistent with the source of energy available.

        (d)     When situations arise where employees consider that facilities are necessary for
protection of their clothing, washroom facilities are inadequate, or in the interest of health and safety,
and the matter is brought to the attention of the proper officer of the Company by the Local
Chairman/District, the Company shall be afforded an opportunity to participate, to determine the
need and/or practicability of making requested changes.


RULE 60 - POSTING NOTICES.

        At points or in departments where employees covered by this Agreement are employed,




                                                                             A
suitable bulletin boards shall be provided for posting notices of interest to the employees.


RULE 61 - RULINGS.


                                                             IN
        Whenever a ruling is made by an authorized general officer of the Company affecting the
interpretation of any rule or part of a rule in this Agreement, the General Chairman representing the
employees shall be furnished with a copy of such ruling.
                                        AV
RULE 62 - GENERAL COMMUNICATIONS OFFICES.

      (a)   General Communications Offices under the jurisdiction of the General Director of
Telecommunications shall be:

                                Omaha "U"
                                Los Angeles "Z"
                        P-


                                Portland "P"

       (b)     Managers in telegraph offices listed in this rule shall be assigned BAM to 4PM which
includes twenty (20) minutes in which to eat, except where first trick (BAM - 5PM) Wire Chiefs are
employed.
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       (c)    Rates of pay of Managers in General Communications Offices cover all services
rendered during a calendar month, subject to the provisions of Section (f-3) of Rule 1 but the
incumbent shall not be regularly assigned to work in excess of eight (8) hours per day.




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RULE 63 - BULLETINING, SELECTING, FILLING POSITIONS, GENERAL COMMUNICATIONS
OFFICE.

         (a)     Subject to the provisions of Rule 11, 20 and 66 of this Agreement and any
supplemental agreements specifically applicable to General Communications Offices, all new
positions and vacancies other than temporary vacancies in General Communications Offices shall
be filled by the senior qualified employee making application for the bulletined position or vacancy.
The seniority date of an employee as established by this Agreement shall govern in filling new
positions and vacancies in General Communications Offices.

         (b)    The Assistant Director of Communications shall have the right to accept and/or reject
applicants, including those employees who have an exercise of seniority under the controlling rules
of this Agreement for positions of Wire Chief after full evaluation of all applications, including those
desiring to exercise seniority rights, by selecting the senior applicants who have demonstrated their
fitness and ability to administer, supervise and direct the operational details necessary to the proper
functioning of General Communications Offices. The General Chairman, or his representative, will
be consulted before an employee other than the senior applicant is assigned.

        (c)     Employees selected for positions of Wire Chief and Manager by the Assistant
Director of Communications pursuant to Section (b) of this rule shall be afforded, at the discretion of




                                                                           A
the Company, on-the-job and in-service training in the administrative supervisory and operational
details necessary to the proper functioning of General Communications Offices, which training shall
be under the supervision and direction of Managers, Manager-Wire Chiefs and/or other personnel
as directed by the Assistant Director of Communications; provided further that applicants for the


                                                            IN
position of Wire Chief shall also be qualified to handle train orders.

        (d)     Employees applying and those selected for positions of Wire Chiefs in General
Communications Offices pursuant to Section (b) of this rule shall not be required, as heretofore, to
have a thorough knowledge of electronics and the technical aspects and functioning of the complex
                                       AV
and sophisticated communications equipment, but nothing herein shall be construed or interpreted
so as to abridge the historical, traditional and customary right of employees so classified to handle
or assist in handling trouble calls, prepare the necessary trouble reports, test physical wire circuits,
locate source of trouble, notify and call the proper supervisory, maintenance and/or equipment
personnel so as to insure prompt and proper functioning and/or restoration of all communications
equipment and/or facilities.

        (e)    The Company shall continue to provide training, instructional and operational
              P-


manuals to each General Communications Office and provide on-the-job and in-service instruction
to Wire Chiefs on the design, operational, functional and theoretical concepts of electronic and
communications equipment installed in their respective offices so as to aid such employees in the
proper discharge of their traditional, historical and customary administrative, supervisory and
operational functions and to prepare such employees for positions of greater responsibility.
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RULE 64 - GENERAL COMMUNICATIONS OFFICES - FUNCTIONING, DEFINITIONS AND
MAINTENANCE POSITIONS.

        (a)    The classification of Wire Chief as used and listed in Rule 1 (SCOPE) of this
Agreement shall be understood to embrace the traditions, historical and customary duties of such
positions as related to the administrative, supervisory and operational details necessary to the
proper functioning of General Communications Offices.

        (b)     Where General Communications Offices are established and/or maintained, not less
than one (1) employee on each shift, where service is required on one (1) or more shifts in such
offices, shall be classified under one of the following categories:

                               (a) Manager
                               (b) Manager-Wire Chief, and/or
                               (c) Wire Chief

       NOTE:         In General Communications Offices, at least one (1) position in such
                     office or offices shall be classified as Manager and/or Manager-Wire
                     Chief and where only one (1) position is maintained throughout the
                     twenty-four (24) hour period in such office or offices, the position shall,
                     in that event, be classified as Manager-Wire Chief.




                                                                            A
RULE 65 - TRAVELING RELIEF WIRE CHIEF.

       (a)

                                                            IN
              Positions of Traveling Relief Wire Chief may be established at General
Communications Offices to be designated by the Assistant Director of Communications for the
purpose of providing relief and to fill vacancies as required in General Communications Offices.

        (b)    Assignment to positions ofTraveling Relief Wire Chief shall be made by the Assistant
                                       AV
Director of Communications from employees who have completed training under the program for
training Wire Chiefs.

         (c)    When available for duty at assigned headquarters and not filling a vacancy,
employees assigned to positions ofTraveling Wire Chiefs shall be compensated for eight (8) hours
per day at the Assistant Wire Chief rate of pay in the General Communications Office where such
classification exists and at the Wire Chief rate in other offices for each calendar day not to exceed
                        P-

five (5) days or forth (40) hours per workweek.

       NOTE:           The term "workweek" shall mean a period of seven (7) consecutive
                       days starting with Monday.

        (d)    The senior employee on position of Traveling Relief Wire Chief shall be required to
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accept assignment to the first bulletined Wire Chief vacancy in that General Communications Office
for which no application from qualified employees is received.




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RULE 66 - MANAGERS - GENERAL COMMUNICATIONS OFFICES.

        (a)     Vacancies in positions of Manager, General Communications Offices, shall be
bulletined in accordance with Rule 11 of this Agreement and, subject to the conditions hereinafter
specified, the senior qualified applicant shall be placed on the position, but shall be considered on
temporary assignment for a period of not to exceed ninety (90) days.

        (b)      If at any time prior to the expiration of the ninety (90) day period set forth in
Section (a) of this rule, the Assistant Director of Communications considers the applicant has amply
demonstrated qualifications for the position, or if the Assistant Director of Communications takes no
action in ninety (90) days, the applicant shall be considered being permanently assigned to the
position as the regular incumbent. If the Assistant Director of Communications determines at any
time prior to the expiration of the ninety (90) day period set forth in Section (a) that the applicant is
not or cannot become qualified, the assignment shall be cancelled and the applicant shall revert to
former assignment and be governed by the terms and provisions of Rule 13.

       (c)      Before an applicant is removed from the temporary assignment as Manager under
Section (b) of this rule, the Assistant Director of Communications shall confer with the General
Chairman and explain the reasons why applicant is not considered qualified; provided, however, the
final decision as to the applicant's qualifications shall rest with the Assistant Director of




                                                                             A
Communications.


RULE 67 - EMERGENCY SERVICE.

        (a)
                                                             IN
                Employees at accidents, washouts, snow blockades, or other similar emergency
service, shall be paid continuous time for time called until their return, as follows: overtime rates for
overtime hours, and straight time for the recognized straight time hours; relief from duty for five (5)
hours or more shall be deducted, provided the employee receives not less than eight (8) hours for
                                         AV
each calendar day.

        (b)    Work Train Service. Employees assigned to work train crews shall be paid the
minimum rate in the Zone where service is performed, and shall be assigned the same hours as the
work train crew to which assigned, with minimum of eight (8) hours for each day on which service is
performed. Where board and lodging are not furnished by the Company, expenses shall be allowed
on basis of $22.00 per day, which amount shall cover meals and lodging while away from
headquarters.
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RULE 68 - COMMISSIONS.

       When commissions accruing to any position classified as Agent or Agent-Telegrapher are
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materially reduced, or entirely removed, and it has been recognized that the commissions received
operated to influence the rate downward, prompt adjustment in rate shall be made.




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RULE 69 - EXCESSIVE WORK.

       When an employee considers work is excessive or that a reduction of force is not justified,
and complaint is made to the supervisor, investigation at which the General Chairman may be
present, shall be held promptly at the location. If investigation develops it is necessary, relief shall
be granted.

RULE 70 - STANDARD FORMS.

        For the purpose of uniformity, standardforms as shown in Appendix "M" hereof shall be used
for the following, with copies to be furnished to the Local/District and General Chairman, as
indicated:

Form No.                     Subject Matter
1 Bulletin Advertising New Position or Vacancy
2   Notice of Assignment to New Position Vacancy of Thirty Days or More
3   Notice of Change in Starting Time or Rest Days
4   Notice Covering Abolishment of Position or Reduction in Forces
5 Application for Bulletined Position
6   Notice of Temporary Position or Vacancy under Rule 12(c) of the Agreement




                                                                             A
7   Application for Temporary Position or Vacancy under Rule 12(c) of the Agreement
8   Notice of Assignment to Temporary Position or Vacancy Under Rule 12(c) of the Agreement
9   Employee's Request to Displace
10 Notice of Address Filed under Rule 18 of the Agreement



                                                             IN
11 Notice of Change of Election Under Rule 18 of the Agreement
12 Application for Positions in Other Seniority Zones Under Rule 15 of the Agreement
13 Establishment of Seniority Notice
                                         AV
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RULE 71 - ENACTMENT AND TERMINATION.

      This Agreement shall be effective July 31, 2006, and shall continue in effect until it is
changed as provided herein, or under the provisions of the Railway Labor Act.

        Should either of the parties to this Agreement desire to revise these rules, thirty (30) days'
written advance notice containing the proposed changes shall be given and conference shall be
held immediately on the expiration of said notice unless another date is mutually agreed upon.

       Additional agreements and understandings not set forth in this Agreement which are in effect
as of JUly 31,2006, shall remain in effect until changed or cancelled, as provided therein.

       It is understood that the following Agreements or understandings, including certain National
Agreements which are reproduced in the Appendix, shall be continued in effect subject to
termination or modification as provided therein, or as modified or incorporated in the preceding rules
and by supplemental agreements.

FOR THE TRANSPORTATION                                 FOR THE
COMMUNICATIONS UNION:                                  UNION PACIFIC RAILROAD COMPANY:




                                                                          A
J. F. Lydon                                            D. D. Matter
General Chairman, TCU                                  General Director, Labor Relations/Non-Ops


S. Siriano
President, ASDITCU


S. Mether
                                                           IN
                                                       D. K. Peitzmeier
                                                       Director, Labor Relations/Non-Ops
                                       AV
Vice General Chairman, TCU


D. Mitchell
Vice General Chairman, TCU
                        P-

B. P. Whitacre
Vice General Chairman, TCU

APPROVED:
             U



J. L. Quilty
International Vice President, TCU




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                                                               APPENDIX "A"




                                                                BRAC-VAC.
                                                                  Synthesis




                                        Synthesis

                                           Of




                                                             A
                                  Nonoperating (BRAC)

                              National Vacation Agreements



                                                     IN
                                   AV
Prepared Jointly by the
Brotherhood of Railway, Airline and Steamship Clerks,
        Freight Handlers, Express and Station Employes
and the
National Railway Labor Conference
            P-

                (Revised 1982)
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                              NONOPERATING (BRAG) NATIONAL
                                 VACATION AGREEMENTS


        The following represents a synthesis in one document, for the convenience of the parties, of
the current provisions of the December 17, 1941 National Vacation Agreement and amendments
thereto provided in the National Agreements of August 21, 1954, August 19, 1960, November 20,
1964, December 15, 1966 (BRAG), January 13, 1967 (ORT), December 28,1967 (BRAC), June 24,
1968 (T-CEU), February 25, 1971, January 30, 1979 and December 11, 1981, with appropriate
source identifications.

        This is intended as a guide and is not to be construed as constituting a separate agreement
between the parties. If any dispute arises as to the proper interpretation or application of any
provision, the terms of the appropriate vacation agreement shall govern.



       1.      (a)   Effective with the calendar year 1973, an annual vacation of five (5)
consecutive work days with pay will be granted to each employee covered by this Agreement who
renders compensated service on not less than one hundred twenty (120) days during the preceding
calendar year.




                                                                        A
                   (ART. III - VACATIONS - Section 1(a) - 2/25n1 Agreement)

                (b)    Effective with the calendar year 1973, an annual vacation of ten (10)



                                                         IN
consecutive work days with pay will be granted to each employee covered by this Agreement who
renders compensated service on not less than one hundred ten (110) days during the preceding
calendar year and who has two (2) or more years of continuous service and who, during such period
of continuous service renders compensated service on not less than one hundred ten (110) days
(133 days in the years 1950-1959 inclusive, 151 days in 1949 and 160 days in each of such years
prior to 1949) in each of two (2) of such years, not necessarily consecutive.
                                     AV
                   (ART. III - VACATIONS - Section 1(b) - 2/25/71 Agreement)

                (c)    Effective with the calendar year 1982, an annual vacation of fifteen (15)
consecutive work days with pay will be granted to each employee covered by this Agreement who
renders compensated service on not less than one hundred (100) days during the preceding
calendar year and who has eight (8) or more years of continuous service and who, during such
                       P-

period of continuous service renders compensated service on not less than one hundred (100) days
(133 days in the years 1950-1959 inclusive, 151 days in 1949 and 160 days in each of such years
prior to 1949) in each of eight (8) of such years, not necessarily consecutive.

                  (ART. 111- VACATIONS - Section 1(c) -12/11/81 Agreement)
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                (d)     Effective with the calendar year 1982, an annual vacation of twenty (20)
consecutive work days with pay will be granted to each employee covered by this Agreement who
renders compensated service on not less than one hundred (100) days during the preceding
calendar year and who has seventeen (17) or more years of continuous service and who, during
such period of continuous service renders compensated service on not less than one hundred (100)
days (133 days in the years 1950-1959 inclusive, 151 days in 1949 and 160 days in each of such
years prior to 1949) in each of seventeen (17) of such years, not necessarily consecutive.

                  (ART. 111- VACATIONS - Section 1(d) -12/11/81 Agreement)

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                (e)    Effective with the calendar year 1973, an annual vacation of twenty-five (25)
consecutive work days with pay will be granted to each employee covered by this Agreement who
renders compensated service on not less than one hundred (100 days during the preceding
calendar year and who has twenty-five (25) or more years of continuous service and who, during
such period of continuous service renders compensated on not less than one hundred (100) days
(133 days in the years 1950-1959 inclusive, 151 days in 1949 and 160 days in each of such years
prior to 1949) in each of twenty-five (25) of such years, not necessarily consecutive.

                   (ART. III - VACATIONS - Section 1(e) - 2/25/71 Agreement)

              (f)     Paragraphs (a), (b), (c), (d) and (e) hereof shall be construed to grant to
weekly and monthly rated employees, whose rates contemplate more than five days of service each
week, vacations of one, two, three, four or five work weeks.

                   (ART. III - VACATIONS - Section 1(f) - 2/25/71 Agreement)

              (g)     Service rendered under agreement between a carrier and one or more of the
Non-Operating Organizations parties to the General Agreement of August 21, 1954, or to the
General Agreement of August 19, 1960, shall be counted in computing days of compensated
service and years of continuous service for vacation qualifying purposes under this Agreement.




                                                                         A
                   (ART. 111- VACATIONS - Section 1(g) - 2/25/71 Agreement)

               (h)     Calendar days in each current qualifying year on which an employee renders
no service because of his own sickness or because of his own injury shall be included in computing



                                                           IN
days of compensated service and years of continuous service for vacation qualifying purposes on
the basis of a maximum of ten (10) such days for an employee with less than three (3) years of
service; a maximum of twenty (20) such days for an employee with three (3) but less than fifteen
(15) years of service; and a maximum of thirty (30) such days for an employee with fifteen (15) or
more years of service with the employing carrier.
                                       AV
                   (ART. 111- VACATIONS- Section 1(h) - 2/25/71 Agreement)

                 (i)    In instances where employees who have become members of the Armed
Forces of the United States return to the service of the employing carrier in accordance with the
Military Selective Service Act of 1967, as amended, the time spent by such employees in the Armed
Forces subsequent to their employment by the employing carrier will be credited as qualifying
service in determining the length of vacations for which they may qualify upon their return to the
               P-

service of the employing carrier.

                   (ART. III - VACATIONS - Section 1(i) - 2/25/71 Agreement)
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                  G)      [Effective January 1, 1973,] in instances where an employee who has become
a member ofthe Armed Forces ofthe United States returns to the service of the employing carrier in
accordance with the Military Selective Service Act of 1967. as amended, and in the calendar year
preceding his retum to railroad service had rendered compensated service on fewer days than are
required to qualify for a vacation in the calendar year of his return to railroad service, but could
qualify for a vacation in the year of his return to railroad service if he had combined for qualifying
purposes days on which he was in railroad service in such preceding calendar year with days in
such year on which he was in the Armed Forces, he will be granted, in the calendar year of his
return to railroad service, a vacation of such length as he could so qualify for under paragraphs (a).
(b), (c), (d) or (e) and (i) hereof.

                    (ART. 111- VACATIONS - Section 1G) - 2/25/71 Agreement)

                  (k)    [Effective January 1, 1973,] in instances where an employee who has become
a member of the Armed Forces of the United States returns to the service of the employing carrier in
accordance with the Military Selective Service Act of 1967, as amended, and in the calendar year of
his return to railroad service renders compensated service on fewer days than are required to qualify
for a vacation in the following calendar year. but could qualify for a vacation in such following
calendar year if he had combined for qualifying purposes days on which he was in railroad service in
the year of his return with days in such year on which he was in the Armed Forces, he will be
granted, in such following calendar year, a vacation of such length as he could so qualify for under




                                                                          A
paragraphs (a), (b), (c), (d) or (e) and (i) hereof.

                   (ART. 111- VACATIONS - Section 1(k) - 2/25/71 Agreement)

                (L)

                                                           IN
                        An employee who is laid off and has no seniority date and no rights to
accumulate seniority. who renders compensated service on not less than one hundred twenty (120)
days in a calendar year and who returns to service in the following year for the same carrier will be
granted the vacation in the year of his return. In the event such an employee does not return to
service in the following year for the same carrier he will be compensated in lieu of the vacation he
                                       AV
has qualified for provided he files written request therefor to his employing officer, a copy of such
request to be furnished to his local or general chairman.

                   (ART. 111- VACATIONS - Section 1(L) - 2/25/71 Agreement)

       2.     Insofar as applicable to the employees covered by this agreement, Article 2 of the
Vacation Agreement of December 17, 1941, as amended is hereby cancelled.
              P-


               (ART. 11- VACATIONS - Section 2 -12/28/67 BRAC Agreement and
                 ART. 11/ - VACATIONS - Section 2 - 6/24/68 T-CEU Agreement)

       3.      The terms of this agreement shall not be construed to deprive any employee of such
addltionalvacation days as he may be entitled to receive under any existing rule, understanding or
             U



custom, which additional vacation days shall be accorded under and in accordance with the terms of
such existing rule, understanding or custom.

                                 (Section 3 - 12/17/41 Agreement)




                                                 52




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                An employee's vacation period will not be extended by reason of any of the eight
recognized holidays (New Year's Day, Washington's Birthday, Good Friday, Memorial Day, Fourth of
July, Labor Day, Thanksgiving Day and Christmas) or any day which by agreement has been
substituted or is observed in place of any of the eight holidays enumerated above, any holiday which
by local agreement has been substituted therefor, falling within his vacation period.

                     (ART. III - VACATIONS - Section 3 - 2/25/71 Agreement)

Such Section 3 was amended, effective January 1, 1973, to change the reference to "eight
recognized holidays" to "nine recognized holidays" and add Veterans Day to the holidays named;
was again amended effective January 1, 1976 to change the reference to the designated number of
"recognized holidays" to "ten recognized holidays" and add Christmas Eve (the day before
Christmas is observed) to the holidays named.

Finally, Section 3 is amended effective January 1, 1983, to change the reference to the designated
number of "recognized holidays" to "eleven recognized holidays" and add the day after Thanksgiving
Day and substitute New Year's Eve (the day before New Year's Day is observed) for Veterans Day.
The "recognized holidays" will be: New Year's Day, Washington's Birthday, Good Friday, Memorial
Day, Fourth of July, Labor Day, Thanksgiving Day, the day after Thanksgiving Day, Christmas Eve
(the day before Christmas is observed), Christmas and New Year's Eve (the day before New Year's
Day is observed).




                                                                           A
       4.      (a)    Vacations may be taken from January 1st to December 31st and due regard
consistent with requirements of service shall be given to the desires and preferences of the
employees in seniority order when fixing the dates for their vacations.




                (b)
                                                            IN
                       The local committee of each organization signature hereto and the
representatives of the Carrier will cooperate in assigning vacation dates.

                        The Management may upon reasonable notice (of thirty (30) days or more, if
possible, but in no event less than fifteen (15) days) require all or any number of employees in any
                                        AV
plant. operation, or facility, who are entitled to vacations to take vacations at the same time.

                      The local committee of each organization affected signatory hereto and the
proper representative of the carrier will cooperate in the assignment of remaining forces.

                            (Section 4(a) and (b) -12/17/41 Agreement)
                        P-

         5.      Each employee who is entitled to vacation shall take same at the time assigned, and,
while it is intended that the vacation date designated will be adhered to so far as practicable, the
management shall have the right to defer same provided the employee so affected is given as much
advance notice as possible; not less than ten (10) days' notice shall be given except when
emergency conditions prevent. If it becomes necessary to advance the designated date, at least
thirty (30) days' notice will given affected employee.
             U



                If a carrier finds that it cannot release an employee for a vacation during the calendar
year because of the requirements of the service, then such employee shall be paid in lieu of the
vacation the allowance hereinafter provided.

                                  (Section 5 - 12/17/41 Agreement)




                                                  53




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               Such employee shall be paid the time and one-half rate for work performed during his
vacation period in addition to his regular vacation pay.

               NOTE: This provision does not supersede provisions of the individual
                     collective agreements that require payment of double time under
                     specified conditions.

                     (ART. I - VACATIONS - Section 4 - 8/21/54 Agreement)

        6.      The carriers will provide vacation relief workers but the vacation system shall not be
used as a device to make unnecessary jobs for other workers. Where a vacation relief worker is not
needed in a given instance and if failure to provide a vacation relief worker does not burden those
employees remaining on the job, or burden the employee after his return from vacation, the carrier
shall not be required to provide such relief worker.

                                 (Section 6 - 12/17/41 Agreement)

       7.      Allowances for each day for which an employee is entitled to a vacation with pay will
be calculated on the following basis:

              (a)    An employee having a regular assignment will be paid while on vacation the
daily compensation paid by the carrier for such assignment.




                                                                           A
               (b)    An employee paid a daily rate to cover all services rendered, including
overtime, shall have no deduction made from his established daily rate on account of vacation
allowances made pursuant to this agreement.

              (c)


                (d)
                                                            IN
                     An employee paid a weekly or monthly rate shall have no deduction made
from his compensation on account of vacation allowances made pursuant to this agreement.

                       An employee working on a piece-work or tonnage basis will be paid on the
                                        AV
basis of the average earnings per day for the last two semi-monthly periods preceding the vacation,
during which two periods such employee worked on as many as sixteen (16) different days.

               (e)    An employee not covered by paragraphs (a), (b), (c), or (d) of this section will
be paid on the basis of the average daily straight time compensation earned in the last pay period
preceding the vacation during which he performed service.
                         P-

                                 (Section 7 - 12/17/41 Agreement)

        8.     The vacation provided for in this Agreement shall be considered to have been earned
when the employee has qualified under Article 1 hereof. If an employee's employment status is
terminated for any reason whatsoever, including but not limited to retirement, resignation, discharge,
non-compliance with a union-shop agreement, or failure to return after furlough he shall at the time
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of such termination be granted full vacation pay earned up to the time he leaves the service
including pay for vacation earned in the preceding year or years and not yet granted, and the
vacation for the succeeding year if the employee has qualified therefor under Article 1. If an
employee thus entitled to vacation or vacation pay shall die the vacation pay earned and not
received shall be paid to such beneficiary as may have been designated, or in the absence of such
designation, the surviving spouse or children or his estate, in that order of preference.

                    (ART. IV - VACATIONS - Section 2 - 8/19/60 Agreement)


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      CONFIDENTIAL
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       9.      Vacations shall not be accumulated or carried over from one vacation year to
another.

                                 (Section 9 - 12/17/41 Agreement)

        10.     (a)      An employee designated to fill an assignment of another employee on
vacation will be paid the rate of such assignment or the rate of his own assignment, whichever is the
greater; provided that if the assignment is filled by a regularly assigned vacation relief employee,
such employee shall receive the rate of the relief position. If an employee receiving graded rates,
based upon length of service and experience, is designated to fill an assignment of another
employee in the same occupational classification receiving such graded rates who is on vacation,
the rate of the relieving employee will be paid.

               (b)     Where work of vacationing employees is distributed among two or more
employees, such employees will be paid their own respective rates. However, not more than the
equivalent of twenty-five (25) percent of the work load of a given vacationing employee can be
distributed among fellow employees without the hiring of a relief worker unless a larger distribution
of the work load is agreed to by the proper local union committee or official.

               (c)    No employee shall be paid less than his own normal compensation for the
hours of his own assignment because of vacations to other employees.




                                                                         A
                                (Section 10 -12/17/41 Agreement)

       11.    While the intention of this agreement is that the vacation period will be continuous,




        12.     (a)
                                                          IN
the vacation may, at the request of an employee, be given in installments if the management
consents thereto.

                                (Section 11 - 12/17/41 Agreement)

                       Except as otherwise provided in this agreement a carrier shall not be required
                                      AV
to assume greater expense because of granting a vacation than would be incurred if an employee
were not granted a vacation and was paid in lieu therefor under the provision hereof. However, if a
relief worker necessarily is put to substantial extra expense over and above that which the regular
employee on vacation would incur if he had remained on the job, the relief worker shall be
compensated in accordance with existing regular relief rules.

                  (b)     As employees exercising their vacation privileges will be compensated under
                       P-

this agreement during their absence on vacation, retaining their other rights as if they had remained
at work, such absences from duty will not constitute "vacancies" in their positions under any
agreement. When the position of a vacationing employee is to be filled and regular relief employee
is not utilized, effort will be made to observe the principle of seniority.

                (c)     A person other than a regularly assigned relief employee temporarily hired
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solely for vacation relief purposes will not establish seniority rights unless so used more than 60
days in a calendar year. If a person so hired under the terms hereof acquires seniority rights, such
rights will date from the day of original entry into service unless otherwise provided in existing
agreements.

                                (Section 12 - 12/17/41 Agreement)




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         13.    The parties hereto having in mind conditions which exist or may arise on individual
carriers in making provisions for vacations with pay agree that the duly authorized representative of
the employees, who are parties to one agreement, and the proper officer of the carrier may make
changes in the working rules or enter into additional written understandings to implement the
purposes of this agreement, provided that such changes or understanding shall not be inconsistent
with this agreement.

                                 (Section 13 - 12/17/41 Agreement)

        14.     Any dispute or controversy arising out of the interpretation or application of any of the
provisions of this agreement shall be referred for decision to a committee, the carrier members of
which shall be the Carriers' Conference Committees signatory hereto, or their successors; and the
employee members of which shall be the Chief Executives of the Fourteen Organizations, or their
representatives, or their successors. Interpretations or applications agreed upon by the carrier
members and employee members of such committee shall be final and binding upon the parties to
such dispute or controversy.

              This section is not intended by the parties as a waiver of any of their rights provided
in the Railway Labor Act, as amended, in the event committee provided in this section fails to
dispose of any dispute or controversy.

                                 (Section 14 -12/17/41 Agreement)




                                                                             A
         15.      Except as otherwise provided herein this agreement shall be effective as of
January 21, 1973, and shall be incorporated in existing agreements as a supplement thereto and



                                                              IN
shall be in full force and effect for a period of one (1) year from January 1, 1973, and continue in
effect thereafter, subject to not less than seven (7) months' notice in writing (which notice may be
served in 1973 or in any subsequent year) by any carrier or organization party hereto, of desire to
change this agreement as of the end of the year in which the notice is served. Such notices shall
specify the changes desired and the recipient of such notice shall then have a period of thirty (30)
days from the date of such receipt of such notice within which to serve notice specifying changes
                                         AV
which it or they desire to make. Thereupon such proposals of the respective parties shall thereafter
be negotiated and progressed concurrently to a conclusion.

                     (ART. III - VACATIONS - Section 2 - 2/25/71 Agreement)

                 Except to the extent that articles of the Vacation Agreement of December 17, 1941
are changed by this Agreement, the said agreement and the interpretations thereof and of the
                          P-

Supplemental Agreement of February 24, 1945, as amended by the parties, dated June 10, 1942,
July 20,1942 and July 18,1945 and by Referee Morse in his award of November 12,1942, shall
remain in full force and effect.

               In Sections 1 and 2 of this Agreement certain words and phrases which appear in the
Vacation Agreement of December 17, 1941, and in the Supplemental Agreement of February 23,
              U



1945, are used. The said interpretations which defined such words and phrases referred to above
as they appear in said Agreements shall apply in construing them as they appear in Sections 1 and
2 hereof.

                      (ART. I - VACATIONS - Section 6 - 8/21/54 Agreement)




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                                                               APPENDIX "B"




                                                                BRAC-HOL.
                                                                  Synthesis




                                        Synthesis




                                                             A
                                            of

                                  Nonoperating (BRAC)




                                                     IN
                               National Holiday Provisions
                                   AV
Prepared Jointly by the
Brotherhood of Railway, Airline and Steamship Clerks,
        Freight Handlers, Express and Station Employes
and the
                     P-

National Railway Labor Conference
                (Revised 1982)
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     Case 4:19-cv-00480-RK                                            UP-AVINA-002289
                                            Document 70-3 Filed 03/15/21 Page 65 of 196
                                NONOPERATING (BRAC) NATIONAL
                                    HOLIDAY PROVISIONS


         The following represents a synthesis in one document, for the convenience of the parties, of
the current Holiday provisions of the National Agreement of August 21, 1954 and amendments
thereto provided in the National Agreements of August 19, 1960, November 20, 1964,
December 28, 1967, June 24, 1968, February 25, 1971, June 16, 1976 implementing Article VIII ­
Holidays of the July 23, 1975 National Agreement and December 11, 1981, with appropriate source
identifications.

        This is intended as a guide and is not to be construed as constituting a separate agreement
between the parties. If any dispute arises as to the proper interpretation or application of any
provision, the terms of the appropriate agreement shall govern.



        Section 1. Subject to the qualifying requirements contained in Section 3 hereof, and to the
conditions hereinafter provided, each hourly and daily rated employee shall receive eight hours' pay
at the pro rata hourly rate for each of the following enumerated holidays:




                                                                           A
               New Year's Day                                             Labor Day
               Washington's Birthday                                  Veterans Day
               Good Friday                                        Thanksgiving Day
               Memorial Day                           Christmas Eve (the day before

               Fourth of JUly
                                                            IN
                                                             Christmas is observed)
                                                                          Christmas

                   (ART. 11- HOLIDAYS - Section 2(a), 2/25/71 Agreement and
                          Section 2, 6/16/76 Implementing Agreement)
                                        AV
        Effective January 1, 1983, Article II of the Agreement of August 21, 1954, as amended,
insofar as applicable to the employees covered by this Agreement, is hereby further amended to the
following respects:

      (a)    Add the day after Thanksgiving Day and substitute New Year's Eve (the day before
New Year's Day is observed) for Veterans Day.
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        (b)   The holiday pay qualifications for Christmas Eve - Christmas shall also be applicable
to the Thanksgiving Day - day after Thanksgiving Day and the New Year's Eve - New Year's Day
holidays.

         (c)    In addition to their established monthly compensation, employees performing service
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on the day after Thanksgiving Dayon a monthly rated position (the rate ofwhich is predicated on an
all-service performed basis) shall receive eight hours pay at the equivalent straight time rate, or
payment as required by any local rule, whichever is greater.




                                                 58




      CONFIDENTIAL
        Case 4:19-cv-00480-RK                                               UP-AVINA-002290
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        (d)    A monthly rated employee occupying a 5-day assignment on a position with Friday as
an assigned rest day also shall receive eight hours' pay at the equivalent straight time rate for the
day after Thanksgiving Day, provided compensation paid such employee by the carrier is credited to
the work days immediately preceding Thanksgiving Day and immediately following the day after
Thanksgiving Day.

         (e)   Except as specifically provided in paragraph (c) above, existing rules and practices
thereunder governing whether an employee works on a holiday and the payment for work performed
on a holiday are extended to apply to the day after Thanksgiving Day and New Year's Eve (the day
before New year's Day is observed) in the same manner as to other holidays listed or referred to
therein.

                           (ART. IV - HOLIDAYS - 12/11/81 Agreement)

        (a)     Holiday pay for regularly assigned employees shall be at the pro rata rate of the
position to which assigned.

        (b)    For other than regularly assigned employees, ifthe holiday falls on a day on which he
would otherwise be assigned to work, he shall, if consistent with the requirements of the service, be
given the day off and receive eight hours' pay at the pro rata rate of the position which he otherwise
would have worked. If the holiday falls on a day other than a day on which he otherwise would have
worked, he shall receive eight hours' pay at the pro rata hourly rate of the position on which




                                                                          A
compensation last accrued to him prior to the holiday.

        (c)     Subject to the applicable qualifying requirements in Section 3 hereof, other than



                                                           IN
regularly assigned employees shall be eligible for the paid holiday or pay in lieu thereof provided for
in paragraph (b) above, provided (1) compensation for service paid him by the carrier is credited to
11 or more of the 30 calendar days immediately preceding the holiday and (2) he has had a seniority
date for at least 60 calendar days or has 60 calendar days of continuous active service preceding
the holiday beginning with the first day of compensated service, provided employment was not
terminated prior to the holiday by resignation, for cause, retirement, death, non-compliance with a
                                       AV
union shop agreement, or disapproval of application for employment.

        (d)     The provisions of this Section and Section 3 hereof applicable to other than regularly
assigned employees are not intended to abrogate or supersede more favorable rules and practices
existing on certain carriers under which other than regularly assigned employees are being granted
paid holidays.
             P-

                       NOTE: This rule does not disturb agreements or practices
                             now in effect under which any other day is substituted
                             or observed in place of any ofthe above enumerated
                             holidays.

                    (ART. 111- HOLIDAYS - Section 1, 12/28/67 Agreement and
            U



                                      6/24/68 Agreement)

        Section 2(a). Monthly rates, the hourly rates of which are predicated upon 169-1/3 hours,
shall be adjusted by adding the equivalent of 56 pro rata hours to the annual compensation (the
monthly rate multiplied by 12) and this sum shall be divided by 12 in order to establish a new
monthly rate. The hourly factor will thereafter be 74 and overtime rates will be computed
accordingly.



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       Weekly rates that do not include holiday compensation shall receive a corresponding
adjustment.

        Section 2(b). All other monthly rates of pay shall be adjusted by adding the equivalent of 28
pro rata hours to the annual compensation (the monthly rate multiplied by 12) and this sum shall be
divided by 12 in order to establish a new monthly rate. The sum of presently existinq hours per
annum plus 28 divided by 12 will establish a new hourly factor and overtime rates will be computed
accordingly.

        Weekly rates not included in Section 2(a) shall receive a corresponding adjustment.

                    (ART. II - HOLIDAYS - Section 2(d) of 2/25/71 Agreement)

        Effective January 1, 1976, after application of the cost-of-living adjustment effective that
date, the monthly rates of monthly rated employees shall be adjusted by adding the equivalent of 8
pro rata hours' pay to their annual compensation (the rate multiplied by 12) and this sum shall be
divided by 12 in order to establish a new monthly rate. That portion of such 8 pro rata hours' pay
which derives from the cost-of-living allowance will not become part of basic rates of pay except as
provided in Article II, Section 1(d) of the Agreement of July 23,1975. The sum of presently existing
hours per annum plus 8, divided by 12, will establish a new hourly factor for purposes of applying
cents-per-hour adjustments in such monthly rates of pay and computing overtime rates.




                                                                            A
        A corresponding adjustment shall be made in weekly rates and hourly factors derived
therefrom.




                                                             IN
                           (Section 5, 6/16/76 Implementing Agreement)

        The hourly factor as shown in Section 2(a) above, was as a result of the addition of the
birthday holiday (later Good Friday) increased, effective January 1, 1965, to 174-2/3; as a result of
the addition of Veterans Day as a holiday, effective January 1,1973, increased to 175-1/3; and as a
result of the addition of Christmas Eve (the day before Christmas is observed) as a holiday, effective
                                        AV
January 1, 1976, increased to 176 hours.

        Section 3. A regularly assigned employee shall qualify for the holiday pay provided in
Section 1 hereof if compensation paid him by the carrier is credited to the workdays immediately
preceding and following such holiday or if the employee is not assigned to work but is available for
service on such days. If the holiday falls on the last day of a regularly assigned employee's
workweek, the first workday following his rest days shall be considered the workday immediately
                         P-

following. If the holiday falls on the first workday of his workweek, the last workday of the preceding
workweek shall be considered the workday immediately preceding the holiday.
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        Except as provided in the following paragraph, all others for whom holiday pay is provided in
Section 1 hereof shall qualify for such holiday pay if on the day preceding and the day following the
holiday they satisfy one or the other of the following conditions:

               (i)       Compensation for service paid by the carrier is credited; or

               (ii)      Such employee is available for service.

                         NOTE: "Available" as used in subsection (ii) above is
                               interpreted by the parties to mean that an employee is
                               available unless he lays off his own accord or does
                               not respond to a call, pursuant to the rules of the
                               applicable agreement, for service.

         For the purposes of Section 1, other than regularly assigned employees who are relieving
regularly assigned employees on the same assignment on both the work day preceding and the
work day following the holiday will have the workweek of the incumbent of the assigned position and
will be subject to the same qualifying requirements respecting service and availability on the work
days preceding and following the holiday as apply to the employee whom he is relieving.

               Compensation paid under sick-leave rules or practices will not be




                                                                            A
               considered as compensation for purposes of this rule.

                      (ART. 111- HOLIDAYS - Section 2, 12/28/67 Agreement and
                                        6/24/68 Agreement)



                                                             IN
       An employee who meets all other qualifying requirements will qualify for holiday pay for both
Christmas Eve and Christmas Day if on the "workday" or the "day," as the case may be, immediately
preceding the Christmas Eve holiday he fulfills the qualifying requirements applicable to the
"workday" or the "day" before the holiday and on the "workday" or the "day," as the case may be,
                                         AV
immediately following the Christmas Day holiday he fulfills the qualifying requirements applicable to
the "workday" or the "day" after the holiday.

       An employee who does not qualify for holiday pay for both Christmas Eve and Christmas Day
may qualify for holiday pay for either Christmas Eve and Christmas Day under the provisions
applicable to holidays generally.

                            (Section 4,6/16/76 Implementing Agreement)
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        Section 4. Provisions in existing agreements with respect to holidays in excess of the ten
holidays referred to in Section 1 hereof shall continue to be applied without change.

                           (Section 3(b), 6/16/76 Implementing Agreement)
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        Section 5(a). Existing rules and practices thereunder governing whether an employee works
on a holiday and the payment for work performed on a holiday are extended to apply to Good Friday,
Veterans Day and to the Christmas Eve (the day before Christmas is observed) in the same manner
as to other holidays listed or referred to therein.

                           (Section 3(a), 6/16/76 Implementing Agreement)




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        Section 5(b). All rules, regulations or practices which provide that when a regularly assigned
employee has an assigned relief day other than Sunday and one of the holidays specified therein
falls on such relief day, the following assigned day will be considered his holiday, are hereby
eliminated.

                    (ART. II - HOLIDAYS - Section 1(c) of 2/25/71 Agreement)

        Section 5(c). Under no circumstances will an employee be allowed, in addition to his holiday
pay, more than one time and one-half payment for service performed by him on a holiday which is
also a work day, a rest day, and/or a vacation day.

                       NOTE: This provision does not supersede provisions of the
                             individual collective agreements that require payment
                             of double time for holidays under specified terms.

       Section 5(d). Except as provided in this Section 5, existing rules and practices thereunder
governing whether an employee works on a holiday and the payment for work performed on a
holiday are not changed hereby.

                  (ART. 111- HOLIDAYS - Section 4 of 12/28/67 Agreement and
                                    6/24/68 Agreement)




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        Section 6. Article II, Section 6 of the Agreement of August 21,1954, which was added by
the Agreement of November 20, 1964, covering the birthday holiday, is eliminated. However, the
adjustment in monthly rates of monthly rated employees which was made effective January 1, 1965,



                                                          IN
pursuant to Article II of the Agreement of November 20, 1964, by adding the equivalent of 8 pro rata
hours to their annual compensation (the monthly rate multiplied by 12) and dividing this sum by 12 in
order to establish a new monthly rate, continues in effect.

                     (ART. 11- HOLIDAYS - Section 1(d), 2/25/71 Agreement)
                                      AV
         Section 7. When any of the ten recognized holidays enumerated in Section 1 of this
Article II, or any day which by agreement, or by law or proclamation ofthe State or Nation, has been
substituted or is observed in place of any of such holidays, falls during an hourly or daily rated
employee's vacation period, he shall, in addition to his vacation compensation, receive the holiday
pay provided for therein provided he meets the qualification requirements specified. The "workdays"
and "days" immediately preceding and following the vacation period shall be considered the
"workdays" and "days" preceding and following the holiday for such qualification purposes.
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              (ART. II - HOLIDAYS - Sections 1(e) and 2(c), 2/25/71 Agreement and
                          Section 3(b), 6/16/76 Implementing Agreement)
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    CONFIDENTIAL
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                                                                                        APPENDIX "C"




                                    UNION SHOP AGREEMENT


       This Agreement made this 7th day of March, 1953, by and between the Union Pacific
Railroad Company and the employes thereof represented by the Railway Labor Organization
signatory hereto, through the Employes' National Conference Committee, Seventeen Cooperating
Railway Labor Organizations, witnesseth:

IT IS AGREED:

        Section 1.

         In accordance with and subject to the terms and conditions hereinafter set forth, all employes
of this carrier now or hereafter subject to the rules and working conditions agreements between the
parties hereto, except as hereinafter provided, shall, as a condition of their continued employment
subject to such agreements, become members of the organization party to this agreement




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representing their craft or class within sixty calendar days of the date they first perform compensated
service as such employes after the effective date of this agreement, and thereafter shall maintain
membership in such organization; except that such membership shall not be required of any
individual until he has performed compensated service on thirty days within a period of twelve



                                                             IN
consecutive calendar months. Nothing in this agreement shall alter, enlarge or otherwise change
coverage of the present or future rules and working conditions agreement.

        Section 2.

        This agreement shall not apply to employes while occupying positions which are excepted
                                        AV
from the bulletining and displacement rules of the individual agreements, but this provision shall not
include employes who are subordinate to the report to other employes who are covered by this
agreement. However, such excepted employes are free to be members of the organization at their
option.

        Section 3.
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         (a)      Employes who retain seniority under the Rules and Working Conditions Agreements
governing their class or craft and who are regularly assigned or transferred to full time employment
not covered by such agreements, or who, for a period of thirty days or more, are (1) furloughed on
account of force reduction, or (2) on leave of absence, or (3) absent on account of sickness or
disability, will not be required to maintain membership as provided in Section 1 of this agreement so
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long as they remain in such other employment, or furloughed or absent as herein provided, but they
may do so at their option. Should such employes return to any service covered by the said Rules
and Working Conditions Agreements and continue therein thirty calendar days or more, irrespective
of the number of days actually worked during that period, they shall, as a condition of their continued
employment subject to such agreements, be required to become and remain members of the
organization representing their class or craft within thirty-five calendar days from date of their return
to such service.




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        (b)    The seniority status and rights of employes furloughed to serve in the Armed Forces
or granted leaves of absence to engage in studies under an educational aid program sponsored by
the federal government or a state government for the benefit of ex-service men shall not be
terminated by reason of any of the provisions of this agreement but such employes shall, upon
resumption of employment, be considered as new employes for the purposes of applying this
agreement.

         (c)      Employes who retain seniority under the rules and working conditions agreements
governing their class or craft and who, for reasons other than those specified in subsections (a) and
(b) of this section, are not in service covered by such agreements, or leave such service, will not be
required to maintain membership as provided in Section 1 of this agreement so long as they are not
in service covered by such agreements, but they may do so at their option. Should such employes
return to any service covered by the said rules and working conditions agreements they shall, as a
condition of their continued employment, be required, from the date of return to such service, to
become and remain members in the organization representing their class or craft.

         (d)     Employes who retain seniority under the rules and working conditions agreements of
their class or craft, who are members of an organization signatory hereto representing that class or
craft and who in accordance with the rules and working conditions agreement of that class or craft
temporarily perform work in another class of service shall not be required to be members of another
organization party hereto whose agreement covers the other class of service until the date the




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employes hold regularly assigned positions within the scope of the agreement covering such other
class of service.

        Section 4.



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        Nothing in this agreement shall require an employe to become or remain a member of the
organization if such membership is not available to such employe upon the same terms and
conditions as are generally applicable to any other member, or if the membership of such employe is
denied or terminated for any reason other than the failure of the employe to tender the periodic
dues, initiation fees, and assessments (not including fines and penalties) uniformly required as a
                                        AV
condition of acquiring or retaining membership. For purposes of this agreement, dues, fees, and
assessments, shall be deemed to be "uniformly required" if they are required of all employes in the
same status at the same time in the same organizational unit.

        Section 5.

         (a)     Each employe covered by the provisions of this agreement shall be considered by a
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carrier to have met the requirements of the agreement unless and until such carrier is advised to the
contrary in writing by the organization. The organization will notify the carrier in writing by Registered
Mail, Return Receipt Requested, or by personal delivery evidenced by receipt, of any employe who it
is alleged has failed to comply with the terms of this agreement and who the organization therefore
claims is not entitled to continue in employment subject to the Rules and Working Conditions
Agreement. The form of notice to be used shall be agreed upon by the individual railroad and the
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organizations involved and the form shall make provision for specifying the reasons for the
allegation of non-compliance. Upon receipt of such notice, the carrier will, within ten calendar days
of such receipt, so notify the employe concerned in writing by Registered Mail, Return Receipt
Requested, or by personal delivery evidenced by receipt. Copy of such notice to the employe shall
be given the organization. An employe so notified who disputes the fact that he has failed to comply
with the terms of this agreement, shall within a period of ten calendar days from the date of receipt
of such       notice,    request the carrier in writing             by Registered           Mail, Return



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Receipt Requested, or by personal delivery evidenced by receipt, to accord him a hearing. Upon
receipt of such request the carrier shall set a date for hearing which shall be held within ten calendar
days of the date of receipt of request therefor. Notice of the date set for hearing shall be promptly
given the employe in writing with copy to the organization, Registered Mail, Return Receipt
requested, or by personal delivery evidenced by receipt. A representative of the organization shall
attend and participate in the hearing. The receipt by the carrier of a request for a hearing shall
operate to stay action on the termination of employment until the hearing is held and the decision of
the carrier is rendered.

        In the event the employe concerned does not request a hearing as provided herein, the
carrier shall proceed to terminate his seniority and employment under the Rules and Working
Conditions Agreement not later than thirty calendar days from receipt of the above described notice
from the organization, unless the carrier and the organization agree otherwise in writing.

       (b)      The carrier shall determine on the basis of the evidence produced at the hearing
whether or not the employe has complied with the terms of this agreement and shall render a
decision within twenty calendar days from the date that the hearing is closed, and the employe and
the organization shall be promptly advised thereof in writing by Registered Mail, Return Receipt
Requested.

        If the decision is that the employe has not complied with the terms of this agreement, his
seniority and employment under the Rules and Working Conditions Agreement shall be terminated




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within twenty calendar days of the date of said decision except as hereinafter provided or unless the
carrier and the organization agree otherwise in writing.




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         If the decision is not satisfactory to the employe or to the organization it may be appealed in
writing, by Registered Mail, Return Receipt Requested, directly to the highest officer of the carrier
designated to handle appeals under this agreement. Such appeals must be received by such officer
within ten calendar days of the date of the decision appealed from and shall operate to stay action
on the termination of seniority and employment, until the decision on appeal is rendered. The carrier
shall promptly notify the other party in writing of any such appeal, by Registered Mail, Return Receipt
                                        AV
Requested. The decision on such appeal shall be rendered within twenty calendar days ofthe date
the notice of appeal is received, and the employe and the organization shall be promptly advised
thereof in writing by Registered Mail, Return Receipt Requested.

        If the decision on such appeal is that the employe has not complied with the terms of this
agreement, his seniority and employment under the Rules and Working Conditions Agreement shall
be terminated within twenty calendar days of the date of said decision unless selection of a neutral
               P-

is requested as provided below, or unless the carrier and the organization agree otherwise in writing.
 The decision on appeal shall be final and binding unless within ten calendar days from the date of
the decision the organization or the employe involved requests the selection of a neutral person to
decide the dispute as provided in Section 5(c) below. Any request for selection of a neutral person
as provided in Section 5(c) below shall operate to stay action on the termination of seniority and
employment until not more than ten calendar days from the date decision is rendered by the neutral
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person.




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        (c)     If within ten calendar days after the date of a decision on appeal by the highest officer
of the carrier designated to handle appeals under this agreement the organization or the employe
involved requests such highest officer in writing by Registered Mail, Retum Receipt Requested, that
a neutral be appointed to decide the dispute, a neutral person to act as sole arbitrator to decide the
dispute shall be selected by the highest officer of the carrier designated to handle appeals under this
agreement or his designated representative, the Chief Executive of the organization or his
designated representative, and the employe involved or his representative. If they are unable to
agree upon the selection of a neutral person anyone of them may request the Chairman of the
National Mediation Board in writing to appoint such neutral. The carrier, the organization and the
employe involved shall have the right to appear and present evidence at a hearing before such
neutral arbitrator. Any decision by such neutral arbitrator shall be made within thirty calendar days
from the date of receipt of the request for his appointment and shall be final and binding upon the
parties. The carrier, the employe, and the organization shall be promptly advised thereof in writing
by Registered Mail, Return Receipt Requested. If the position ofthe employe is sustained, the fees,
salary and expenses of the neutral arbitrator shall be borne in equal shares by the carrier and the
organization; if the employe's position is not sustained, such fees, salary and expenses shall be
borne in equal shares by the carrier, the organization and the employe.

        (d)   The time periods specified in this section may be extended in individual cases by
written agreement between the carrier and the organization.

        (e)    Provisions of investigation and discipline rules contained in the Rules and Working




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Conditions Agreement between a carrier and the organization will not apply to cases arising under
this agreement.

          (f)


                                                              IN
                 The General Chairman of the organization shall notify the carrier in writing of the
title(s) and address(es) of its representatives who are authorized to serve and receive the notices
described in this agreement. The carrier shall notify the General Chairman of the organization in
writing ofthe titles(s) and address(es) of its representatives who are authorized to receive and serve
the notices described in this agreement.
                                         AV
        (g)     In computing the time periods specified in this agreement, the date on which a notice
is received or decision rendered shall not be counted.

        Section 6.

         Other provisions of this agreement to the contrary notwithstanding, the Carrier shall not be
required to terminate the employment of an employe until such time as a qualified replacement is
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available. The carrier may not, however, retain such employe in service under the provisions of this
section for a period in excess of sixty calendar days from the date of the last decision rendered
under the provisions of Section 5, or ninety calendar days from date of receipt of notice from the
organization in cases where the employe does not request a hearing. The employe whose
employment is extended under the provisions of this section shall not, during such extension, retain
or acquire any seniority rights. The position will be advertised as vacant under the bulletining rules
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of the respective agreements but the employe may remain on the position he held at the time of the
last decision, or at the date of receipt of notice where no hearing is requested pending the
assignment of the successful applicant, unless displaced or unless the position is abolished. The
above periods may be extended by agreement between the carrier and the organization involved.




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        Section 7.

      An employe whose seniority and employment under the Rules and Working Conditions
Agreement is terminated pursuant to the provisions of this agreement or whose employment is
extended under Section 6 shall have no time or money claims by reason thereof.

         If the final determination under Section 5 of this agreement is that an employe's seniority and
employment in a craft or class shall be terminated, no liability against the carrier in favor of the
organization or other employes based upon an alleged violation, misapplication or non-compliance
with any part of this agreement shall arise or accrue during the period up to the expiration of the 60
or 90 day periods specified in Section 6, or while such determination may be stayed by a court, or
while a discharged employe may be restored to service pursuant to judicial determination. During
such periods, no provision of any other agreement between the parties hereto shall be used as the
basis for a grievance or time or money claim by or on behalf of any employe against the carrier
predicated upon any action taken by the carrier in applying or complying with this agreement or upon
an alleged violation, misapplication or non-compliance with any provision of this agreement. If the
final determination under Section 5 of this agreement is that an employe's employment and seniority
shall not be terminated, his continuance in service shall give rise to no liability against the carrier in
favor of the organization or other employes based upon an alleged violation, misapplication or non­
compliance with any part of this agreement.




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        Section 8.

          In the event that seniority and employment under the Rules and Working Conditions
Agreement is terminated by the carrier under the provisions of this agreement, and such termination


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of seniority and employment is subsequently detennined to be improper, unlawful, or unenforceable,
the organization shall indemnify and save harmless the carrier against any and all liability arising as
the result of such improper, unlawful, or unenforceable termination of seniority and employment;
provided, however, that this section shall not apply to any case in which the carrier involved is the
plaintiff or the moving party in the action in which the aforesaid determination is made or in which
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case such carrier acts in collusion with any employe; provided further, that the aforementioned
liability shall not extend to the carrier in defending suits by employes whose seniority and
employment are terminated by the carrier under the provisions of this agreement.

        Section 9.

        An employe whose employment is terminated as a result of non-compliance with the
provisions of this agreement shall be regarded as having terminated his employe relationship for
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vacation purposes.

        Section 10.

        (a)     The Carrier party to this agreement shall periodically deduct from the wages of
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employes SUbjectto this agreement periodic dues, initiation fees, and assessments (not including
fines and penalties) uniformly required as a condition of acquiring or retaining membership in such
organization, and shall pay the amount so deducted to such officer of the organization as the
organization shall designate; provided, however, that the requirements of this subsection (a) shall
not be effective with respect to any individual employe until he shall have furnished the carrier with a
written assignment to the organization of such membership dues, initiation fees and assessments,
which assignment shall be revocable in writing after the expiration of one year or upon the
termination of this agreement whichever occurs sooner.



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        (b)     The provisions of subsection (a) of this section shall not become effective unless and
until the carrier and the organization shall, as a result of further negotiations pursuant to the
recommendations of Emergency Board No. 98, agree upon the terms and conditions under which
such provisions shall be applied; such agreement to include, but not be restricted to, the means of
making said deductions, the amounts to be deducted, the form, procurement and filing of
authorization certificates, the frequency of deductions, the priority of said deductions with other
deductions now or hereafter authorized, the payment and distributions of amounts withheld and any
other matters pertinent thereto.

        Section 11.

       This agreement shall become effective on the 31st day of March, 1953, and is in full and final
settlement of notices served upon the carrier by the organizations, signatory hereto, on or about
February 5, 1951. It shall be construed as a separate agreement between the Union Pacific
Railroad and those employes represented by each of the organizations signatory hereto. This
agreement shall remain in effect until modified or changed in accordance with the provisions of the
Railway Labor Act, as amended.

        Signed at Omaha, Nebraska, this 7th day of March, 1953.

FOR THE CARRIER:




                                                                         A
E. J. CONNORS
Vice President

EMPLOYES' NATIONAL CONFERENCE
COMMITTEE, SEVENTEEN COOPERATING,
RAILWAY LABOR ORGANIZATIONS:

G. E. LEIGHTY
Chairman
                                                          IN
                                      AV
Railway Employes' Department.
A. F. of L.

MICHAEL FOX
President
                       P-

International Association of Machinists

EARL MELTON                                           F. W. BURKE
General Vice President                                General Chairman

International Brotherhood of
            U



Boilermakers, Iron Ship Builders
& Helpers of America




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CHAS J. MACGOWAN                                       FLOYD F. RAUBER
International President                                General Chairman

International Brotherhood of Black­
smiths, Drop Forgers & Helpers

JOHN PELKOFER                                          GEORGE F. BARNA
General President                                      General Chairman


Sheet Metal Workers' International Assn.

C. D. BRUNS                                            LEO P. GRANT
General Vice President                                 General Chairman


International Brotherhood of Electrical Workers

J. J. DUFFY                                            G.O.GRANT
International Vice President                           General Chairman




                                                                      A
Brotherhood of Railway Carmen of America

IRVIN BARNEY                                           H. W. HIGGS
General President


International Brotherhood of Firemen,
Oilers, Helpers, Roundhouse and
Railway Shop Laborers
                                                          IN
                                                       General Chairman
                                      AV
ANTHONY MATZ                                           JOHN CASSELMAN
President                                              General Chairman

Brotherhood of Railway & Steamship
Clerks, Freight Handlers, Express
and Station Employes
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GEO. M. HARRISON                                       K. J. SALYARDS
Grand President                                        General Chairman

                                                       J. R. GRAYSON
                                                       General Chairman
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Brotherhood of Maintenance of Way Employes




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T. C. CARROLL                                       C.R.PERRY
President                                           General Chairman

The Order of Railroad Telegraphers

G. E. LEIGHTY                                       G.G.GARD
President                                           General Chairman

                                                    A.S.HERRERA
                                                    General Chairman

Brotherhood of Railroad Signalmen of America

JESSE CLARK                                         A. W. MCLEAN
President                                           General Chairman

Railroad Yardmasters of America

M. G. SCHOCH                                        F. W. BAKER
President                                           General Chairman




                                                                       A
Hotel and Restaurant Employes
International Alliance and Bartenders
International League of America

HUGO ERNST
General President
                                                        IN
                                                    STEVEN R. AUGUSTON
                                                    General Chairman,
                                                    D.C.E. U., No. 372

                                                    ARTHUR H. REED
                                                    General Chairman,
                                        AV
                                                    P.O.D.CW., No. 465
                        P-
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                                   MEMORANDUM AGREEMENT

          It is agreed that in the application of the Union Shop Agreement signed this date in Omaha,
Nebraska, that any employe in service on the date of this agreement who is not a member of the
union representing his craft or class and will make affidavit he was a member of a bona fide and
recognized religious group, on the date of this agreement, having scruples against joining a union
will, if he would otherwise be required to join a union under the Union Shop Agreement, be deemed
to have met the requirements of the Union Shop Agreement if he agrees to and does pay initiation
fees, periodic dues and assessments to the organization representing his craft or class.

       Signed at Omaha, Nebraska, this 7th day of March, 1953.

FOR THE CARRIER:

E. J. CONNORS
Vice President

EMPLOYES' NATIONAL CONFERENCE
COMMITTEE, SEVENTEEN COOPERATING,
RAILWAY LABOR ORGANIZATIONS:

G. E. LEIGHTY




                                                                          A
Chairman


Railway Employes' Department,
A. F. of L.

MICHAEL FOX
President
                                                           IN
                                       AV
International Association of Machinists

EARL MELTON                                           F. W. BURKE
General Vice President                                General Chairman

International Brotherhood of
Boilermakers, Iron Ship Builders
                          P-

& Helpers of America

CHAS J. MACGOWAN                                      FLOYD F. RAUBER
International President                               General Chairman

International Brotherhood of Black­
             U



smiths, Drop Forgers & Helpers




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JOHN PELKOFER                                          GEORGE F. BARNA
General President                                      General Chairman


Sheet Metal Workers' International Assn.

C. D. BRUNS                                            LEO P. GRANT
General Vice President                                 General Chairman


International Brotherhood of Electrical Workers

J. J. DUFFY                                            G.O.GRANT
International Vice President                           General Chairman


Brotherhood of Railway Carmen of America

IRVIN BARNEY                                           H. W. HIGGS
General President                                      General Chairman




                                                                          A
International Brotherhood of Firemen,
Oilers, Helpers, Roundhouse and
Railway Shop Laborers

ANTHONY MATZ
President


Brotherhood of Railway & Steamship
                                                          IN
                                                       JOHN CASSELMAN
                                                       General Chairman
                                     AV
Clerks, Freight Handlers, Express
and Station Employes

GEO. M. HARRISON                                       K. J. SALYARDS
Grand President                                        General Chairman

                                                       J. R. GRAYSON
              P-

                                                       General Chairman

Brotherhood of Maintenance of Way Employes

1. C. CARROLL                                          C.R.PERRY
President                                              General Chairman
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The Order of Railroad Telegraphers

G. E. LEIGHTY                                       G.G.GARD
President                                           General Chairman

                                                    A. S. HERRERA
                                                    General Chairman


Brotherhood of Railroad Signalmen of America

JESSE CLARK                                         A. W. MCLEAN
President                                           General Chairman


Railroad Yardmasters of America

M. G. SCHOCH                                        F. W. BAKER
President                                           General Chairman


Hotel and Restaurant Employes




                                                                       A
International Alliance and Bartenders
International League of America

HUGO ERNST
General President

                                                       IN
                                                    STEVEN R. AUGUSTON
                                                    General Chairman,
                                                    D.C.E. U., No. 372

                                                    ARTHUR H. REED
                                                    General Chairman,
                                        AV
                                                    P.OD.CW., No. 465
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                                                                                      APPENDIX "0"


                                AGREEMENT
                                   between the
                        UNION PACIFIC RAILROAD COMPANY
                                     and the
             BROTHERHOOD OF RAILWAY, AIRLINE AND STEAMSHIP CLERKS,
                FREIGHT HANDLERS, EXPRESS AND STATION HELPERS

                                DUES DEDUCTION AGREEMENT


        In accordance with the provision of Section 10(b) of the Agreement signed by the parties
hereto at Omaha, Nebraska on March 7, 1953 and pursuant to Article II (Cost-Free Union Dues
Deduction Agreement) of the National Collective Bargaining Agreement, dated April 27, 1973, the
following Agreement by and between Union Pacific Railroad Company, hereinafter referred to as the
"Carrier" and the employes thereof represented by the Brotherhood of Railway, Airline and
Steamship Clerks, Freight Handlers, Express and Station Employes, hereinafter referred to as the
"Organization", is entered into by the parties and shall be made effective October 1, 1973.




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IT IS AGREED:

        SECTION 1.




                                                            IN
        (a) Subject to the terms and conditions hereinafter set forth, the Carrier will deduct from the
wages of employes, membership dues, initiation fees, and assessments (excluding fines and
penalties) as may be uniformly required as a condition of the employes acquiring and/or retaining
membership in the Brotherhood upon their written authorization in the form (Individual Authorization
Form) agreed upon by the parties hereto, copy of which is attached, designated "Attachment A" and
made a part hereof.
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        (b) The authorization shall, in accordance with its terms, be revocable in writing after the
expiration of one year upon thirty (30) calendar days advance notice to the Organization and the
Carrier by registered mail or upon termination of this Agreement or upon the termination of the rules
and Working Conditions Agreement between the parties hereto, whichever occurs sooner

        Note: Currently effective assignment forms need not be re-executed and will continue in
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              effect subject to their terms and conditions.

        (c)    Revocation of authorization shall be on the form specified in Exhibit B attached
hereto and made a part hereof, and both the authorization and revocation of authorization forms
shall be reproduced and furnished as necessary by the Organization without cost to the Carrier.
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        (d)     The Organization shall assume the full responsibility for the procurement and proper
execution of said forms by employes, and for delivery of said forms to the Carrier. Revocation of
authorization forms shall be delivered to the designated carrier officer not later than the 10th day of
the month in which the termination of deductions is to become effective.




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        (e)     The Officer of the Organization designated by the International President shall
promptly notify in writing the Officer or Officers designated by the Carrier of any special assessment
of changes in amounts of fees or dues; however, the deduction amounts may not be changed more
often than once every three months.

        SECTION 2.

       (a)     Individual authorizations to be effective for a particular month must be in the
possession of the designated carrier officer not later than the fifth day of the month in which such
deductions are to be made.

         (b)     The designated officer of the Organization shall furnish to the Carrier, with copies to
appropriate units ofthe Organization, an initial statement (Attachment C), by lodges, in alphabetical
order, certified by him, showing deductions to be made from each such member, such statement to
be furnished together with individual authorization forms to cover, not later than the fifth day of the
month in which the deductions become effective. Subsequent monthly deductions will be based on
the initial statement, plus a monthly statement (Attachment D) showing additions and/or deletions,
furnished in the same manner as the initial statement required hereby. If no changes are reported by
the 5th day of the month, the last previous Jist on file with the designated carrier officer shall be used
for the purpose of this Section.

        NOTE: Currently effective lists and assignment forms need not be resubmitted.




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        SECTION 3.

         (a)


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                Deductions will be made from the wages earned in the first period of the month,
which will be dues of the member for the following month, in which the aforementioned certified
statement is furnished to the designated Carrier officer. The following payroll deductions will have
priority over deductions in favor of the Organization as covered by this Agreement.

        (i)     Federal, State and Municipal taxes and other deductions required by law, including
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                garnishment and attachments and any other prior liens which the Carrier must
                respect.
        (ii)    Amounts due the Carrier.

        (iii)   Union Pacific Railroad Employes Hospital Association; and premiums on group
                insurance plans.
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        If the earnings of the employe are insufficient, after all priority deductions have been made,
to remit the full amount of deductions authorized by an employe hereunder, no deduction for dues
on behalf of the Organization shall be made by the Carrier and the Carrier shall not be responsible
for such collection.

        (b)    Deductions made hereunder shall be made on the regular payroll or from time
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vouchers and shall be remitted to the International Secretary-Treasurer or other officer of the
Organization as may be designated by the International President not later than the fifth day of the
month next following the month in which deduction is made; together with a machine-produced list
(Attachment E), prepared in triplicate for each lodge, alphabetically listing the names, social security
account numbers or payroll identification numbers, amount of deductions, and the total amount of
deductions for the lodge. (lfno deduction is made for a particular individual on the list, the Carrier
will show the reason therefor. The Carrier will also furnish a summary statement for all lodges,
itemizing the number of employes and amount deducted.)


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        SECTION 4.

        Responsibility of the carrier under this Agreement shall be limited to remitting to the
Organization amounts actually deducted from the wages of employes pursuant to this Agreement,
and the Carrier shall not be responsible financially or otherwise for failure to make deductions or for
making improper or inaccurate deductions. Nothing contained herein shall be construed as
obligating the Carrier to collect dues from employes who leave its service or whose wages shall be
involved in any claim or litigation of any nature whatsoever.

        SECTION 5.

       No part of this Agreement shall be used in any manner whatsoever either directly or indirectly
as a basis for a grievance or time claim by or in behalf of an employe; and no part of this or any
other Agreement between the Carrier and the Organization shall be used as the basis for a
grievance or time claim by or in behalf of any employe predicated upon any alleged violation of, or
misapplication or noncompliance with any part of this Agreement.

        SECTION 6.

        (a)    The requirements of this Agreement shall not be effective with respect to any
individual employe until the Carrier has been furnished with written authorization as assignment of




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wages of such monthly membership dues, initiation fees, and assessments.

       (b)    Any question arising as to the correctness of the amount deducted shall be handled
between the employe involved and the Organization, and any complaints against the Carrier in


        SECTION 7.
                                                              IN
connection therewith shall be handled by the Organization on behalf of the employe concerned.



        Except for remitting to the Organization monies deducted from the wages of employes, the
Organization shall indemnify, defend and save harmless the Carrier from and against any and all
                                         AV
claims, demands. liability, losses or damages resulting from the entering into this Agreement or
arising or growing out of any dispute or litigation resulting from any deductions made by the Carrier
from the wages of its employes for or on behalf of the Organization.

        SECTION 8.

         In the event of a change in representation of employes now represented by the Organization,
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this Agreement shall automatically terminate and be of no further force or effect as of the date
official notification is received from the National Mediation Board of such change in representation.

        SECTION 9.
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         To assist in the application of the Agreement. the Carrier will furnish a list to the designated
officer of the Organization and the General Chairman at the close of each month, to be received not
later than the fifth day of the following month, which list shall show the data and information as set
forth in Attachment "F" and in the form as there prescribed.




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        SECTION 10.

        This Agreement is subject to the express Agreement of the parties hereto to observe and
comply with the provisions of the applicable federal and state laws now in existence or enacted
during the term hereof, it being the intention of either party hereto to relieve the other party hereto
from complying with any provision of this Agreement which may be in conflict with or violate any
applicable state or federal law now in existence or enacted during the term hereof.

        SECTION 11.

       This Agreement shall be effective October 1, 1973 and shall remain in effect until altered,
changed or cancelled in accordance with the Railway Labor Act, as amended, or as otherwise
provided in Section 8 of this Agreement.

        Signed at Omaha, Nebraska this 20th day of September, 1973.

FOR THE BROTHERHOOD OF RAIL­
WAY, AIRLINE AND STEAMSHIP
CLERKS, FREIGHT HANDLERS,                      UNION PACIFIC RAILROAD
EXPRESS AND STATION EMPLOYES                        COMPANY




                                                                           A
General Chairman, E. D.                        Vice President-Labor Relations

General Chairman, W. D.                        Director Labor Relations-System




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                                                                                                   ATTACHMENT A
                                                                                             IBM Code         _

                               WAGE ASSIGNMENT AUTHORIZATION


        (Employing Officer)

Union Pacific Railroad Company,


        (Location)


Name _--::-                        """"'=',..__------,,...,..,..,,...,,....-,-=-,,.------­
        (Last                       First              Middle Initial)                          (Soc. Sec. No.)

Home Address ----,~-".----__:_:__:__---:----,----___:_::,..,.,....--:-::::-:--:---:-----=:____::_,..____:_---
                (Street and Number)               (City and State)                   (Zip Code)




                                                                                             A
        (Occupation - Title)          (Pos. No.)             (Work Location)                 (Seniority District)


                         (Lodge No.)        (Union Card No.)            (Carrier Audit No.)



                                                                        IN
       I hereby assign to the Brotherhood of Railway, Airline and Steamship Clerks, Freight
Handlers, Express and Station Employes that part of my wages necessary to pay my monthly
membership dues (not including fines and penalties) in the Organization as such dues and
premiums are reported to the Union Pacific Railroad Company by the designated officer of the
Brotherhood of Railway, Airline and Steamship Clerks, Freight Handlers, Express and Station
                                             AV
Employes, in monthly statements, certified by him, as provided under the Check-Off Agreement
entered into by and between the Organization and the Union Pacific Railroad Company on
September 20. 1973, and I hereby authorize the Union Pacific Railroad Company to deduct from my
wages all such sums and pay them over to the designated officer of the Organization (BRAC) in
accordance with the said Check-Off agreement. This authorization may be revoked in writing by the
undersigned after the expiration of one (1) year, upon thirty (30) days written advance notice or upon
the termination of the aforesaid Check-Off agreement or upon the termination of the union
                           P-

agreement between the Company and the Organization, whichever occurs sooner.

_ _ _ _ _ _ _ _ _ _ _ _, 20_ _
   (Date)                                                   (Signature)                                    (LodgeNo.)
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                                                                                       ATTACHMENT 8

                                                                                IBM Code              _


       (Employing Officer)

Union Pacific Railroad Company,


       (Location)



Name   -...,.,...-------=-------:-0:-:--:-:---:---:-"...-----­
          (Last                    First          Middle Initial)                 (Soc. Sec. No.)

Home Address      _=-__~--:-......,.....___,__--____::_:__-----:----:......,.....----=____=____,__,__---
                    (Street and Number)            (City and State)               (Zip Code)


       (Occupation - Title)         (Pos. No.)         CNork Location)         (Seniority District)




                                                                               A
                        (Lodge No.)        (Union Card No.)     (Carrier Audit No.)

       Effective


                                                                IN
                                                             _ _ 20_ _,# I hereby revoke the
Wage Assignment Authorization now in effect assigning to the Brotherhood of Railway, Airline and
Steamship Clerks, Freight Handlers, Express and Station Employes that part of my wages
necessary to pay my monthly dues in the Organization now being withheld pursuant to the
Check-Off Agreement between the Organization and the Union Pacific Railroad Company, and I
                                            AV
hereby cancel the Authorization now in effect authorizing the Union Pacific Railroad Company to
deduct such monthly dues from my wages.


_ _~--,----                           ' 20_ _
   (Date)                                             (Signature)                        (LodgeNo.)

# NOTE: Thirty (30) days written advance notice must be given to effectuate this revocation.
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                                                                            ATTACHMENT C

                                      INITIAL LIST

                                                            Date                     _


      (Employer Officer)


      (Employer)

      (Street)

      (City and State)

       Pursuant     to the    Check-Off Agreement between the         Brotherhood    and
_ _ _ _ _ _ _ _ _-,--' the following is a list of names of employes for (Employer) whom
deductions shall be made effective the first pay period of                , 20 _ _.

      Wage Deduction Authorization Forms for these employes are enclosed.




                                                                   A
    LAST           FIRST        MIDDLE          SOC. SEC.       LODGE
    NAME         NAME           INITIAL         ACCT. NO.      NUMBER          AMOUNT


                                                     IN
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                                                                            ATTACHMENT D


                                ADDITIONS OR DELETIONS


       (Employer Officer)


       (Employer)

       (Street)

       (City and State)


            Pursuant to the Check-Off Agreement between the Brotherhood and
_ _ _ _ _ _-;--------,_-,-                 ' effective with the first pay period of
                (employer)
_ _ _ _ _ _ _ _, 20 _ ' the following additions or deletions are to be made for the employes
whose names are listed below:




                                                                      A
  LAST            FIRST     MIDDLE     SOC. SEC.      PAYROLL         LODGE
  NAME            NAME      INITIAL      NO.          NUMBER         NUMBER       AMOUNT

                                ADDITIONS



                                DELETIONS
                                                        IN
                                      AV
       Wage Deduction Authorization Forms for the employes to be added to the initial list are
enclosed.

                                                                      CERTIFIED CORRECT
                          P-


                                                                 General Chairman
              U




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                                                                                         ATTACHMENT E

                                    MONTHLY LIST OF DEDUCTIONS

                                                                  Date                                   _



                  (Brotherhood Officer)


                         (Street)


                    (City and State)

            Pursuant to the Check-Off Agreement between the Brotherhood and Union Pacific Railroad
Company, enclosed is a machine-produced list for Lodge                                        for the month of
-:::---,---:-_-=-=-----:-:==_ _.....,....,...' 20 _ _' issued pursuant to Section 3(b) of the Agreement dated
September 20, 1973, containing the following:




                                                                                A
       Name              Middle         SS Acct. No.         Deduction Account
     Last First          Initial        or PR 10 No.          Monthly Initiation          No Deduction
                                                             Dues Assessment                (Reason)



                                                                IN   Total Deduction                         _
                                           AV
                                                                            Carrier Officer


Dues deducted from first pay period of                              for _ _ _----::"...,...--,-_dues.
                                                                               (Month)
                P-
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                                                                                 ATTACHMENT F

                      RECORD OF CHANGE IN STATUS OF EMPLOYES

                                                                Seniority Zone No.              _

                                                                                 Division Officer of
          (Month)                    (Year)                   Department                          _


                                    REASON                                               REASON
 FIRST      MIDDLE       LAST         FOR           FIRST     MIDDLE       LAST            FOR
INITIAL     INITIAL      NAME       CHANGE*        INITIAL    INITIAL      NAME          CHANGE*




*Insert appropriate explanatory letter symbol as shown below along with dates.




                                                                     A
A - Resigned; died; dismissed; retired
B - Transferred to excepted position or position outside scope of the Clerk's Agreement
C - Returned from excepted position or position outside scope of the Clerk's Agreement
D - Entered military service
E - Returned from military service
F - Leave of absence
G - Returned from leave of absence
H - Absent account sickness or disability
                                                       IN
I - Returned from leave of absence account sickness or disability
                                    AV
J - Furloughed
K - Returned from furlough or recalled to service per Rule 18
L - New employe - Name, SSA No., & date hired
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                                                                                    APPENDIX "E"



                          UPfTCU JOB STABILIZATION AGREEMENT

         This Agreement by and between the Parties shall amend the Job Protection Agreement of
February 7, 1965, National Mediation Board Case No. A-7128, as amended, and the interpretations
thereof.

ARTICLE I - PROTECTED EMPLOYEES

       Section 1

         (a)     Employees assigned to a regular position orto a Guaranteed Reserve/Extra Board
on May 16, 1980, having three (3) or more years of continuous employment relationship in the
clerical craft as of May 16,1980, will become protected employees on May 16, 1980.

        (b)      Employees assigned to a regular position or to a Guaranteed Reserve/Extra Board
on May 16, 1980, having less than three (3) years of continuous employment relationship in the
clerical craft on May 16, 1980, will become protected employees on the first of the month




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immediately following the month in which they acquire three (3) years continuous employment
relationship in the clerical craft, unless they are not so assigned on the date they are eligible to
become protected employees, in which event they will become protected employees on the first of
the month immediately following the month when recalled to service and assigned to a regular



        (c)
                                                          IN
position or to a Guaranteed Reserve/Extra Board in accordance with existing rules of the UPfTCU
Agreement.

               Employees not regularly assigned or not on a Guaranteed Reserve/Extra Board as of
May 16, 1980, having three (3) or more years of continuous employment relationship in the clerical
craft as of May 16,1980, will become protected employees on the first of the month immediately
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following the month when recalled to service and assigned to a regular position or to a Guaranteed
Reserve/Extra Board in accordance with existing rules of the UPfTCU Agreement.

        (d)     Employees not regularly assigned or not on a Guaranteed Reserve/Extra Board as of
May 16, 1980, having less than three (3) years of continuous employment relationship in the clerical
craft as of May 16, 1980, will become protected employees on the first of the month immediately
following the month in which they acquire three (3) years of continuous employment relationship in
              P-

the clerical craft, unless they are not regularly assigned or not on a Guaranteed Reserve/Extra
Board on the date they are eligible to become protected employees, in which event they will become
protected employees on the first of the month immediately following the month when recalled to
service and assigned to a regular position orto a Guaranteed Reserve/Extra Board in accordance
with existing rules of the UPfTCU Agreement.
             U



          (e)    Employees hired on or after May 16, 1980 and prior to April 15, 1986, who acquire
four (4) years' continuous employment in the clerical craft will become protected employees on the
first of the month immediately following the month in which they acquire four (4) years' continuous
employment relationship in the clerical craft, unless they are not regularly assigned or not on a
Guaranteed Reserve/Extra Board on the date they are eligible to become protected employees, in
which event they will become protected employees on the first of the month immediately following
the month when recalled to service and assigned to a regular position or to a Guaranteed
Reserve/Extra Board in accordance with existing rules of the UPfTCU Agreement.


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        (f)     Employees hired on or after April 15, 1986, who acquire six (6) years' continuous
employment in the clerical craft will become protected employees on the first of the month
immediately following the month in which they acquire six (6) years' continuous employment
relationship in the clerical craft, unless they are not regularly assigned or not on a Guaranteed
Reserve/Extra Board on the date they are eligible to become protected employees, in which event
they will become protected employees on the first of the month immediately following the month
when recalled to service and assigned to a regular position or to a Guaranteed Reserve/Extra Board
in accordance with existing rules of the UPfTCU Agreement.

       Section 2

        In the event of a decline in a Carrier's business in excess of 5% in the average percentage of
both gross operating revenue and net revenue ton miles in any 3D-day period compared with the
average of the same period for the years 1963 and 1964, a reduction in forces in the crafts here
represented by the Organization signatory hereto may be made at any time during the said 3D-day
period below the number of employees entitled to preservation of employment under this Agreement
to the extent of one percent for each one percent the said decline exceeds 5%. The average
percentage of decline shall be the total of the percent of decline in gross operating revenue and
percent of decline in net revenue ton miles divided by 2. Advance notice of any such force reduction
shall be given as required by the current Schedule Agreement of the organization signatory hereto.
Upon restoration of the Carrier's business follOWing any such force reduction, employees entitled to




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preservation of employment must be recalled in accordance with the same formula within 15
calendar days.

       Section 3



                                                          IN
          Seasonal employees, including furloughed employees who otherwise meet the service
requirements as set forth in Section 1 of this Article who are assigned to non-guaranteed extra
boards, who had compensated service during each of the years 1977, 1978, and 1979, will be
guaranteed employment in future years at least equivalent to what they performed in 1979 unless or
until retired, discharged for cause or otherwise removed by natural attrition.
                                      AV
       Section 4

         Notwithstanding other provisions of this Agreement, the Carrier shall have the right to make
force reductions under emergency conditions such as flood, snowstorm, hurricane, earthquake, fire
or strike, provided that operations are suspended in whole or in part and provided further that
because of such emergencies the work which would be performed by the incumbents of the
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positions to be abolished or the work which would be performed by the employees involved in the
force reductions no longer exists or cannot be performed. When forces have been so reduced and
thereafter operations are restored employees entitled to preservation of employment must be
recalled upon the termination of the emergency. In the event the Carrier is required to make force
reductions because of the aforesaid emergency conditions, it is agreed that any decline in net
revenue ton miles resulting therefrom shall not be included in any computation of a decline in the
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Company's business pursuant to the provisions of Section 2 of this Article I.




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ARTICLE II - USE AND ASSIGNMENT OF EMPLOYEES AND LOSS OF PROTECTION

        Section 1

        An employee shall cease to be a protected employee in case of resignation, death,
retirement or dismissal for cause in accordance with existing agreements. The protected status of
an employee who fails to obtain or retain a position available in the exercise of seniority rights and
which does not require a change in residence or fails to accept employment as provided in this
Agreement which does not require a change of residence, or fails to respond to extra work when
called, will be suspended until such time as the employee obtains a regular position. Effective with
the date the employee occupies such a regular position, the employee will be restored to the status
of a protected employee and protected at the rate of the regular position occupied on the date
protected status is restored. If an employee dismissed for cause is reinstated to service, the
employee will be restored to the status of a protected employee as of the date of reinstatement.

        Section 2

         When a furloughed protected employee is entitled to compensation under this Agreement,
such employee may be used in accordance with existing seniority rules for vacation relief, or sick
relief, or for any other temporary assignment within a 3D-mile radius of headquarters point, provided
such assignment does not require the crossing of craft lines except as specifically provided for in




                                                                             A
this Agreement.

        Section 3




                                                              IN
        Furloughed protected employees who are entitled to protective benefits under this
Agreement may be offered, in reverse order of seniority, reasonably comparable employment in
another seniority Zone, another craft or class or with a Carrier or car line fully or partially owned by
the Company, when such employment does not require a change in residence, and for which the
employee is physically qualified, if such employment does not infringe upon the employment or
                                         AV
transfer rights of the employees in such other seniority Zone or craft or class, and the filling of the
vacancy in the other seniority Zone or craft or class would require the Company to hire a new
employee.

        Employees working in another craft or class shall continue to receive compensation due
protected employees under Article IV and will be allowed Holiday Pay, Sick Leave, Jury Duty,
Personal Leave, Vacation, and Health and Welfare and Dental benefits due under the UPfTCU
Agreement when such benefits are superior to those provided employees in the other craft or class.
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        Section 4

         The Company may also train furloughed protected employees for other reasonably
comparable employment or for employment in another craft or class for which the employee is
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physically qualified. In such cases, the employee may be assigned to an on-the-job or classroom
training program, during hours designated by the Company, not to exceed eight (8) hours per day
(exclusive of meal period, if assigned) five days per week. Employees being trained will be
compensated at their protected rate or the training rate, whichever is higher, except no
compensation will be allowed for days the employee is voluntarily absent. After completion of
training, the employee must accept employment, which will not require a change in residence, in the
craft or class or other craft or class for which the employee has sufficient fitness and ability.




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       Section 5

        The protection status of a furloughed protected employee who refuses to accept employment
in another class or craft or other employment as outlined above which does not require a change in
residence or who refuses or fails to exert a reasonable effort to complete the training program, will
be suspended until recalled to service and assigned to a regular position in accordance with existing
rules of the UPfTCU Agreement at which time the employee will be restored to the status of a
protected employee and protected at the rate of the position occupied on the date the employee
protected status is restored.

               NOTE: A "change in residence" as used in this Agreement shall only be
                     considered "required" if the reporting point of the affected employee
                     would be more than thirty (30) normal route miles from the employee
                     point of employment at the time affected.

ARTICLE III-IMPLEMENTING AGREEMENTS

       Section 1

        The Organization recognizes the right of the Company to make technological, operational
and organizational changes, and in consideration of the protective benefits provided by this




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Agreement the Company shall have the right to transfer work and/or employees throughout the
system which does not require the crossing of craft lines except as otherwise provided in this
Agreement. The Organization signatory hereto shall enter into such implementing agreements with
the Company as may be necessary to provide for the transfer and use of employees and the



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allocation or rearrangement of forces made necessary by the contemplated change. One of the
purposes of such implementing agreements shall be to provide a force adequate to meet the
Company's requirements.

       Section 2
                                      AV
         Except as provided in Section 3 hereof, the Company shall give at least 60 days' (90 days in
cases that will require a change of an employee residence) written notice to the Organization
involved of any intended change or changes referred to in Section 1 of this Article whenever such
intended change or changes are of such a nature as to require an implementing agreement as
provided in said Section 1. Such notice shall contain a full and adequate statement ofthe proposed
change or changes, including an estimate of the number of employees that will be affected by the
intended change or changes. Any change covered by such notice which is not made within a
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reasonable time following the serving of a notice, when all of the relevant circumstances are
considered, shall not be made by the Company except after again complying with the requirements
of this Section 2.

       Section 3
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       The Company shall give at least 30 days' notice where it proposes to transfer no more than 5
employees between seniority zones and the transfer of such employees will not require a change in
the place of residence of such employee or employees, such notice otherwise to comply with
Section 2 hereof.




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       Section 4

        In the event the representatives of the Company and Organization fail to make an
implementing agreement within 60 days after notice is given to the General Chairman representing
the employees to be affected by the contemplated change, or within 30 days after notice where a
30-day notice is required pursuant to Section 3 hereof, the matter may be referred by either party for
final and binding resolution as provided in Article VIII. The issues submitted for determination shall
not include any question as to the right of the Company to make the change but shall be confined to
the manner of implementing the contemplated change with respect to the transfer and use of
employees, and the allocation or rearrangement of forces made necessary by the contemplated
change.

        Section 5

        The provisions of implementing agreements negotiated as hereinabove provided for with
respect to the transfer and use of employees and allocation or reassignment of forces shall enable
the Company to transfer such protected employees and rearrange forces, and such movements,
allocations and rearrangements of forces shall not constitute an infringement of rights of
unprotected employees who may be affected thereby.

        Section 6




                                                                           A
       Protected employees required to change their places of residence as a result of transfers
covered by an implementing agreement shall have 20 days from the date notified to elect one of the
options set forth below:



        (i)
                                                            IN
PROTECTED EMPLOYEES WITH 3 BUT LESS THAN 5 YEARS OF SERVICE may:

                Transfer and receive the moving expenses and transfer allowances
                provided in Article VI;
                                        AV
        (ii)    Not transfer and voluntarily suspend the monetary protection
                provided in Article IV until such time the employee is again assigned
                to a permanent position;

        (iii)   Elect to take a separation allowance in the amount of $13,282.00 (as
                of July 1, 1991, subject to general wage adjustments, including
                COLA), except as noted below.
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PROTECTED EMPLOYEES WITH 5 OR MORE YEARS OF SERVICE may:

       (i)     Transfer and receive the moving expenses and transfer allowances
               provided in Article VI;

       (ii)    Not transfer and voluntarily suspend the monetary protection
               provided by Article IV until such time as again assigned to a
               permanent position;

       (iii)   Elect to take a separation allowance in the amount of$26, 137.00 (as
               of July 1, 1991, subject to general wage adjustments, including
               COLA), except as noted below.

               NOTE: Separation will be computed in accordance with Section 9 of
                     the Washington Job Protection Agreement of May 9, 1936,
                     for the following employees:

       (i)     Former Western Pacific employee with ten (10) or more years of
               service as of August 1, 1983.

       (ii)    Former Missouri Pacific and Missouri-Kansas-Texas Railroad
               employees with fifteen (15) or more years of service as of July 1,




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               1992.

PROTECTED EMPLOYEES WITH 6 OR MORE YEARS OF SERVICE may:

       (i)


       (ii)
               provided in Article VI;
                                                         IN
               Transfer and receive the moving expenses and transfer allowances


               Not transfer and voluntarily suspend the monetary protection
               provided in Article IV until such time as the employee is again
                                      AV
               assigned to a permanent position;

       (iii)   Elect to take separation allowance in the amount of $65,000.00 (as of
               January 1, 1997). The employee must authorize a one-time
               deduction of 31 months union dues and assessments.
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ARTICLE IV - COMPENSATION DUE PROTECTED EMPLOYEES

       Section 1

       Subject to the provisions of Section 3 of this Article IV, protected employees entitled to
preservation of employment who hold regularly assigned positions, including employees on
               U



Guaranteed Reserve/Extra Board, on January 1, 1980, shall not be placed in a worse position with
respect to compensation than the normal rate of compensation for said regularly assigned position
on January 1, 1980, or their current protected rate of pay established under the provisions of
Mediation Agreement Case No. A-7128 dated February 7, 1965, whichever is higher; provided,
however that in addition thereto such compensation shall be adjusted to include subsequent general
wage and C.O.L.A. adjustments.




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        Section 2

         Subject to the provisions of Section 3 of this Article IV, those employees who become
protected employees in accordance with the provisions of Sections 1(b), 1(c), 1(d), 1(e) and 1(f) of
Article I and entitled to preservation of employment shall not be placed in a worse position with
respect to compensation than the normal rate of compensation of the regular position (adjusted to
include subsequent general wage and C.O.L.A. adjustments) to which they are assigned on the date
they become protected employees.

        Section 3

        Any protected employee who in the normal exercise of seniority makes application for a
position or is displaced as a result of such an employee exercising seniority in the normal way by
reason of a voluntary action, will not be entitled to have compensation preserved as provided in
Sections 1 and 2 hereof, but will be compensated at the rate of pay and conditions of the job to
which the employee is assigned; provided, however, ifthe employee is required to make a move or
apply for a position under the terms of an implementing agreement made pursuant to Article III
hereof, the employee will continue to be paid in accordance with Sections 1 and 2 of this Article IV.

        Section 4

       If a protected employee fails to exercise seniority rights to secure another available position,




                                                                           A
which does not require a change in residence, to which the employee is entitled under the working
agreement and which carries a rate of pay and compensation exceeding those of the position the
employee elects to retain, the employee shall thereafter be treated for the purposes of this Article as


        Section 5
                                                           IN
occupying the position which the employee elects to decline.



        A protected employee shall not be entitled to the benefits of this Article during any period in
which the employee fails to work due to disability, discipline, leave of absence, military service, or
                                       AV
other absence from the Company's service, or during any period in which the employee occupies a
position not subject to the working agreement (except as provided for in Article II) or protected status
is suspended; nor shall a protected employee be entitled to the benefits of this Article IV during any
period when furloughed because of a reduction in force resulting from seasonal requirements
(including lay-offs during Miners' Holiday and the Christmas Season) or because of reductions in
forces pursuant to Article I, Section 3 and 4, provided, however, that employees furloughed due to
seasonal requirements shall not be furloughed in any 12-month period for a greater period than they
                        P-

were furloughed during the 12 months preceding the date of this agreement.

        Section 6

        Any protective allowances or benefits due a furloughed protected employee shall be reduced
by the full amount of unemployment benefits received, or to which entitled under any unemployment
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insurance law and/or governmental agency and compensation received from all other employment.




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       Section 7

        The Carrier will furnish an appropriate form to enable protected employees to file claim for
protective benefits. The form must be filed within sixty (60) days from the close of the month for
which protective benefits are claimed and, if the employee is entitled to the protective benefits
claimed, such claim will be allowed.

       Section 8

        (a)   In connection with the reduction which the Company may make in furlough
allowances due protected employees provided in Article IV, it is the intent of the parties that
compensation received by such employee from outside employment and/or self-employment will not
be considered unless the compensation received from said outside employment and/or self­
employment exceeds such compensation received by the employee at the time of furlough, in which
event the excess will be considered when determining the amount of the furlough allowance due.

      (b)    It is also the intent of the parties that the terms "any other employment and/or self-
employment" mean bona-fide employment.


ARTICLE V - EXERCISE OF SENIORITY - CHANGE IN RESIDENCE




                                                                            A
        Section 1

        (a)     A furloughed protected employee shall not be required to transfer to a location



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requiring a "change in residence" unless the Company has a bona fide need for the employee
services on a permanent basis at such location. Such bona fide need for services contemplates that
the transfer be to a position within the craft or class which has not and cannot be filled by employees
who are not required to make a change in residence and which would otherwise require the hiring of
a new employee.
                                         AV
        (b)     The provisions of this Section requiring furloughed protected employees to transfer
will be under the following order of recall:

         (i)   recall furloughed protected employees in reverse seniority order
               within the Zone followed by ­

        (ii)   Recall furloughed protected employees in reverse seniority order within the
                P-

               Master Roster.

       Section 2

       Furlouqhed protected employees requested to change their residences shall not be again
required to change their residence for a period of 3 years.
               U



       Section 3

       Transfers requmnq a change in residence will be offered in the order specified in
Section 1(b) of this Article V until the position is filled and each such employee shall have twenty
(20) days to elect one of the options set forth below.




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       CONFIDENTIAL
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PROTECTED EMPLOYEES WITH 10 OR MORE YEARS OF SERVICE may:

       (i)     Transfer and receive the moving expenses and transfer allowances
               provided in Article VI;

       (ii)    Not transfer and voluntarily suspend the monetary protection
               provided in Article IV until such time as the employee is again
               assigned to a permanent position:

       (iii)   Elect to take a separation allowance equivalent to 360 days pay at
               the rate of the employee last position or protected rate, whichever is
               greater.

PROTECTED EMPLOYEES WITH 5 YEARS OF SERVICE BUT LESS THAN 10 YEARS OF
SERVICE may:

       (i)     Transfer and receive the moving expenses and transfer allowances
               provided in Article VI;

       (ii)    Not transfer and voluntarily suspend the monetary protection
               provided by Article IV until such time as the employee is again




                                                                          A
               assigned to permanent position;

       (iii)   Accept separation pay, if offered by the Company, in the amount of
               $26.137.00 (as of July 1,1991, subject to general wage adjustments,




       (i)
               including COLA).

PROTECTED EMPLOYEES WITH 6 OR MORE YEARS OF SERVICE may:
                                                           IN
               Transfer and receive the moving expenses and transfer allowances
               provided in Article VI;
                                       AV
       (ii)    Not transfer and voluntarily suspend the monetary protection
               provided by Article IV until such time as the employee is again
               assigned to a permanent position.

       (iii)   Accept separation pay, if offered by the Company, in the amount of
               $65,000. The employee must authorize a one-time deduction of 31
                P-

               months union dues and assessments.

ARTICLE VI - MOVING EXPENSES

       Section 1
               U



         Protected employees required to transfer to a new point of employment requiring a change of
residence shall be subject to the benefits contained in Sections 10 and 11 of the Washington Job
Protection Agreement notwithstanding anything to the contrary contained in said provisions and in
addition to such benefits shall receive a transfer allowance of one thousand dollars ($1,000.00) and
five (5) working days instead of the "two working days" provided by Section 1O(a) of said Agreement.




                                                92




      CONFIDENTIAL
        Case 4:19-cv-00480-RK                                              UP-AVINA-002324
                                                 Document 70-3 Filed 03/15/21 Page 100 of 196
       Section 2

         (a)    Protected employees may elect, in lieu of the benefits provided in Section 1, one of
the following lump sum transfer allowances which must be exercised within fifteen (15) days from
date of transfer:

        (i)    on the date of recall, an employee who owns or is under contract to
               purchase their own home which is presently occupied as their place
               of residence, a lump sum transfer allowance of $20,000, as of
               January 1, 1997, and subject to the same adjustments as applied to
               wages arising from general Wage & COLA adjustments.

        (ii)   on the date of recall, an employee who is not a homeowner, a lump
               sum transfer allowance of $10,000, as of January 1, 1997, and
               subject to the same adjustments as applied to wages arising from
               general Wage & COLA adjustments.

        NOTE: If an employee holds an unexpired lease of a dwelling occupied as a
              home, the Carrier shall protect such employee from all loss and cost
              in securing the cancellation of said lease as provided in Sections 10
              and 11 of the Washington Job Protection Agreement in addition to




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              the lump sum benefits provided under this Option.

      (b)    The lump sum transfer allowances provided in this Section may be adjusted by
agreement between the parties.

        (c)
                                                            IN
               A protected employee who elects a lump sum transfer allowance under provisions of
this Section will not be permitted to voluntarily exercise seniority on a position which requires a
change in residence outside of the new headquarters point for a period of twelve (12) months from
date of acceptance of the lump sum payment. (See Interpretation dated 8/15/97.)
                                        AV
ARTICLE VII- APPLICATION TO MERGERS, CONSOLIDATIONS AND OTHER
               AGREEMENTS

        Section 1

        Any merger agreement now in effect applicable to merger of two or more Carriers, or any job
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protection or employment security agreement which by its terms is of general system-wide and
continuing application but which by its terms would apply in the future, may be preserved by the
employee representatives so notifying the Carrier within sixty days from the date of this Agreement.
and in that event this Agreement shall not apply on that Carrier to employees represented by such
representatives.
               U



        Section 2

         In the event of merger or consolidation of two or more Carriers, the parties to this Agreement
on which this Agreement is applicable, or parts thereof, into a single system subsequent to the date
of this Agreement, the merged, surviving or consolidated Carrier will constitute a single system for
purposes of this Agreement, and the provisions hereof shall apply accordingly, and the protections
and benefits granted to employees under this Agreement shall continue in effect.



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                                                  Document 70-3 Filed 03/15/21 Page 101 of 196
        Section 3

        Without in any way modifying or diminishing the protection, benefits or other provisions of
this Agreement, it is understood that in the event of a coordination between two or more Carriers as
the term "coordination" is defined in the Washington Job Protection Agreement, such Washington
Agreement will be applicable to such coordination, except that Section 13 of the Washington Job
Protection Agreement is abrogated and the disputes provisions and procedures of this Agreement
are substituted therefor.

        Section 4

        Where prior to the date of this Agreement the Washington Job Protection Agreement (or
other agreements of similar type whether applying inter-carrier or intra-carrier) has been applied to a
transaction, coordination allowances and displacement allowances (or their equivalents or
counterparts, if other descriptive terms are applicable on a particular railroad) shall be unaffected by
this Agreement either as to amount or duration, and allowances payable under the said Washington
Agreement or similar agreement shall be not considered compensation for purposes of determining
the compensation due a protected employee under this Agreement.

ARTICLE VIII - DISPUTES PROCEDURE




                                                                             A
        Any dispute involving the interpretation or application of any of the terms of this Agreement
and not settled on the property may be appealed to the Disputes Committee established pursuant to
Article VII of the February 7, 1965 Job Protection Agreement, NMB Case NO.A-7128.

FOR THE TRANSPORTATION
COMMUNICATIONS UNION:


J. F. Lydon
General Chairman, TCU
                                                        FORTHE


                                                              IN
                                                        UNION PACIFIC RAILROAD COMPANY:


                                                        D. D. Matter
                                                        General Director, Labor Relations/Non-Ops
                                         AV
S. Siriano                                              D. K. Peitzmeier
President, ASDITCU                                      Director, Labor Relations/Non-Ops


S. Mether
                P-

Vice General Chairman, TCU


D. Mitchell
Vice General Chairman, TCU
               U



B. P. Whitacre
Vice General Chairman, TCU

APPROVED:


J. L. Quilty
International Vice President, TCU

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      CONFIDENTIAL
        Case 4:19-cv-00480-RK                                                UP-AVINA-002326
                                                   Document 70-3 Filed 03/15/21 Page 102 of 196
                                                                                         April 17, 1980


Mr. Phillip A. Jordan
Vice President-Labor Relations
Union Pacific Railroad Company
1416 Dodge Street
Omaha, Nebraska 68179

Dear Sir:

In connection with the reduction which the Carrier may make in furlough allowance due Protected
Employes, provided in Article IV, Section 6, of the Agreement signed April 17, 1980, it is the intent of
the parties that compensation received by such employe from outside employment andlor self­
employment will not be considered unless the compensation received from said outside employment
andlor self-employment exceeds such compensation received by the employe at the time he is
furloughed in which event the excess will be considered when determining the amount of the
furlough allowance due.

It is also the intent of the parties that the terms "any other employment andlor self-employment"
mean bona-fide employment.




                                                                            A
                                                        Yours truly,




ACCEPTED:

lSI PHILLIP A. JORDAN
                                                             IN
                                                       lsI FRED J. KROLL
                                                       International President, BRAC
                                        AV
Vice President-Labor Relations
Union Pacific Railroad Company
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     CONFIDENTIAL
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Mr. J. L. Quilty                                                              August 15, 1997
General Chairman, TCU                                                          297-74
2820 South 87th Avenue
Omaha, NE 68124

Dear Sir:

      This has reference to our recent discussion concerning Section 2 of Article VI, Moving
Expenses, of the February 7, 1965 Job Stabilization Agreement, as amended.

         During our discussions, a question arose as to when the twelve (12) month period during
which an individual could not exercise seniority after relocation as provided in Paragraph (c) of
Section 2 would begin. The parties agreed that Section (a) required an employee to make an
election concerning the moving allowance fifteen (15) days from date of transfer. Of course, an
employee who is transferring can make an election any time prior to the fifteen (15) day deadline.
Once an employee has made that election, the twelve (12) month period during which the employee
cannot exercise seniority begins. As noted in Paragraph (c) of Section 2, "a protected employee
who elects a lump sum transfer allowance ...". In other words, the date the employee makes the
election is the date that the twelve (12) month restriction on bidding begins. Moreover, the




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employee may make an election concerning moving allowance anytime after being notified of
assignment to the relocated position. This interpretation would permit the employee to start the
twelve (12) month period in which no change of residence can take place immediately following



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notification of being assigned to the position regardless of the date when that employee is released
to assume the new position.

        If this interpretation accurately reflects our understanding concerning this issue, please sign
in the space indicated below, retaining one copy of this letter and returning the other copy for my
files.
                                       AV
                                               Yours truly,

                                               lsI D. D. Matter

                                               D. D. MATTER
                                               Sr. Director Labor Relations/Non-Ops
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AGREED:

lsI J. L. Quilty       8/18/97
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     CONFIDENTIAL
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                                EXTRACTED FROM
                 WASHINGTON JOB PROTECTION AGREEMENT - MAY, 1936

         Section 10. (a)       Any employee who is retained in the service of any carrier involved in
a particular coordination (or who is later restored to service from the group of employees entitled to
receive a coordination allowance) who is required to change the point of his employment as a result
of such coordination and is therefore required to move his place of residence, shall be reimbursed
for all expenses of moving his household and other personal effects and for the traveling expenses
of himself and members of his family and his own actual wage loss during the time necessary for
such transfer, and for a reasonable time thereafter, (not to exceed two working days), used in
securing a place of residence in his new location. The exact extent of the responsibility of the carrier
under this provision and the ways and means of transportation shall be agreed upon in advance
between the carrier responsible and the organization of the employee affected. No claim for
expenses under this Section shall be allowed unless they are incurred within three years from the
date of coordination and the claim must be submitted within ninety (90) days after the expenses are
incurred.

        (b)    If any such employee is furloughed within three years after changing his point of
employment as a result of coordination and elects to move his place of residence back to his original
point of employment, the carrier shall assume the expense of moving his household and other
personal effects under the conditions imposed in paragraph (a) of this section.




                                                                            A
        (c)      Except to the extent provided in paragraph (b) changes in place of residence
subsequent to the initial changes caused by coordination and which grow out of the normal exercise
of seniority in accordance with working agreements are not comprehended within the provisions of
this section.


                                                             IN
       Section 11. The following provisions shall apply, to the extent they are applicable in each
instance, to any employee who is retained in the service of any of the carriers involved in a particular
coordination (or who is later restored to such service from the group of employees entitled to receive
a coordination allowance) who is required to change the point of his employment as a result of such
                                        AV
coordination and is therefore required to move his place of residence:

1.      If the employee owns his own home in the locality from which he is required to move, he
        shall at his option be reimbursed by his employing carrier for any loss suffered in the sale of
        his home or less than its fair value. In each case the fair value of the home in question shall
        be determined as of a date sufficiently prior to the coordination to be unaffected thereby.
        The employing carrier shall in each instance be afforded an opportunity to purchase the
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        home at such fair value before it is sold by the employee to any other party.

2.      If the employee is under a contract to purchase his home, the employing carrier shall protect
        him against loss to the extent of the fair value of any equity he may have in the home and
        addition shall relieve him from any further obligations under his contract.
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3.      If the employee holds an unexpired lease of a dwelling occupied by him as his home, the
        employing carrier shall protect him from all loss and cost in securing the cancellation of his
        said lease.

       (b)    Changes in place of residence subsequent to the initial change caused by
coordination and which grow out of the normal exercise of seniority in accordance with working
agreements are not comprehended within the provisions of this Section.



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       (c)     No claim for loss shall be paid under the provisions of this section which is not
presented within three years after the effective date of the coordination.

         (d)     Should a controversy arise in respect to the value of the home, the loss sustained in
its sale, the loss under a contract for purchase, loss and cost in securing termination of lease, or any
other question in connection with these matters, it shall be decided through joint conference
between the representatives of the employees and the carrier on whose line the controversy arises
and in the event they are unable to agree, the dispute may be referred by either party to a board of
three competent real estate appraisers, selected in the following manner: One to be selected by the
representatives of the employees and the carrier, respectively; these two shall endeavor by
agreement within ten days after their appointment to select the third appraiser, or to select some
person authorized to name the third appraiser, and in the event of failure to agree then the
Chairman of the Interstate Commerce Commission shall be required to appoint the third appraiser.
A decision of a majority of the appraisers shall be required and said decision shall be final and
conclusive. The salary and expenses of the appraisal board, shall be borne equally by the parties to
the proceedings. All other expenses shall be paid by the party incurring them, including the salary of
the appraiser selected by the party.




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                                                                                    APPENDIX "F"

                                                                               Award of Arbitration
                                                                                   Board No. 298
                                 ARBITRATION BOARD NO. 298

IN THE MATTER OF AN ARBITRATION

                . between

CARRIERS REPRESENTED BY THE
NATIONAL RAILWAY LABOR CONFERENCE
AND THE SOUTHEASTERN, EASTERN AND
WESTERN CARRIERS' CONFERENCE
COMMITTEES

             and                                                AWARD
EMPLOYES' NATIONAL CONFERENCE
COMMITTEE FIVE COOPERATING RAILWAY
LABOR ORGANIZATIONS




                                                                         A
(NATIONAL MEDIATION BOARD
CASE NO. A-7948

         The Board of Arbitration provided for in the Arbitration Agreement of July 19,1967, having



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been named and constituted in accordance with said Arbitration Agreement and in accordance with
the provisions of the Railway Labor Act after hearing the parties of their representatives and
considering the testimony, exhibits and arguments presented, does hereby make its Award as
follows:

I.   The railroad company shall provide for employees who are employed in a type of service the
                                      AV
     nature of which regularly requires them throughout their work week to live away from home in
     camp cars, camps, highway trailers, hotels or motels as follows:

        1. If lodging is furnished by the railroad company, the camp cars or other lodging
           furnished shall include bed, mattress, pillow, bed linen, blanket towels, soap,
           washing and toilet facilities.
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        2. Lodging facilities furnished by the railroad company shall be adequate for the
           purpose and maintained in a clean, healthful and sanitary conditions.

        3. If lodging is not furnished by the railroad company the employee shall be
           reimbursed for the actual reasonable expense thereof not in excess of $4.00 per
           day.
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     B. Meals

        1. Ifthe railroad company provides cooking and eating facilities and pays the salary
           or salaries of necessary cooks, each employee shall be paid a meal allowance of
           $1.00 per day.




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        Case 4:19-cv-00480-RK                                             UP-AVINA-002331
                                                Document 70-3 Filed 03/15/21 Page 107 of 196
       2. If the railroad company provides cooking and eating facilities but does not furnish
          and pay the salary or salaries of necessary cooks, each employee shall be paid
          a meal allowance of $2.00 per day.

       3. If the employees are required to obtain their meals in restaurants or
          commissaries, each employee shall be paid a meal allowance of $3.00 per day.

       4. The foregoing per diem meal allowance shall be paid for each day of the
          calendar week, including rest days and holidays, except that it shall not be
          payable for work days on which the employee is voluntarily absent from service,
          and it shall not be payable for rest days or holidays if the employee is voluntarily
          absent from service when work was available to him on the work day preceding
          or the work day following said rest days or holiday.

   C. Travel from one work point to another

       1. Time spent in traveling from one work point to another outside of regularly
          assigned hours or on a rest day or holiday shall be paid for at the straight time
          rate.

       2. An employee who is not furnished means of transportation by the railroad




                                                                         A
          company from one work point to another and who uses other forms of
          transportation for this purpose shall be reimbursed for the cost of such other
          transportation. If he uses his personal automobile for this purpose in the
          absence of transportation furnished by the railroad company he shall be



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          reimbursed for such use of his automobile at the rate of nine cents a mile. If an
          employee's work point is changed during his absence from the work point on a
          rest day or holiday this paragraph shall apply to any inileage he is required to
          travel to the new work point in excess of that required to return to the former
          work point.
                                      AV
II. Employes (other than the referred to in Section I above and other than dining car employees)
    who are required in the course of their employment to be away from their headquarters point as
    designated by the carrier, including employes filling relief assignments or performing extra or
    temporary service, shall be compensated as follows:

   A. The Carrier shall designate a headquarters point for each regular position and each
      regular assigned relief position. For employees, other than those serving in regular
                       P-

      positions or in regular assigned relief positions, the carrier shall designate a
      headquarters point for each employee. No designated headquarters point may be
      changed more frequently than once each 60 days and only after at least 15 days' written
      notice to the employee affected.
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   B. When employees are unable to return to their headquarters point on any day they shall
      be reimbursed for the actual reasonable cost of meals and lodging away from their
      headquarters point not in excess of $7.00 per day.




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    CONFIDENTIAL
      Case 4:19-cv-00480-RK                                               UP-AVINA-002332
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   C. An employee in such service shall be furnished with free transportation by the railroad
      company in traveling from his headquarters point to another point and return, or from
      one point to another. If such transportation is not furnished, he will be reimbursed for the
      cost of rail fare if he travels on other rail lines, or the cost of other public transportation
      used in making the trip; or if he has an automobile which he is willing to use and the
      carrier authorizes him to use said automobile, he will be paid an allowance of nine cents
      for each mile in traveling from his headquarters point to the work point, and return, or
      from one work point to another.

   D. If the time consumed in actual travel, including waiting time enroute, from the
      headquarters point to the work location, together with necessary time spent waiting for
      the employee's shift to start, exceeds one hour, or if on completion of his shift necessary
      time spent waiting for transportation plus the time of travel, including waiting time
      enroute, necessary to return to his headquarters point or to the next work location
      exceeds one hour, then the excess over one hour in each case shall be paid for as
      working time at the straight time rate of the job to which traveled. When employees are
      traveling by private automobile time shall be computed at the rate of two minutes per
      mile traveled.

III. The railroad company shall provide for dining car employees as follows:

   A. When dining car employees are required to layover at other than home terminals




                                                                             A
      overnight, lodging shall be furnished by the railroad company.

    B. Dining car employees required to layover at other than home terminals for a period of



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       eight hours or more shall receive a meal allowance of $1.50 except that no allowance
       shall be paid to employees released after 7:00 PM and scheduled to report before
       7:00 AM the following day. A second meal allowance of $1.50 will be provided if the
       employee's period of layover extends beyond 24 hours from the time of release at the
       away from home terminal.
                                        AV
IV. Except as benefits have been awarded in Sections I, II and III and subparagraphs thereof, all
    other requests contained in Article IV of the employee's Section 6 Notice of May 10, 1966, are
    denied.

V. Insofar as there are presently agreements in effect between any of the carrier and organizations
   party to this arbitration which agreements include provisions dealing with the types of employee
   benefits provided for in Sections I, II and III, and the subparagraphs thereof in this award, the
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   organizations party to such existing agreements shall have the option of accepting any or all of
   the benefits provided in this award or of continuing in effect any or all of the provisions of the
   existing agreement in lieu thereof. Such election must be exercised on or before December 31,
   1967. There shall be no duplication of benefits.
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                                                  Document 70-3 Filed 03/15/21 Page 109 of 196
Executed this 30th day of September, 1967, in the city of Washington, D.C.

                                                Arbitration Board No. 298

                                                lSI PAUL D. HANLON
                                                Neutral Member, Chairman

                                                lSI DAVID H. STOWE
                                                Neutral Member

                                                lSI G. E. LEIGHTY
                                                Employee Member

                                                lSI H. C. CROTTY
                                                Employee Member

                                                lSI A. E. EGBERS
                                                Carrier Member

                                                lSI R. L. HARVEY
                                                Carrier Member




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                                                                                     APPENDIX "G"


                          OFF-TRACK VEHICLE ACCIDENT BENEFITS

        The following represents a synthesis in one document, for the convenience of the parties, of
the current provisions covering Off-Track Vehicle Accident Benefits which were emanated from the
National Agreements identified below:

               Brotherhood of Railroad Trainmen - July 17, 1968 Agreement -Article
               XI; Switchmen's Union of North America - July 29, 1968 Agreement­
               Article IX; Brotherhood of Locomotive Firemen and Enginemen ­
               September 14, 1968 Agreement - Article IX; United Transportation
               Union (C) - March 19, 1969 Agreement - Article V; United
               Transportation Union (E) - April 15, 1969 Agreement - Article V;
               Railroad Yardmasters of America - September 20, 1968 Agreement­
               Article IV; Brotherhood of Locomotive Engineers - March 10, 1969
               agreement - Article IV; Brotherhood of Railroad Signalmen - April 21,
               1969 Agreement - Article IV; Brotherhood of Maintenance of Way
               Employes - February 10, 1971 Agreement - Article V; Hotel and
               Restaurant Employees and Bartenders International Union ­




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               February 10, 1971 Agreement - Article V; Brotherhood of Railway,
               Airline and Steamship Clerks, Freight Handlers, Express and Station
               Employees - February 25, 1971 Agreement - Article V; United
               Transportation Service Employees - March 24, 1971 Agreement ­



                                                           IN
               Article IV; American Train Dispatchers Association - April 20, 1971
               Agreement - Article IV; International Association of Machinists and
               Aerospace Workers; International Brotherhood of Boilermakers, Iron
               Ship Builders, Blacksmiths, Forgers and Helpers; International
               Brotherhood of Electrical Workers; Brotherhood Railway Carmen of
               the United States and Canada - October 7, 1971 Agreement ­
                                       AV
               Article IV; International Brotherhood of Firemen and Oilers ­
               February 11, 1972, Agreement - Article IV; Sheet Metal Workers'
               International Association - May 12, 1972 Agreement - Article IV.

        This is intended as a guide and is not to be construed as constituting a separate agreement
between the parties. If any dispute arises as to the proper interpretation or application of any
provision, the terms of the appropriate agreement shall govern.
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ARTICLE - PAYMENTS TO EMPLOYEES INJURED UNDER CERTAIN CIRCUMSTANCES

       Where employees sustain personal injuries or death under the conditions set forth in
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paragraph (a) below, the carrier will provide and pay such employees, or their personal
representative, the applicable amounts set forth in paragraph (b) below, subject to the provisions of
other paragraphs in this Article.




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     CONFIDENTIAL
       Case 4:19-cv-00480-RK                                               UP-AVINA-002335
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 (a)     Covered Conditions ­

         This Article is intended to cover accidents involving employees covered by
 this agreement while such employees are riding in, boarding, or alighting from off­
 track vehicles authorized by the carrier and are

         (1)       deadheading under orders or

         (2)       being transported at carrier expense.


 (b)     Payments to be Made ­

         In the event that anyone ofthe losses enumerated in subparagraphs (1), (2)
 and (3) below results from an injury sustained directly from an accident covered in
 paragraph (a) and independently of all other causes and such loss occurs or
 commences within the time limits set forth in subparagraphs (1), (2) and (3) below,
 the carrier will provide, subject to the terms and conditions herein contained, and
 less any amounts payable under Group Policy Contract GA-23000 ofThe Travelers
 Insurance Company or any other medical or insurance policy or plan paid for in its
 entirety by the carrier, the following benefits:




                                                                 A
         (1)       Accidental Death or Dismemberment

                 The carrier will provide for loss of life or dismemberment

         paragraph (a):

       Loss of
       Loss of
                 Life
                 Both Hands
                                                     IN
         occurring within 120 days after date of an accident covered in


                                                                     $300,000
                                                                     $300,000
                                  AV
       Loss of   Both Feet                                           $300,000
       Loss of   Sight of Both Eyes                                  $300,000
       Loss of   One Hand and One Foot                               $300,000
       Loss of   One Hand and Sight of One Eye                       $300,000
       Loss of   One Foot and Sight of One Eye                       $300,000
       Loss of   One Hand or One Foot or Sight of One Eye            $150,000
                    P-

                 "Loss" shall mean, with regard to hands and feet,
         dismemberment by severance through or above wrist or ankle joints;
         with regard to eyes, entire and irrecoverable loss of sight;

                No more than $300,000 will be paid under this paragraph to
       U



         anyone employee or his personal representative as a result of any
         one accident.




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  Case 4:19-cv-00480-RK                                              UP-AVINA-002336
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        (2)     Medical and Hospital Care

                The carrier will provide payment for the actual expense of
        medical and hospital care commencing within 120 days after an
        accident covered under paragraph (a) of injuries incurred as a result
        of such accident, subject to limitation of $3,000 for any employee for
        anyone accident, less any amounts payable under Group Policy
        Contract GA-23000 of the Travelers Insurance Company or under
        any other medical or insurance policy or plan paid for in its entirety by
        the carrier.

        (3)     Time Loss

                The carrier will provide an employee who is injured as a result
        of an accident covered under paragraph (a) commencing with 30
        days after such accident 80% of the employee's basic full-time
        weekly compensation from the carrier for time actually lost, subject to
        a maximum payment of $1,000.00 per week for time lost during a
        period of 156 continuous weeks following such accident provided,
        however, that such weekly payment shall be reduced by such
        amounts as to the employee is entitled to receive as sickness




                                                                     A
        benefits under provisions of the Railroad Unemployment Insurance
        Act.


        (4)     Aggregate Limit


                                                     IN
                The aggregate amount of payments to be made hereunder is
        limited to $10,000,000 for anyone accident and the carrier shall not
        be liable for any amount in excess of $10,000,000 for anyone
        accident irrespective of the number of injuries or deaths which occur
                                AV
        in or as a result of such accident. If the aggregate amount of
        payments otherwise payable hereunder exceeds the aggregate limit
        herein provided, the carrier shall not be required to pay as respects
        each separate employee a greater proportion of such payments than
        the aggregate limit set forth herein bears to the aggregate amount of
        all such payments.
        P-

        [Amended paragraph (b) from Agreements dated July 26, 1978
        (BLE); July 27, 1978 (BRS); August 25, 1978 (UTU); October 30,
        1978 (BMW); October 31, 1978 (RYA); December 2, 1978 (lAM);
        December 4, 1978 (SMW); December 6, 1978 (RED); and January
        23, 2003 (TCU)]
       U



 (c)    Payment in Case of Accidental Death:

         Payment of the applicable amount for accidental death shall be made to the
 employee's personal representative for the benefit of persons designated in, and
 according to the apportionment required by the Federal Employers Liability Act (45
 U.S.C. 51 et seq., as amended), or if no such person survives the employee, for the
 benefit of his estate.


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           (d)    Exclusions:

                   Benefits provided under paragraph (b) shall not be payable for or under any
           of the following conditions:

                  (1)       Intentionally self-inflicted injuries, suicide or any attempt
                            thereat, while sane or insane;

                  (2)       Declared or undeclared war or any act thereof;

                  (3)       Illness, disease, or any bacterial infection other than bacterial
                            infection occurring in consequence of an accidental cut or
                            wound;

                  (4)       Accident occurring which the employee driver is under the
                            influence of alcohol or drugs, or if an employee passenger
                            who is under the influence of alcohol or drugs in any way
                            contributes to the cause of the accident;

                  (5)       While the employee is a driver or an occupant of any
                            conveyance engaged in any race or speed test;




                                                                                A
                  (6)       While an employee is commuting to and/or from his
                            residence or place of business.

           (e)    Offset:


                                                                IN
                   It is intended that this Article is to provide a guaranteed recovery by an
           employee or his personal representative under the circumstances described, and
           that receipt of payment thereunder shall not bar the employee or his personal
           representative from pursuing any remedy under the Federal Employers Liability Act
                                            AV
           or any other law; provided, however, that any amount received by such employee or
           his personal representative under this Article may be applied as an offset by the
           railroad against any recovery so obtained.

           (f)    Subrogation:

                   The carrier shall be subrogated to any right of recovery an employee or his
                            P-

           personal representative may have against any party for loss to the extent that the
           carrier has made payments pursuant to this Article.

           The payments provided for above will be made, as above provided,for covered accidents on
or after                                            _
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        It is understood that no benefits or payments will be due or payable to any employee or his
personal representative unless such employee, or his personal representative, as the case may be,
stipulates as follows:

                      "In consideration of the payment of any of the benefits,
               provided in Article     of the Agreement of

                              (employee or personal representative)
               agrees to be governed by all of the conditions and provisions said
               and set forth by Article  "

Savings Clause

        This Article supersedes as of                            , any agreement providing benefits
of a type specified in paragraph (b) hereof under the conditions specified in paragraph (a) hereof,
provided, however, any individual railroad party hereto, or any individual committee representing
employees party hereto, may be advising the other party in writing by                        , elect to
preserve in its entirety an existinq agreement providing accident benefits of the type provided in this
Article   in lieu of this Article




                                                                            A
MEMORANDUM OF UNDERSTANDING dated May 18, 1972, signed by Mr. William H. Dempsey.
Chairman. National Railway Labor Conference and the Chiefs of all of the organizations concerned:



vehicle accidents under certain circumstances:
                                                            IN
        In connection with the provisions of the several national agreements to which the
organizations signatory hereto are party, relating to payments to employees injured in off-track


                       It is agreed that existing time-limit-on-c1aims rules in national
               agreements or in local schedule agreements do not apply to claims
                                        AV
               filed under such off-track vehicle accident provisions. Accordingly,
               the rights of neither the employees nor the railroads will be
               prejudiced by a failure to comply with a provision of such rules.

                       Railroads parties to such off-track vehicle accident provisions
               will each designate an officer with whom any claims arising under
               such provisions are to be handled, and will notify General Chairmen
                        P-

               of the officer designated.
             U




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                                                                                        APPENDIX "H"

                                                                                    Training Program
                                                                         Chief Operators - SC & NWD


                                   AGREEMENT
                                         between
                          UNION PACIFIC RAILROAD COMPANY
                          (South-Central - Northwestern Districts)
                                           and
                  TRANSPORTATION COMMUNICATION EMPLOYEES UNION
                        TRAINING PROGRAM - CHIEF OPERATOR


       1.      This supersedes and cancels agreement dated at Salt Lake City, Utah, November 4,
1953, between the Union Pacific Railroad Company, South-Central and Northwestern Districts, and
the Transportation Communication Employees Union.

         2.      In order to afford employes the opportunity to qualify for position of Chief Operator in
General Offices the following Training Program is adopted under which employes may secure the




                                                                            A
requisite training for those positions. Bulletins will be posted on the South-Central and Northwestern
Districts for applications from employes holding positions included in the scope of the Telegraphers'
Agreement who desire to avail themselves of the opportunity to qualify for positions of Chief
Operator Printer Mechanician in General Telegraph Offices. Applicants will be required to undergo



                                                            IN
written and oral examination to demonstrate their qualifications.

        3.      Superintendent Communications will select from the applicants, employes for
training. However, when none of the applications received in response to the bulletins are
acceptable to the Superintendent Communications, the assignments to the bulletined vacancies will
be made by the Superintendent Communications by the employment of other personnel. Accepted
                                        AV
personnel will be assigned eight hours per day, five days per week exclusive of Saturday, Sunday
and holidays and compensated at the rate of $2.8078 per hour.

        4.    An employe selected for this training shall be considered on leave of absence from
his assignment.

        5.       Employes who are not considered qualified to continue in the training program, will
                        P-

revert to their assigned positions.

        6.      Employes who have completed the training program must accept assignment of
Traveling Relief Chief Operator Printer Mechanician when such positions are available. If no
position is available, employe will return to former assignment, or if no former assignment, to the
extra board. However, when a position as Traveling Relief Chief Operator-Printer Mechanician
             U



becomes available, the employe will be required to accept assignment to such position.

        7.        Employes assigned to training program may bid for positions bulletined while in
training but, if successful, will not be placed on the position unless released by the Superintendent
Communications.




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     CONFIDENTIAL
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       This agreement shall be effective March 11, 1966, and shall continue in effect thereafter
subject to change or termination upon thirty days written notice served by either party upon the
other.

       Dated at Omaha, Nebraska, this 11th day of March, 1966.

FOR THE EMPLOYES:                                   FOR THE CARRIER:

A.S.HERRERA                                         F. C. WOOD
General Chairman                                    Asst. to Vice President­
                                                    South-Central District

APPROVED:                                           N.B.BECKLEY
                                                    Asst. to Vice President­
                                                    Northwestern District

S. Z. PLACKSIN                                      C. O. JETT
Vice President                                      Superintendent Communications




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    CONFIDENTIAL
      Case 4:19-cv-00480-RK                                            UP-AVINA-002341
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                                                                                      APPENDIX "I"

                                                                                  Training Program
                                                                               Chief Operators - ED

                                AGREEMENT
                                     between
                        UNION PACIFIC RAILROAD COMPANY
                                 (Eastern District)
                                       and
                 TRANSPORTATION-COMMUNICATION EMPLOYEES UNION


       1.    This supersedes and cancels Agreements dated October 28, 1954, and June 1,
1954, between the Union Pacific Railroad Company, Eastern District and the Transportation­
Communication Employees Union.

        2.     In order to afford employes the opportunity to qualify for position of Chief Operator
Printer Mechanician in General Telegraph Offices, the following Training Program is adopted under
which employes may secure the requisite training for these positions. Bulletins will be posted on the
Eastern District for applications from employes holding positions included in the scope of the




                                                                         A
Telegraphers' Agreement who desire to avail themselves of the opportunity to qualify for positions of
Chief Operator Printer Mechanician in General Telegraph Offices. Applicants will be required to
undergo written and oral examination to demonstrate their qualifications.

        3.


                                                          IN
               Superintendent Communications will select from the applicants, employes for
training. However, when none of the applications received in response to the bulletins are
acceptable to the Superintendent Communications, the assignments to the bulletined vacancies will
be made by the Superintendent Communications by the employment of other personnel. Accepted
personnel will be assigned 8 hours per day, 5 days per week exclusive of Saturday, Sunday and
holidays and compensated at the rate of $2.8078 per hour.
                                      AV
        4.    An employe selected for this training shall be considered on leave of absence from
his assignment.

        5.       Employes who are not considered qualified to continue in the training program, will
revert to their assigned positions.
                       P-

        6.      Employes who have completed the training program must accept assignment of
Traveling Relief Chief Operator Printer Mechanician when such positions are available. If no
position is available, employe will return to former assignment, or if no former assignment, to the
extra board. However, when a position as Traveling Relief Chief Operator Printer Mechanician
becomes available, the employe will be required to accept assignment to such position.
             U



        7.        Employes assigned to training program may bid for positions bulletined while in
training but, if successful, will not be placed on the position unless released by the Superintendent
Communications.




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       This agreement shall be effective March 11, 1966, and shall continue in effect thereafter
subject to change or termination upon thirty days written notice served by either party upon the
other.

       Dated at Omaha, Nebraska, this 11th day of March, 1966.

FOR THE EMPLOYES:                                   FOR THE CARRIER:

F. V. GOLDSMITH                                     N. T. DELONG
General Chairman                                    Asst. to Vice President­
                                                    South-Central District

APPROVED:


S. Z. PLACKSIN                                      C. O. JETT
Vice President                                      Superintendent Communications




                                                                      A
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    CONFIDENTIAL
      Case 4:19-cv-00480-RK                                            UP-AVINA-002343
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                                                                                         APPENDIX "J"

                                                                                       Traveling Relief
                                                                                       Chief Operators

                                          AGREEMENT

                                                between

                              UNION PACIFIC RAILROAD COMPANY

                                     (Eastern, South-Central and
                                       Northwestern Districts)

                                                  and

                  TRANSPORTATION-COMMUNICATION EMPLOYEES UNION

               TRAVELING RELIEF CHIEF OPERATOR PRINTER MECHANICIAN

      1.      It is agreed that positions of Traveling Relief Chief Operator Printer Mechanician will




                                                                            A
be established at General Telegraph offices to be designated by the Superintendent
Communications to provide relief and fill vacancies in General Telegraph Offices as required.

        2.       The assignment to the position of Traveling Relief Chief Operator Printer



       3.                                                   IN
Mechanician will be made by the Superintendent Communications from employes who have
satisfactorily completed training under the program for training Chief Operator Printer Mechanicians.

               When available for duty at assigned headquarters and not filling a vacancy, the
incumbent of the Traveling Relief Chief Operator Printer Mechanician will be compensated for 8
hours per day at the Assistant Chief Operator Printer Mechanician rate in General Telegraph Offices
                                        AV
where classification exists, and at the Chief Operator Printer Mechanician rate at other offices for
each calendar day not to exceed 40 hours per work week. Work week shall mean a period of seven
consecutive days starting with Monday.

         4.      The senior incumbent of the Traveling Relief Chief Operator Printer Mechanician
position will be required to accept assignment to the first bulletined vacancy in that general telegraph
office for which no application from qualified employe is received.
              P-


          5.     Employes assigned underthe preceding paragraph to bulletined positions in General
Telegraph Offices on seniority districts other than the district on which they hold seniority will be
considered on leave of absence from their own seniority district and will accumulate seniority on that
district to which assigned; provided employes so assigned shall have the right to bid for positions in
General Telegraph Offices on their home seniority district until they secure a position; provided
             U



further that any employe who fails to bid on a vacancy in a General Telegraph Office on his home
seniority district will have his seniority on such district terminated. Should an employe be a
successful bidder on his home seniority district, his seniority on other than his home seniority district
will thereafter be terminated.




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       6.     Fifteen calendar days notice will be required to affect change in headquarters.

       This agreement shall be effective March 11, 1966, and shall continue in effect thereafter
subject to change or termination upon thirty days written notice served by either party upon the
other.

       Dated at Omaha, Nebraska, March 11, 1966.

FOR THE EMPLOYES:                                   FOR THE CARRIER:

F. V. GOLDSMITH                                     N. T. DELONG
General Chairman                                    Asst. to Vice President-ED

A. S. HERRERA                                       F. C. WOOD
General Chairman                                    Asst. to Vice President-SCD

                                                    N.B.BECKLEY
                                                    Asst. to Vice President­
                                                    Northwestern District
APPROVED:




                                                                      A
S. Z. PLACKSIN                                      C. O. JETT
Vice President                                      Superintendent Communications

(Revised effective 5-16-80)



                                                       IN
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      Case 4:19-cv-00480-RK                                            UP-AVINA-002345
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                                                                                        APPENDIX "K"

                                                                                      Filling Vacancies
                                                                                    Managers, General
                                                                                     Telegraph Offices

                                          AGREEMENT

                                                between

                              UNION PACIFIC RAILROAD COMPANY

                                     (Eastern, South-Central and
                                       Northwestern Districts)

                                                  and

                 TRANSPORTATION-COMMUNICATION EMPLOYEES UNION

                         MANAGERS, GENERAL TELEGRAPH OFFICES




                                                                            A
        1.       Vacancies in position of Manager, General Telegraph Office, will be bulletined on
office bulletin and the senior qualified applicant will be placed on the position, but will be considered
on temporary assignment for a period not exceeding 90 days.

         2.
                                                             IN
                 If at any time prior to the expiration of the 90-day period set forth in Paragraph 1,
Superintendent Communications considers the applicant has amply demonstrated that he is
qualified for the position, or if the Superintendent Communications takes no action in 90 days, the
assignment will become permanent. If the Superintendent Communications determines at any time
prior to the expiration of the 90-day period set forth in Paragraph 1 that the applicant is not or cannot
                                        AV
become qualified, the assignment will be annulled and the applicant will revert to his former
assignment.

       3.     Before an applicant is removed from such temporary assignment, the Superintendent
Communications will confer with the General Chairman and review the reasons why applicant is not
considered qualified. However, the final decision as to the applicant's qualification will be made by
the Superintendent Communications.
                         P-


       4.      This agreement shall be effective March 11, 1966, and shall continue in effect
thereafter subject to change or termination upon thirty days written notice served by either party
upon the other.
             U



        Dated at Omaha, Nebraska, March 11, 1966.

FOR THE EMPLOYES:                                       FOR THE CARRIER:

F. V. GOLDSMITH                                         N. T. DELONG
General Chairman                                        Asst. to Vice President-ED




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A.S.HERRERA                        F. C. WOOD
General Chairman                   Asst. to Vice President-SCD

                                   N. B. BECKLEY
                                   Asst. to Vice President­
                                   Northwestern District
APPROVED:

S. Z. PLACKSIN                     C. O. JETT
Vice President                     Superintendent Communications




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     Case 4:19-cv-00480-RK                              UP-AVINA-002347
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                                                                                    APPENDIX "L"




                                        AGREEMENT

                                           between the

                             UNION PACIFIC RAILROAD COMPANY

                                              and the

            BROTHERHOOD OF RAILWAY, AIRLINE AND STEAMSHIP CLERKS,
                        FREIGHT HANDLERS, EXPRESS
                           AND STATION HELPERS

                                           UNIFORMS


       It is agreed as follows:




                                                                        A
        Section 1. "Uniforms" where used in this agreement shall be understood to mean a uniform
cap, coat or jacket, vest and trousers or anyone or more of such articles of wearing apparel, as
determined by the specifications prescribed by the Company in any given occupation, but the term


                                                         IN
"uniform" shall not include any article of wearing apparel used by the employes of the Company,
subject to this agreement, other than the articles hereinbefore specified.

       Section 2. So long as the Company requires certain employes included within the scope of
the agreement with the Brotherhood of Railway and Steamship Clerks, Freight Handlers, Express
                                      AV
and Station Employes to wear a uniform while on duty of specifications prescribed by the Company,
the Company will, from and after the effective date hereof, when it becomes necessary for such
employes to secure a new uniform, bear the entire cost of the cap at 50% of the cost of the balance
of such uniform, as the same is herein defined, not to exceed one per year.

         Section 3. All uniforms purchased in which the Company participates in the cost shall be in
conformity with specifications prescribed by the Company. Prior to the purchases of any uniforms
hereunder, in which the Company bears 50% of the cost as herein provided, the employe involved
                       P-


will sign an order authorizing the Company to deduct from his or her wages in not to exceed two
months following the date on which the uniform is secured, the said employe's 50% of the cost of
said uniform. The Company will pay the clothier direct the entire cost.

       Section 4. When new uniforms are purchased for employes who are required to wear
            U



uniform trousers, two pair may be obtained if desired on each such occasion. For seasons of
extreme hot weather, a coat of light material conforming with specifications may be purchased
separately by employes where the specifications of the Company require the wearing of a coat.

        Section 5. Employes subject to this agreement who are required to wear a uniform, as that
term is herein defined, will assume and pay the entire cost of shirts, neckties and shoes of a type
specified by the Company, to be worn while on duty.




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       Section 6. It is understood that uniforms will be worn only while on duty and they are not to
be used for other occasions when it can be avoided.

        Section 7. In the event it becomes necessary for an employe subject to this agreement to
buy more than one uniform per year in order to maintain a presentable appearance in the service in
which engaged, the entire expense of such additional uniforms in anyone year shall be bome by the
employe purchasing more than one uniform in anyone year; provided, however, that in case a
uniform becomes worn or damaged in service through no fault of the employe, the superintendent
may authorize the purchase of a replacement uniform on the same conditions as hereinbefore
specified.

        Section 8. The Company will supply, free of charge, badges as the Company by its
specifications may require to be work while on duty.

       Section 9. The Company will bear the cost of cleaning and pressing uniforms, reasonably
required to keep said uniforms in a neat and clean condition.

      Section 10.     The Company reserves the right to prescribe the type of uniform to be worn by
employes subject to the aforesaid agreement, at all times while on duty or to discontinue the use by
such employes, or any of them, of uniforms while on duty.




                                                                           A
       Section 11.     In the event the Company elects to discontinue its requirement that uniforms
be worn by any of the classes of employes covered by the aforesaid agreement, thereafter the
employes so affected will furnish, at their expense, appropriate clothing to be worn in the
performance of their duties and such discontinuance of requirement shall not be used as a basis by



                                                            IN
the employes for a request for an increase in their compensation.

        Section 12.      This Agreement shall take effect on the 1st day of January, 1949, and shall
continue in effect until terminated by written notice given by either party hereto to the other party on
any date in such notice stated, not less, however, than thirty days subsequent to the date of such
notice.
                                       AV
        Dated at Omaha, Nebraska, this 30th day of December, 1948.

UNION PACIFIC RAILROAD COMPANY:

By     A. J. VANDERCREEK
       Assistant Vice President-Personnel
              P-


Brotherhood of Railway and Steamship Clerks, Freight
Handlers, Express and Station Employes:

By     K. J. SALYARDS
             U



       General Chairman, Eastern District

By     J. R. GRAYSON
       General Chairman, Western District




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                                              APPENDIX "M"




               STANDARD FORMS TO BE USED

                  PURSUANT TO RULE 70

                 FOR ADMINISTERING THE

                    TCU AGREEMENT




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       SAMPLE                                                                                        FORM 1
                                            BULLETIN

(Advertising New Position or Vacancy)

                                                         Place                     ----=::-:­                  _
                                                          Date                         File,                     _
                                                          Bulletin No. ---:-,--­                                 _
                                                         Seniority Zone No.                                  _
TO EMPLOYEES CONCERNED:

       The following position is hereby advertised for applications or bids in accordance with
Rule 11 of this Agreement. Applications or bids must be submitted in duplicate to the official whose
name is signed to this bulletin no later than noon of the tenth day from date bulletin is posted. A
copy of the application must be furnished by the employee to the Local Chairman.

Location                                                                                                          .
Title Of Position                                                                                                 .
Rate of Pay                                                                                                       .
Wage Grade                                                                                                        .
Hours of Assignment.                                                                                              .




                                                                         A
Days of Assignment                                                                                                .
Days of Rest.                                                                                                     .
Meal Period Assignment                                                                                            .
New Position or Vacancy                                                                                          ..
Vacated by
Permanent or Temporary
Duration Temporary Period

Description of Duties
                                                         IN                                                       .
                                                                                                                  .
                                                                                                                  .

                                                                                                                   .
                                     AV
                                                         (Signed)                        ;-:-_'""""::"-:::-=--:---:
                                                                                         Name of Official


                                                                                                           Title
                        P-


cc:    To Local Chairman
cc:    General Chairman
            U




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        SAMPLE                                                                            FORM 2

                                            NOTICE

(Assignment of New Position or Vacancy of
       Thirty Days or More)

                                                      Place                ----==-                 _
                                                       Date                  File
                                                       Bulletin No.              ----­
                                                      Seniority Zone No.             _

TO EMPLOYEES CONCERNED:

        The following position, which was advertised undermy

Bulletin No                                                                                            .

Dated                                                                                                  .

Location                                                                                               .




                                                                   A
Title of Position                                                                                      .

has been awarded to                                                                          whose

former position was
                                                     IN
                                                      (Signed)                 ,.-,--_----=-=-=....,.-,
                                                                               Name of Official
                                                                                                       .
                                   AV
                                                                                                Title

cc:     To Local Chairman
cc:     General Chairman
                      P-
              U




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          SAMPLE                                                                                                            FORM 3

                                                                NOTICE

(Change in Starting Time or Rest Days)

                                                                                   Place                                _
                                                                                    Date                       File
                                                                                    Bulletin No.                   ----­
                                                                                   Seniority Zone No.                  _

TO EMPLOYEES CONCERNED:

          Position occupied by                                                                                                Title of

..........................................................................................................present assigned starting time

..................................................................with rest days                              is hereby changed
        AM or PM

effective                                         to start at                                                                 and/or




                                                                                                   A
rest days changed to                                                                                                                   .




                                                                                   IN
                                                                                   (Signed)                  -,:-:--_-:-:=-=--:-:
                                                                                                                 Name of Official


                                                                                                                                 Title
                                                      AV
cc:       To Local Chairman
cc:       General Chairman
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                  U




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        Case 4:19-cv-00480-RK                                                                UP-AVINA-002353
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           SAMPLE                                                                                                           FORM 4

                                                                  NOTICE

(Abolishing Positions or Reducing Forces)

                                                                              Place                ----=::--                              _
                                                                               Date                    File
                                                                               Bulletin No.                    ----­
                                                                              Seniority Zone No.                   _

TO EMPLOYEES CONCERNED:

           Position occupied by                                                                                               .Title of

................................................................ Rate                       Wage Grade                                        .

Located                                                                                            is abolished account




                                                                                            A
effective with termination of assignment on                                                                                                   .




                                                                              IN Date

                                                                              (Signed)
                                                                                                                                         _

                                                                                                    ---:,..,........_--:-:"....""......,.......,
                                                                                                           Name of Official
                                                         AV
                                                                                                                                     Title

cc:        To Local Chairman
cc:        General Chairman
                     P-
                    U




                                                                        122




        CONFIDENTIAL
          Case 4:19-cv-00480-RK                                                                   UP-AVINA-002354
                                                                        Document 70-3 Filed 03/15/21 Page 130 of 196
       SAMPLE                                                                                        FORM 5

                             UNION PACIFIC RAILROAD COMPANY

                                 Application for Bulletined Position


                                                       -:-----:-:                ----=:--:-_ _' 20_ _
                                                       Location


Mr.                                        _

       I hereby make application forthe following position:

Position Bulletin No                           Date                                                 , 20         .

Position                                                                                                         .

Location                                                                     Rate. . . . . . . . . . . . . . . . .




                                                                           A
My qualifications forthis position are as follows:                                                               .




                                                             IN                  Signature of Applicant
                                      AV
                                                                Seniority Date                               _


cc:    To Local Chairman
                       P-
            U




                                                 123




      CONFIDENTIAL
        Case 4:19-cv-00480-RK                                             UP-AVINA-002355
                                                Document 70-3 Filed 03/15/21 Page 131 of 196
         SAMPLE                                                                  FORM 6

                                       NOTICE OF
                              TEMPORARY POSITION OR VACANCY

                                  Rule 12(c) - TCU Agreement


                                                               12(c) Notice No           .
                                                                    or Job No            .


Title of Position                                                                        .

Hours of Assignment.                                                                     .

Rest Days                                                                                .

Rate of Pay                                             Wage Grade                       .

First day position to be filled                                                          .




                                                                A
Duration                                                                                 .




                                                     IN                   Name of Official


                                                                                     Title
                                    AV
Posted               M                , 20__


cc:      To Local Chairman
                         P-
              U




                                             124




      CONFIDENTIAL
        Case 4:19-cv-00480-RK                                         UP-AVINA-002356
                                            Document 70-3 Filed 03/15/21 Page 132 of 196
       SAMPLE                                                                             FORM?

                            UNION PACIFIC RAILROAD COMPANY
                                    APPLICATION FOR
                          TEMPORARY 12(c) POSITION OR VACANCY
                                    TCU AGREEMENT


                                                        _ _ _ _ _ _ _ _ _ _ _ _, 20
                                                        Location

                                                        (TIME)                   (AM OR PM)

Mr.                                        _

        I hereby make application for the following position:

12(c) Notice No                                                  Date                     ,20        .

Position                                                                                             .




                                                                        A
Location                                         Rate                   Wage Grade                   .


My qualifications for this position are as follows:



                                                          IN
                                       AV
                                                                             Signature of Applicant

                                                            Seniority Date                       _
                        P-


cc:    To Local Chairman
            U




                                                  125




      CONFIDENTIAL
        Case 4:19-cv-00480-RK                                              UP-AVINA-002357
                                                 Document 70-3 Filed 03/15/21 Page 133 of 196
        SAMPLE                                                                                 FORM 8

                                    ASSIGNMENT
                            TEMPORARY POSITION OR VACANCY

                               RULE 12(c) - TCU AGREEMENT


                                                       Place
                                                       Date --------=F:7'"ile----­
                                                        Bulletin No.                                    _
                                                       Seniority Zone No.                               _

TO EMPLOYEES CONCERNED:

        The following temporary position, which was advertised under Rule 12(c)

No                                                                                                           .

Dated                                                                                                        .

Location                                                                                                     .




                                                                    A
Title of position                                                                                            .

has been awarded to

former position was
                                                      IN
                                                       (Signed)
                                                                                                  whose

                                                                                                             .


                                                                            ----.,...,....-_-:-::-:::-,......,.
                                    AV
                                                                                 Name of Official


                                                                                                      Title

cc:     To Local Chairman
              P-
             U




                                              126




      CONFIDENTIAL
        Case 4:19-cv-00480-RK                                          UP-AVINA-002358
                                             Document 70-3 Filed 03/15/21 Page 134 of 196
       SAMPLE                                                                             FORM 9

                            EMPLOYEE'S REQUEST TO DISPLACE


                                                       -:------:-:             ---:::--_ _' 20_ _
                                                        Location


            (Supervisor)


        On account                                                                                  .



desire to exercise my seniority rights by displacing                                             ..



on Job No                                                                                           .




                                                                         A
at                                                                                                  .




APPROVED:
                                                           IN Seniority Date
                                                                                          (Signed)

                                                                                                _
                                     AV
cc:     Local Chairman
cc:     Employee affected
             P-
            U




                                                127




      CONFIDENTIAL
        Case 4:19-cv-00480-RK                                            UP-AVINA-002359
                                               Document 70-3 Filed 03/15/21 Page 135 of 196
       SAMPLE                                                                                FORM 10

                                         FILING ADDRESS

                                      Rule 18 TCU Agreement



                                                   _ _ _ _ _ _ _ _ _ _ _ _, 20__
                                                     Location        Date

_ _ _=-           "....,..,..                (2 copies)
     (Bulletining Officer)


                                     Check all applicable boxes

Account displaced close of shift                                                             20        .

I am filing my address in accordance with Rule 18.




                                                                               A
o      I elect to be recalled for bulletined position in the Seniority Zone.


o


o

o
       I elect to be recalled for bulletined position only at


                                                                IN              (Location)

       I desire to return to service on positions or vacancies of less than 30 days duration.

       Furloughed in accordance with the provisions of Job Protection Agreement as amended
                                                                                                       .
                                        AV
       effective July 31, 2006.


                                                                               (Signature of Employee)


                                                                  (Address                        Phone)
               P-


cc:    To Local Chairman (2 copies)
              U




                                                 128




      CONFIDENTIAL
        Case 4:19-cv-00480-RK                                                UP-AVINA-002360
                                                   Document 70-3 Filed 03/15/21 Page 136 of 196
       SAMPLE                                                                              FORM 11

                                   CHANGE OF ELECTION

                                    Rule 18 TCU Agreement



                                                    -:------:-:               ----=:--:-_ _' 20 _ _
                                                    Location                    Date

_ _ _:=--::--:-:-:------:=_:-­            (2 copies)
        (Bulletining Officer)

Cancel my election of                                                                      .for recall:
                                                    (Date)


I nowdesire to be recalled only to Bulletined Positions in Zone No                                   ..

I am (am not) available for temporary vacancies of lessthan 30 daysat                                 .




                                                                         A
                                                             IN   (Address
                                                                             (Signature of Employee)


                                                                                              Phone)
                                      AV
                                                                                  Social Security No.


cc:    To Local Chairman (2 copies)
              P-
             U




                                              129




      CONFIDENTIAL
        Case 4:19-cv-00480-RK                                            UP-AVINA-002361
                                               Document 70-3 Filed 03/15/21 Page 137 of 196
           SAMPLE                                                                                                         FORM 12
                                           Form to be used by Employee Requesting
                                               Bulletins in other Seniority Zones

Applications must be made to officer designated to administer bulletin process in another Zone, with
copy to the Bulletining Officer and Supervising Officer in the Zone in which currently employed, and
the applicable Local and General Chairman.


                                                                                                            (Date)
                                    (Name, Position and Location of Bulletining Officer)

      I desire to receive copies of bulletins as provided by Rule 15 of Agreement with the
Transportation Communications Union for the position in Zone No                                                                    .

           I am now employed on the position of                                                                                   ..

............................................................................................. at.                                  .
                                                                                                                     (Location)
Zone No                         , and hold seniority date                                                                     I have

held the following positions:                  (insert clerical, stenographic, typist, comptometer operator, or other




                                                                                                       A
                                                       positions held).




                                                                                         IN         (Signature of Applicant)


                                                                                                    (Social Security No.)
                                                          AV
                                                                                                    (Home Address)


                                                                                                    (Home Phone)
                                   P-

                                                                                                    (Company Phone)
cc:        Supervising Officer
cc:        Bulletining Officer in Zone where employed
cc:        To Local Chairman
cc:        To General Chairman
                   U




                                                                          130




      CONFIDENTIAL
        Case 4:19-cv-00480-RK                                                                      UP-AVINA-002362
                                                                         Document 70-3 Filed 03/15/21 Page 138 of 196
        SAMPLE                                                                               FORM 13

                                ESTABLISHMENT OF SENIORITY



                                                _-,_-::-                     --:::--,--_ _' 20__
                                                   Location                    Date


Mr.                                     _
               (General Chairman)

Dear Sir:

        In accordance with the provisions of Rule 5 (Seniority Rosters), this is to advise

that since the first of                                   , 20       , new employees were hired on

Seniority Zone                        '" (                              ),   together with the other
                                    Name of Department




                                                                         A
data required by Rule 5 as shown below:

                               1.     Name
                               2.     Home Address
                               3.
                               4.
                               5.                         IN
                                      Location of Employment
                                      Date first service performed
                                      Seniority Zone Roster Employed


                                                          (Signed)                             _
                                       AV
                                                                                   Name of Official


                                                                                                Title
                          P-
              U




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      CONFIDENTIAL
        Case 4:19-cv-00480-RK                                             UP-AVINA-002363
                                                Document 70-3 Filed 03/15/21 Page 139 of 196
                                                                                   APPENDIX "N"


                                                                                     April 30, 1980

                                                                                   E-013-297-1-S
Mr. D. D. Willey
General Chairman, BRAC
216 Barker Building
Omaha, Nebraska 68120

Mr. P. J. Meier
General Chairman, BRAC
2087 Belaire Drive
Salt Lake City, Utah 84109

Gentlemen:

       This has reference to our discussion in conference today concerning the updating of the
schedule agreement and with particular reference to the application of Rule 40 when the incumbents
of a number of identically titled positions with identical duties are worked on a holiday.




                                                                       A
          It is understood in such cases the senior employes on each shift shall have preference in
filling such positions.




                                                        IN
                                                     Yours truly,


                                                     151 P. A. JORDAN
                                                     Vice President
                                                     Labor Relations and Personnel
                                     AV
151 D. D. WILLEY
General Chairman

151 P. J. MEIER
General Chairman

APPROVED:
                      P-


151 F. J. KROLL
International President
             U




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    CONFIDENTIAL
      Case 4:19-cv-00480-RK                                             UP-AVINA-002364
                                              Document 70-3 Filed 03/15/21 Page 140 of 196
                                                                                     APPENDIX "0"


                                                                                       April 30, 1980

                                                                                      E-013-297-1-S
Mr. D. D. Willey
General Chairman, BRAC
216 Barker Building
Omaha, Nebraska 68120

Mr. P. J. Meier
General Chairman, BRAC
2087 Belaire Drive
Salt Lake City, Utah 84109

Gentlemen:

        This has reference to our discussion in conference today concerning the updating of the
Schedule Agreement and with particular reference to the provisions of Section 3 of Rule 40 which
sets forth the qualifying requirements for holiday pay.




                                                                          A
        This will confirm our advice to you and our understanding that since the changes made in
November 1975 to eliminate holidays in determining the hourly and daily rates of monthly-rated
positions, the qualifying requirements as set forth in Section 3 of Rule 40 are not applicable to such

the hourly and daily rates of monthly-rated positions.

                                                          IN
employes and such provisions will remain inapplicable so long as this method is used in determining

                                                        Yours truly,


                                                       lSI P. A. JORDAN
                                      AV
                                                       Vice President
                                                       Labor Relations and Personnel
lSI D. D. WILLEY
General Chairman

lSI P. J. MEIER
General Chairman
              P-


APPROVED:

lSI F. J. KROLL
International President
             U




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    CONFIDENTIAL
      Case 4:19-cv-00480-RK                                               UP-AVINA-002365
                                                Document 70-3 Filed 03/15/21 Page 141 of 196
                                                                                      APPENDIX "P"

                                            May 1,1980
                                                                                      E-013-297-1-S
Mr. D. D. Willey
General Chairman, BRAC
216 Barker Building
Omaha, Nebraska 68120

Mr. P. J. Meier
General Chairman, BRAC
2087 Belaire Drive
Salt Lake City, Utah 84109

Gentlemen:

        This has reference to our discussion in conference March 25, 1980, relating to formal
training programs, similar to the training established for General Clerk procedures in yard offices.

       With respect to the training of employees who exercise seniority rights to positions subject to
a formal training program, it is agreed:




                                                                           A
            1.     An employee with the fundamental knowledge of job-related technical skills
    who makes application for or exercises seniority to a position requiring such skills may be
    given a test to determine the employee's level of skills. An employee having sufficient



            2.                                              IN
    fitness and ability as defined by Rule 8 will be given training for a maximum of thirty (30)
    working days.

                    An employee who demonstrates reasonable progress will be placed in a
    formal training program for a reasonable period of time up to eight (8) weeks, or longer at
    the discretion of the immediate supervisor.
                                        AV
             3.     In the event an employee fails to demonstrate reasonable progress, orwhen
    it is obvious an employee will be unable to qualify, such employee may be disqualified
    pursuant to the provisions of Rule 20(b).

            4.     After successful completion of the formal training program, the employee
    will be assigned to the position subject to the provisions of Rules 8 and 20.
                         P-
              U




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      CONFIDENTIAL
        Case 4:19-cv-00480-RK                                              UP-AVINA-002366
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        5.      It is the Company's intent to apply the term "qualifications" as broadly as
possible in order to enable an employee who is reasonably qualified, after completion of
the training program an opportunity to demonstrate ability to perform and assume the
duties and responsibilities of the position.

                                              Yours truly,


                                              lSI P. A. JORDAN
                                              Vice President
                                              Labor Relations and Personnel
lSI D. D. WILLEY
General Chairman

lSI P. J. MEIER
General Chairman

APPROVED:

lSI F. J. KROLL
International President




                                                                   A
                                                     IN
                                 AV
                  P-
       U




                                           135




CONFIDENTIAL
  Case 4:19-cv-00480-RK                                             UP-AVINA-002367
                                          Document 70-3 Filed 03/15/21 Page 143 of 196
                                                                                    APPENDIX "Q"

                                                                                 October 12, 1993
                                                                                            297-1
Mr. J. L. QUilty
General Chairman, TCU
2820 South 87th Avenue
Omaha, NE 68124

Dear Sir:

          This has reference to the agreement dated May 17, 1980 in disposition of the Scope Rule
Notice.

        The Carrier will advise the Organization of any position listed in Attachment 2 which, upon
conversion, will be designated as All Services Rendered (ASR). Other than this, however, the
establishment of additional ASR positions will require an agreement between the parties.

        It is understood that all future wage adjustments for ASR positions will be made in
accordance with the formula set forth in the National Salary Plan. Rate of pay adjustments on such
positions will be subject to the provisions of Rule 26 of the Agreement.




                                                                        A
                                                      Yours truly,




AGREED:
                                                          IN
                                                      D. D. MATTER
                                                      Senior Director, LR/Non-Ops
                                       AV
J. L. Quilty
General Chairman

APPROVED:
                         P-


J. L. Gobel
International Vice President, TCU
               U




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     CONFIDENTIAL
       Case 4:19-cv-00480-RK                                              UP-AVINA-002368
                                                Document 70-3 Filed 03/15/21 Page 144 of 196
                                                                                    APPENDIX "R"

                                                                                  October 12,1993
                                                                                            297-1
Mr. J. L. Quilty
General Chairman, TCU
2820 South 87th Avenue
Omaha, NE 68124

Dear Sir:

          This has reference to the agreement dated May 17, 1980 in disposition of the Scope Rule
Notice.

      This will confirm our understanding today that the method of adjusting the rate of pay for 1-A
(ASR positions) will be in accordance with the formula set forth in the National Salary Plan.

                                                      Yours truly,




                                                                        A
                                                      D.D.MATTER
                                                      Senior Director, LR/Non-Ops
AGREED:



J. L. Quilty
General Chairman

APPROVED:
                                                         IN
                                      AV
J. L. Gobel
International Vice President, TCU
               P-
              U




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    CONFIDENTIAL
      Case 4:19-cv-00480-RK                                              UP-AVINA-002369
                                               Document 70-3 Filed 03/15/21 Page 145 of 196
                                                                                       APPENDIX "S"

                                                                                        May 12,1980
                                                                                       E-013-297-1-S
Mr. D. D. Willey
General Chairman, BRAC
216 Barker Building
Omaha, Nebraska 68120

Mr. P. J. Meier
General Chairman, BRAC
2087 Belaire Drive
Salt Lake City, Utah 84109

Gentlemen:

          This has reference to the Agreement dated April 17, 1980 in disposition of your Scope Rule
Notice.

       The Carrier will notify the Organization when a position listed for conversion is abolished
when vacated. The notification will include date of abolishment, a description of the position by title




                                                                          A
and location, and disposition of the work formerly assigned to the abolished position.
                                                      Yours truly,




lSI D. D. WILLEY
General Chairman
                                                           IN
                                                       lSI P. A. JORDAN
                                                       Vice President
                                                       Labor Relations and Personnel
                                       AV
lSI P. J. MEIER
General Chairman

APPROVED:

lSI F. J. KROLL
International President
                         P-
              U




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    CONFIDENTIAL
      Case 4:19-cv-00480-RK                                               UP-AVINA-002370
                                                Document 70-3 Filed 03/15/21 Page 146 of 196
                                                                                    APPENDIX "T"


                                                                                October 12, 1993
                                                                                           297-1
Mr. J. L. Quilty
General Chairman, TCU
2820 South 87th Avenue
Omaha, NE 68124

Dear Sir:

          This has reference to the Agreement dated April 17, 1980 in disposition ofthe Scope Rule
Notice.

        This will confirm our understanding that the titles of those D-2 positions marked for
reclassification will be subject to change upon reclassification.

                                                      Yours truly,




                                                                        A
                                                      D.D.MATTER
                                                      Senior Director, LR/Non-Ops
AGREED:



J. L. Quilty
General Chairman
                                                          IN
                                       AV
APPROVED:



J. L. Gobel
International Vice President, TCU
                         P-
               U




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     CONFIDENTIAL
       Case 4:19-cv-00480-RK                                              UP-AVINA-002371
                                                Document 70-3 Filed 03/15/21 Page 147 of 196
                                                                                       APPENDIX "U"

                                                                                         April 29, 1981

Mr. D. D. Willey
General Chairman, BRAC
216 Barker Building
Omaha, Nebraska 68120

Mr. P. J. Meier
General Chairman, BRAC
2087 Belaire Drive
Salt Lake City, Utah 84109

Gentlemen:

       This has reference to the provisions of Rule 12 of Agreement as amended May 16, 1981,
and with particular reference to Rule 12 relating to the filling of short vacancies.

         As a matter of clarification, it is not intended to change existing practices in posting andlor
filling short vacancies described in Rule 12. Existing practices, however, may be changed by local
understandings to accommodate changing conditions.




                                                                            A
                                                        Yours truly,




151 D. D. WILLEY
General Chairman, BRAC
                                                            IN
                                                        151 R. D. ROSENBOHM
                                                        Director Labor Relations/Non-Ops
                                        AV
151 P. J. MEIER
General Chairman, BRAC
                        P-
             U




                                                  140




     CONFIDENTIAL
       Case 4:19-cv-00480-RK                                                UP-AVINA-002372
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                                                                                    APPENDIX "V"



                      ADDENDUM TO DUES DEDUCTION AGREEMENT

                                             between

                            UNION PACIFIC RAILROAD COMPANY

                                                and

             BROTHERHOOD OF RAILWAY, AIRLINE AND STEAMSHIP CLERKS
               FREIGHT HANDLERS, EXPRESS AND STATION EMPLOYES

         In accordance with the provisions of Article X of the National Agreement signed January 13,
1979, between Carriers represented by the National Railway Labor Conference and the employes of
said Carriers represented by the Brotherhood of Railway, Airline and Steamship Clerks, Freight
Handlers, Express and Station Employes, the parties hereby amend the Dues Deduction Agreement
of September 20, 1973, to the extent necessary to provide for the deduction of employes' voluntary
political contributions on the following terms and bases:




                                                                          A
        1(a)   Subject to the terms and conditions hereinafter set forth, and in accordance with the
September 20, 1973 Dues Deduction Agreement, the Carrier will deduct from the wages of
employes voluntary political contributions upon their written authorization in the form (individual



        (b)
                                                           IN
authorization form) agreed upon by the parties hereto, copy of which is attached, designated
"Attachment A" and made a part hereof.

                Voluntary political contributions will be made monthly from the compensation of
employes who have executed a written authorization providing for such deductions. The first such
                                       AV
deduction will be made in the month following the month in which the authorization is received.
Such authorization will remain in effect for a minimum of twelve (12) months and thereafter until
cancelled by thirty (30) days advance written notice from the employe to the Brotherhood and the
Carrier by Registered Mail. Changes in the amount to be deducted must be on the same basis as
provided in the September 20, 1973 Dues Deduction Agreement and will be limited to no more often
than once every three months.

          2.    The General Chairman or his designated representative shall furnish the Carrier an
               P-


initial statement (Attachment B) by lodges, in alphabetical order and certified by him, showing the
amounts of deductions to be made from each member, such statement to be furnished together with
individual authorization forms to cover, and payroll deductions of such amounts will commence in
the month immediately following. Subsequent monthly deductions will be based on the initial
statement plus a monthly statement (Attachment C) showing additions and/or deletions furnished in
              U



the same manner as the initial statement required hereinabove. If no changes are reported, the
most recent list on file with the Carrier shall be used for the purpose of this section.




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      CONFIDENTIAL
        Case 4:19-cv-00480-RK                                              UP-AVINA-002373
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       3.      Monthly voluntary political contribution deductions will be made from wages at the
same time (accidentally deleted - need to fill in this sentence) paycheck. The following payroll
deductions will have priority over deductions covered by this agreement:

       (a)     Federal, state and municipal taxes, and other deductions required by law, including
               garnishments and attachments and any other prior liens which the Carrier must
               respect.

       (b)     Amounts due the Carrier.

       (c)     Union Pacific Railroad Employes Hospital Association; and premiums on group
               insurance plans.

       (d)     BRAC membership dues.

         4.     Concurrent with making remittance to the Organization of monthly membership dues,
the Carrier will make separate remittance of voluntary political contributions to the
Secretary-Treasurer ofthe Railway Clerks Political League, together with a list prepared in triplicate
for each General Chairman and the Secretary-Treasurer of the Railway Clerks Political League and
containing an alphabetical listing of the names, social security account numbers, or payroll
identification numbers, amount of deductions and the total amount of deductions made by each




                                                                          A
General Chairman's constituents.

        5.     The requirements of this agreement shall not be effective with respect to any
individual employe until the employer has been furnished with a written authorization of assignment
of wages of such monthly voluntary political contribution.



FOR:
BROTHERHOOD OF RAILWAY, AIRLINE
                                                           IN
       Signed at Omaha, Nebraska this 23rd day of April, 1979:

                                                              FOR:
                                                              UNION PACIFIC
                                       AV
AND STEAMSHIP CLERKS, FREIGHT                                 RAILROAD COMPANY
HANDLERS, EXPRESS AND STATION EMPLOYES

General Chairman,                                             Vice President-Labor
Eastern District                                              Relations

General Chairman,                                             Director Labor
              P-

Western District                                              Relations-System
             U




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     CONFIDENTIAL
       Case 4:19-cv-00480-RK                                               UP-AVINA-002374
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                                                                                      ATTACHMENT A


                              VOLUNTARY PAYROLL DEDUCTIONS

                             RAILWAY CLERKS POLITICAL LEAGUE


TO:




                       SPACE FOR LABEL SHOWING NAME, ADDRESS,
                        SYSTEM BOARD AND LOCAL LODGE NUMBER.



               Department                                                        Work Location


       I hereby authorize and direct my employes                                                    ,




                                                                             A
to deduct from my pay the sum of $                   for each month in which compensation is due
me, and to forward that amount to the Railway Clerks Political League. This authorization is
voluntarily made on the specific understanding that the signing of this authorization and the making



                                                              IN
of payments to the Railway Clerks Political League are not conditions of membership in the Union or
of employment with the Carrier' that the Railway Clerks Political League will use the money it
receives to make political contributions and expenditures in connection with Federal, State and
Local elections.

        It is understood that this authorization will remain in effect for a minimum of 12 months; and,
                                       AV
thereafter, I may revoke this authorization at any time by giving the Carrier and the Brotherhood 30
days advance written notice of my desire to do so.

                                                              Signed at                              _

                                                       This           dayof                       , 20_.
                        P-


                                                                          (personal signature)


                                                                          (Social Security No.)
             U




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      CONFIDENTIAL
        Case 4:19-cv-00480-RK                                              UP-AVINA-002375
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                                                                                      APPENDIX "W"




                                                Rule 48

                                        TRAIN ORDERS
                   (Not Applicable on The Texas and Pacific Railway Company)



        (a)    No other employee except train dispatcher, and those covered by this Agreement, will
be permitted to handle train orders, except that in an emergency the conductor may copy a train
order from the train dispatcher and if there be a telegrapher employed at the point where the
conductor copied the order, he (the telegrapher) will be paid a call (three hours at the pro rata hourly
rate).

          (b)  Emergency as herein specified shall include casualties or accidents, engine or
equipment failures, wrecks, obstruction of tracks, washouts, tornadoes, storms, slides, high water or




                                                                            A
unusual delays due to hot boxes or breaks-in-two that could not have been anticipated by the
dispatcher before train departed from last open train order office which would result in serious delay
to traffic.

         (c)


       (d)                                                   IN
               It is recognized that radio facilities constitute another media of communication similar
to the telephone, and that this agreement applies regardless of the method of communication used.

               When train orders, or communications which serve the purpose of train orders, are
handled by persons other than covered by this agreement and train dispatchers at locations where
no employee covered by this agreement is employed, other than under the exceptions set forth in
                                        AV
paragraph (b) above, a telegrapher designated by the division chairman will be allowed a call- three
hours at the minimum telegrapher pro rata rate applicable on the seniority district.
               P-
              U




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      CONFIDENTIAL
        Case 4:19-cv-00480-RK                                               UP-AVINA-002376
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                                           RULE 48-A
                                        TRAIN ORDERS
                   (Applicable on The Texas and Pacific Railway Company only)

         (1)     No employee other than covered by this Agreement and train dispatchers will be
permitted to handle train orders at telegraph or telephone offices where an operator is employed and
is available or can be promptly located, except in an emergency, in which case the telegrapher will
be paid for the call. The employee entitled to call will be notified.

        (2)     A telegrapher will be called to handle train orders and instructions pertaining to the
operation of a work train typing up or leaving from a station where a telegrapher is employed, but not
on duty. The telegrapher will be paid in accordance with the call rule.

        (3)      Should non-telegraph agents be used to handle train orders on any day, they will be
paid for eight (8) hours' service for that day at the minimum Agent Telegrapher's rate on the Division.

        (4)      If instructed by Train Dispatcher or other authority to clear train or trains before going
off duty, leaving clearance card and/or orders in some specified place for those to whom addressed,
the employee shall be paid as provided in the call rule.

         (5)     If train orders are handled by persons other than those specified in Paragraph (1) of




                                                                             A
this rule in other than emergencies as defined in Paragraph (6) of this rule at a location where an
employee under this Agreement is not employed, a telegrapher to be designated by the District
Chairman will be allowed four hours' pay at the minimum Telegraphers' rate applicable on the
division. Four hours pay shall be applicable to each location in any consecutive four hour period



        (6)                                                  IN
regardless of the number of orders handled. The Carrier will notify the District Chairman of each
such train order handled with a copy to the General Chairman.

                Emergencies, as referred to in Paragraph (5) of this Article, shall include only
casualties or accidents, storms, engine failure, wrecks, obstruction to tracks, washouts, tornadoes,
slides, or unusual delays which could not have been anticipated by the Dispatcher when the train
                                        AV
was at the last previous open telegraph office, and which would result in serious delay to traffic.
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                                                   145




     CONFIDENTIAL
       Case 4:19-cv-00480-RK                                                UP-AVINA-002377
                                                  Document 70-3 Filed 03/15/21 Page 153 of 196
                                                                     ATTACHMENT 1

         EXCEPTED POSITIONS COVERED BY THE PROVISIONS OF RULE 1(d-1)

                                     Accounting Department

     POSITION                                  LOCATION

Sec. to the Assistant Controller               Omaha
Supervising JF Auditor                         Omaha
Semi-Sr. JF Auditor (6)                        Omaha
Semi-Sr. JF Auditor                            Spring

                                    Engineering Department

     POSITION                                  LOCATION

Secretary to Chief Engineer                    Omaha




                                                                     A
                                    Information Technologies

     POSITION                                  LOCATION

Project Director (39)
Project Development Dev. Adm.
Supv. COIN Systems (5)
                                               Omaha
                                               Omaha
                                               Omaha
                                                        IN
                                      AV
Sched. & Cont. Supervisor Supv.                Omaha
EDPO Supv. (4)                                 Omaha
Supv. Data Rec. (5)                            Omaha
Supv. Word Proc.                               Omaha

                              Labor Relations/Personnel Department
                        P-

     POSITION                                  LOCATION

Secretary to E.A.P.                            Omaha

                                       Marketing & Sales
             U



     POSITION                                  LOCATION

Administrator Regional Sales                   Chicago
Administrator Regional Sales                   San Francisco
Administrator Regional Sales                   Los Angeles




                                              146




      CONFIDENTIAL
        Case 4:19-cv-00480-RK                                            UP-AVINA-002378
                                               Document 70-3 Filed 03/15/21 Page 154 of 196
Administrator Regional Sales   Portland
Administrator Regional Sales   Seattle
Administrator Regional Sales   Omaha
Administrator Regional Sales   Kansas City
Administrator Regional Sales   Salt Lake City
Administrator Regional Sales   Boise
Administrator Regional Sales   Denver
Asst. to GDS (E-W) (2)         Omaha
Asst. Mgr. District Sales      Southfield
Asst. Mgr. District Sales      Portland
Asst. Mgr. District Sales      Chicago
Asst. Mgr. District Sales      Los Angeles
Asst. Mgr. District Sales      Seattle
Asst. to Reg. Sales Mgr.       Boise
Asst. to Reg. Sales Mgr.       Chicago
Asst. to Reg. Sales Mgr.       Dallas
Asst. to Reg. Sales Mgr.       Denver
Asst. to Reg. Sales Mgr.       Detroit
Asst. to Reg. Sales Mgr.       Houston




                                                A
Asst. to Reg. Sales Mgr.       Kansas City
Asst. to Reg. Sales Mgr.       Little Rock
Asst. to Reg. Sales Mgr.       Los Angeles
Asst. to Reg. Sales Mgr.
Asst. to Reg. Sales Mgr.
Asst. to Reg. Sales Mgr.
Asst. to Reg. Sales Mgr.
Office Manager
                               Omaha


                                      IN
                               Salt Lake City
                               San Francisco
                               Seattle
                               Spring
                               AV
Office Manager                 Chicago
Office Manager                 Cincinnati
Office Manager                 Cleveland
Office Manager                 Dallas
Office Manager                 Denver
Office Manager                 Detroit
Office Manager                 Houston
                      P-


Office Manager                 Los Angeles
Office Manager                 Milwaukee
Office Manager                 Minneapolis
Office Manager                 New Orleans
                               Omaha (Agency)
             U



Office Manager
Office Manager                 Philadelphia
Office Manager                 Pittsburgh
Office Manager                 Portland
Office Manager                 St. Louis
Office Manager                 Salt Lake City
Office Manager                 Seattle




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     CONFIDENTIAL
       Case 4:19-cv-00480-RK                              UP-AVINA-002379
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Office Manager - Ind. Oev.             Omaha
Office Manager - Intermodal            Chicago
Office Manager - Intermodal            San Francisco
Office Manager - Intermodal Sales      Omaha
Office Manager Sales                   Minneapolis
Office Manager Sales                   Boston
Office Manager Sales                   Pittsburgh
Office Manager Sales                   S1. Louis
Office Manager Sales                   Cincinnati
Office Manager Sales                   Cleveland
Office Manager Sales                   Philadelphia
Office Manager Sales                   Milwaukee
Office Mgr. Intermodal Sales           San Francisco
Office Mgr. Intermodal Sales           Chicago
Office Mgr. Intermodal Sales           Los Angeles
Administrative Assistant               Omaha
Adm. Asst. Ind. Oev.&Staff Svcs. (2)   Omaha
Adm. Asst. Pro Mktg.&Comp.Res.         Omaha
Adm. Asst. - M.O.&E.S.&C. Sys.         Omaha




                                                       A
Asst. to Asst. Mgr. - Commerce         Omaha
Asst. to AFTM                          Portland
Asst. to ATM                           Los Angeles
Asst. to FPM-Com.
Asst. to FPM-Oiv.
Asst. to FPM-TCFB
Asst. to Genl. Sales Mgr. (4)
Asst. to Mgr. Oiv. & Rtg.
                                       Omaha
                                       Omaha
                                       Omaha
                                       Omaha
                                       Omaha
                                               IN
                                       AV
Asst. to Mgr. Rate Bureaus             Omaha
Asst. Pro Mgr.- Oereg. Perish.         Pocatello
Hd. Libr. Mktg. SVC.                   Omaha
Secretary to Sr. AVP Marketing         Omaha
Secretary to Sr. AVP Sales             Omaha
Secretary to AVP Sales                 Omaha
Sec. to Gen. Oir. Sales (E-W) (2)      Omaha
                       P-


Sec. to Gen. Sales Mgr. (P&A)          Omaha
Sec. to Gen. Sales Mgr. (2)            Omaha
Sec. to Sr.AVP Ind. Oev. & Staff Sv.   Omaha
Supv. Wrd. Proc.                       Omaha
Supv. Rate Quo. Bur.                   Omaha
             U



Tariff Pub. Ag1.                       Omaha
Tech. Servo Libr.                      Omaha




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     CONFIDENTIAL
       Case 4:19-cv-00480-RK                                     UP-AVINA-002380
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                                  Operating Department

     POSITION                                LOCATION

Chief Clerk (4)                              Omaha
Chief Clerk                                  North Platte
Secretary to CMO                             Omaha
Sr. Spec. Agency Operations                  Omaha
Supv. Cont. Jt. Facs. & Pol.                 Omaha
Data Field Coordinator                       Omaha

                                   Planning and Analysis

Secretary to Dir. BP&A                       Omaha


                               Public Relations & Advertising

Office Manager                               Omaha




                                                                A
                                    Supply Department

     POSITION

Material Manager (2)
Material Manager
Material Manager
                                             LOCATION

                                             Omaha
                                             Cheyenne
                                                      IN
                                             Kansas City
                                   AV
Material Manager                             Salt Lake City
Material Manager                             North Platte
Material Manager                             Pocatello
Office Manager                               Omaha
Secretary to VP P&M                          Omaha
                         P-
            U




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     CONFIDENTIAL
       Case 4:19-cv-00480-RK                                          UP-AVINA-002381
                                            Document 70-3 Filed 03/15/21 Page 157 of 196
                                                           AITACHMENT2

         EXCEPTED POSITIONS COVERED BY THE PROVISIONS OF RULE 1(d-2)

                                  Accounting Department

     POSITION                               LOCATION

Supvr. Accounts Receivable/1                Omaha
Sr. Res. Spec. Supvr. AAS Rates             Omaha
Supvr. Rates                                Omaha
Supvr. Accounts Rec.                        Omaha
Sr. Res. Spec.                              Omaha
Sr. Res. Spec.                              Omaha
Sr. Res. Spec.                              Omaha
Specialist                                  Omaha
Sr. Specialist                              Omaha
Supvr. Const. Accounting                    Omaha
Sr. Specialist                              Omaha




                                                           A
Secretary                                   Omaha




     POSITION

Asst. MW Oper. Coord. (6)
                                            LOCATION

                                            Omaha
                                                    IN
                                  Engineering Department
                                   AV
Cost Control Supervisor (2)                 Pocatello
Cost Control Supervisor (2)                 Los Angeles
Cost Control Supervisor                     Omaha
Sys. & Meth. Engineer (2)                   Omaha
Stat. Supvr.                                Omaha

                                    Marketing & Sales
                         P-


     POSITION                               LOCATION

Asst. to FPM - WTL                          Omaha
Asst. to FPM - WE                           Omaha
Asst. to AFPM - Chern.                      Omaha
             U



Chief Clerk                                 Kansas City
Asst. to AFPM                               Omaha
Asst. to AFPM - TOFC                        Omaha
Asst. to AFPM                               Omaha
Asst. to GFA - RT                           Salt Lake
Asst. to AFPM                               Omaha




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     CONFIDENTIAL
       Case 4:19-cv-00480-RK                                         UP-AVINA-002382
                                           Document 70-3 Filed 03/15/21 Page 158 of 196
Asst. to AFPM                                    Omaha
Asst. to AFPM                                    Omaha
Adm. Asst. S&S                                   Omaha
Sec. to Dir. Mkt. - Dev.                         Omaha
Sec. to GM-Pricing                               Omaha
Sr. Pricing Specialist (3)                       Omaha
Sec. to Group Mktg. Mgr. (9)                     Omaha
Asst. to Asst. Mgr.                              Omaha
Asst. to Asst. Mgr.                              Houston
Asst. to Genl. Frt. Agent Rates*                 San Francisco
Asst. to Genl. Frt. Agent Rates*                 Omaha
Sec. to Gen. Dir. Pricing Svcs.                  Omaha
Asst. to FPM (Mt. Pac.)                          Omaha
Sec. to GenDir.Mktg&Sales Staff Sv.              Omaha
Special Repr. (Rate Bureau)                      Omaha
Sec. to Gen. Mgr. Intermodal                     Omaha


                                    Operating Department




                                                                 A
      POSITION                                LOCATION

Chief Clerk (2)                                  Omaha
Analyst Stats. & Rep. (2)
Supvr. Bldg. Maintenance
Staff Assistant Terml. P&D
Asst. Mgr. NWD Jt. Fac. (2)
Secretary (2)
                                                 Omaha
                                                 Omaha
                                                 Omaha
                                                 Portland
                                                 Omaha
                                                            IN
                                      AV
Sec. to Dir. Safety                              Omaha
File Clerk VPO (3)                               Omaha
Supv. Trans. Services (8)                        Omaha


                                Risk Management Department
      POSITION                              LOCATION
                        P-


Medical Secretary (3)                            Omaha


                                      Supply Department
              U



      POSITION                                LOCATION

Asst. MatI. Distribution Mgr.                    Omaha
Asst. MatI. Distribution Mgr.                    Cheyenne
Asst. MatI. Distribution Mgr.                    Pocatello


*To be reclassified as Rule 1(e) when vacated.

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     CONFIDENTIAL
       Case 4:19-cv-00480-RK                                               UP-AVINA-002383
                                                 Document 70-3 Filed 03/15/21 Page 159 of 196
                            UNION PACIFIC RAILROAD COMPANY
D.D.WAITER                                                                     1400 DOUGLAS STREET
GENERAL DIRECTOR LABOR RELATIONS                                             OMAHA, NEBRASKA 68179




Mr. J. F. Lydon                                                              October 20, 2004
General Chairman, TCU                                                                 297-74
2820 South 87th Avenue
Omaha, NE 68124

Dear Sir:

       This has reference to our recent discussions concerning the Carrier's decision to




                                                      A
temporarily waive, for certain jobs, the protected rate requirements as set forth in Article
IV, Sections 3 and 4 of the UPfTCU Job Stabilization Agreement, as well as the applicable

                                           IN
provisions of the National Salary Plan, amended between the parties effective August 1,
1993, for all clerical employees making displacements in the Omaha/Council Bluffs area.

        In the application of this waiver, any clerical employee who acquires a
                               AV
"displacement right" in the normal exercise of seniority, will not be required to exercise their
seniority into the National Customer Service Center, in order to retain their current EMR
under the National Salary Plan or their February 7 protected rate established under the UP
Job Stabilization Agreement, as amended. This waiver, however, will not serve to negate
any other agreement provisions or understandings currently in effect within the
Omaha/Council Bluffs area, regarding clerical displacements. Moreover, this waiver does
                  P-


not relieve clerical employees of any requirement to bid to the highest rated position
available to them.

       As discussed, this waiver will remain in effect until otherwise advised by this office
        U



and may be rescinded at any time. This waiver addresses a unique situation and is being
made without prejudice to the position of either party. It is further understood that this
waiver will not be cited for any reason in the future.

                                            Yours truly,


                                         dj}ll~
                                            D. D. Matter
                                            General Director Labor Relations/Non-Ops


cc:     Rick Turner - Stop 1480
        Randy Johnson - PNG06




 CONFIDENTIAL
   Case 4:19-cv-00480-RK                                      UP-AVINA-002384
                                   Document 70-3 Filed 03/15/21 Page 160 of 196
                              UNION PACIFIC RAILROAD COMPANY
D. D.MAnER                                                                        1416 DODGESTREET
 SENIOR DIAECTOR-                                                               OMAHA,NEBRASKA 68179
 LABOR RELATION&--NON-OPS




                                              •
                                           July 25, 1994

                                             297-ACCT
                                              297-HDC
                                               297-11
                                               297-15


      Mr. J. L. Quilty
      General Chairman, TCU
      2820 South 87th Avenue
      Omaha, NE 68124




                                                        A
      Dear Sir:


                                              IN
           This refers to our discussions conceming the recent notice of abolishment of five
     (5) Omaha Accounting Department positions and the current staffing needs in CMS at the
     Harriman Dispatching Center.
                                 AV
            On August 1, 1994, five (5) CMS training positions will be bulletined pursuant to
     Rule 11 and, in view of the foregoing, the Carrier will waive the Rule 15 application for
     transfer requirement for all employees located in the Omaha! Council Bluffs Zones. With
     the exception of the above, Rule 11 and Rule 15 will remain fully operable,
                            P-


                If you are agreeable to the foregoing understanding, please indicate your
     acceptance by signing below.

                                              YoUrstrul~

                                            AI!/J j'/ttr/lV<I
                 U




     AGREED:




     H:IAGnJLQ97




         CONFIDENTIAL
           Case 4:19-cv-00480-RK                                  UP-AVINA-002385
                                       Document 70-3 Filed 03/15/21 Page 161 of 196
""   ....
                                        UNION PACIFIC RAILROAD COMPANY
                                                                                                                   1416Dodge Street
D.D.MATTER                                                                                                       Omaha, Nebraska 68179
  General Director
  Laber Relations-NON-OPS




                                                                                        February 3, 2004
                                                                                            297- 42




             Me. J. F. Lydon
             General Chairman, TCU




                                                                                A
             2820 South 87'" Avenue
             Omaha, N E 68124


             Dear Sir:
                                                                  IN
                         This has reference to our discussions concerning the "buy-back" provisions of Rule 42 (I) of the
             UPI TCU Agreement as those provisions relate to individuals electingto take a separation allowance when
                                              AV
             their positions are moved from St. Louis to Omaha pursuant to Implementing Agreement Nos. 388, 389 and
             390.
                       This will confirm our understanding that the Carrier will "buy-back" the unused sick leave of any
             individual receiving a separation allowance pursuant to anyabove cited implementing agreements
             regardless of age) years of service or retirement status.
                      It was agreed that this understanding was beingmade to address a unique situation and will not
                     P-


             serve as precedent nor will it be cited in the future.
                    U




             AGREED:




                                                                .;p..-3-0</
                                                               Date




            CONFIDENTIAL
              Case 4:19-cv-00480-RK                                               UP-AVINA-002386
                                                        Document 70-3 Filed 03/15/21 Page 162 of 196
'D~ATTER
 SENIOR DIRECTOR~
                          UNION PACIFIC RAILROAD COMPANY
                                                                    1416 DODGE STREET
 LABORRELATIONS-NON-DPS                                           OMAHA, NEBRASKA 68179




                                 January 27, 1993

                                      297-58

     Mr. J. L. Quilty
     General Chairman, TCU
     2820 South 87th Avenue
     Omaha, NE 68124

     Dear Sir:
                                                                                           ­
                                                                                          ..

           This has reference to our recent discussion concerning Carrier
     employees who are physically unable to continue working in the
     craft, class or capacity in which they were originally hired for




                                               A
     physical or medical reasons.      Although these individuals cannot
     work in their original craft, class or capacity, quite often they
     are capable of performing the duties of certain clerical positions,

                                      IN
     particularly in an office environment. When these individuals do
     transfer to unfilled TCU-covered vacancies and become productive
     clerical employees, no Agreement provision permits them to count
     their service time with the Company toward their vacation entitle­
                            AV
     ment.

          In line with our discussions, it is agreed that a Union
     Pacific Railroad employee who transfers to the clerical craft and
     class for a documented medical or physical reason may count all
     continuous service with the Carrier as qualifying service for
     purposes of determining the amount of vacation such employee is
                     P-


     eligible to receive. All such service must meet the criteria of a
     qualifying year as established in the National Vacation Agreement
     except that such service need not be on a position covered by the
     Agreement between the parties.
                    U



          Except for the fact that the previous service of the transfer­
     ring employees need not be covered by the Agreement between the
     parties, all other qualifying requirements of the Non-Operating
     National Vacation Agreement will apply.    This understanding will
     not affect the agreement practice of using an employee's clerical
     seniority date in fixing the vacation dates.

          If you agree with the above understanding please sign in the
     space indicated, retaining one (1) copy of this letter and
     returning the other copy for my files.


                                           ~.7/l,tr~
     AGREED:                             Jt).!V' /1t4/fitt1
        L. Quilty              (DATE)
      eneral Chairman, TCU
       CONFIDENTIAL                                       UP-AVINA-002387
          Case 4:19-cv-00480-RK Document 70-3 Filed 03/15/21 Page 163 of 196
     JLQ40.AGT
•
    '.




                                                  January 17, 2005

                                                 (297 - Accounting)

         MR JOHN F LYDON
         GENERAL CHAIRMAN - TCU
                  TH
         2820 S 87 AVE
         OMAHA NE 68124

         Dear Sir:

                 This has reference to the Memorandum of Agreement signed January 18, 2005, which
         provides, among other things, paid training for clerical employees seeking an Account Specialist
         position.




                                                                       A
                  During our discussions concerning this agreement, the Carrier advised the Organization
         that it would eliminate all General Clerk positions in the Car Accounting area of Accounting



                                                           N
         Operations. Concurrent with the abolishment of the four occupied General Clerk positions, the
         Carrier would establish four new Account Specialist positions. In an effort to recognize the
         experience of the General Clerks in Car Accounting, it was agreed that incumbents of the abolished
                                               VI
         General Clerk positions would not be required to pass the Account Specialist test in order to be
         eligible to bid or displace to an Account Specialist position.

                 Because of the difference in rates of pay between a General Clerk position and an Account
                                A
         Specialist position, the parties further agreed that the General Clerks in the Car Accounting area
         of Accounting Operations will not be required to bid or displace to an Account Specialist position
         when the General Clerk positions are abolished or the new Account Specialist positions are initially
                             P-


         bulletined in order to avoid being "treeteti" as if they had bid or displaced to the higher rated
         Account Specialist position. In other words, the requirement to bid or displace to the higher rated
         Account Specialist position in order to preserve an Employee Maintenance Rate or a February 7,
         1965 Job Stabilization Agreement rate is waived for the initial establishment of the Account
         Specialist positions and for the abolishment of the General Clerk positions.
                     U



                It is understood that this waiver is being offered to address a unique situation and will not
         serve as a precedent. If you agree with waiving the requirements of the National Salary Plan and
         the February 7, 1965 Job Stabilization Agreement, as amended, outlined above, please sign in the
         space indicated, retaining one copy of this letter and returning the other copy for my files.




                                                         (date)


                                                          D. D. Matter

             CONFIDENTIAL                                                      UP-AVINA-002388
                                                          General Director
               Case 4:19-cv-00480-RK           DocumentUNION
                                                        70-3PACIFIC
                                                                Filed   03/15/21
                                                                    RAILROAD
                                                                                 Page 164 of 196
                                                          1400 Douglas St., Stop 0710, Omaha, NE 68179-0710
         JOl1405.DDM - (1)
                                           April 15, 2005

                                              (297-43)

MR JOHN F LYDON
GENERAL CHAIRMAN - TCU
2820 S 87 TH AVENUE
OMAHA NE 68124

Dear Sir:

       This has reference to our discussions concerning clerical employees transferring to
other crafts on the Union Pacific Railroad.




                                                              A
         During our discussions, the parties agreed a clerical employee in furloughed status,
pursuant to Rule 18 of the TCU Agreement, could work in another craft for the railroad without
relinquishing seniority as a clerk. However, if recalled to a clerical position, a furloughed clerical

                                              IN
employee who had established seniority in another craft would be required to respond to the
recall to a clerical position within the time frame provided by the TCU Agreement or forfeit all
clerical seniority. If the furloughed employee working in another craft had not yet established
seniority in that other craft at the time of recall to a clerical position, the employee would be
                              AV
considered on leave of absence until such time as he/she established seniority in the other
crafts at which time the employee would be required to either (a) immediately respond to recall
to the clerical position; or (b) forfeit all clerical seniority.

         With regard to those clerical employees who are actively working as clerks and who
have been selected for a position in another craft on the Union Pacific Railroad, excluding the
           P-


crafts listed in the letter agreement amending Rule 10 dated January 6,2000, those employees
will be considered as being on leave of absence until such time as they establish seniority in
the other craft. Once seniority is established in the other craft, the transferring employee will
immediately forfeit all seniority rights as a clerical employee.
          U



       If the above properly reflects our agreement ccncerninq this issue, please sign in the
space indicated, retaining one copy of this letter and returning the other copy for my files.




                                               ?,,;q-a5
                                              Date



                                                  D. D. Matter
                                                  General Director

   CONFIDENTIAL
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                                               70-3 Filed            UP-AVINA-002389
                                                               03/15/21
                                                            RAILROAD    Page 165 of 196
                                                   1400 Douglas 51., SlOP 07\0, Omaha, NE 68179-0710
p041S0S.o0M - (1)
       "




                             UNION PACIFIC RAILROAD COMPANY
L. A. LAMBERT                                                           1416 DODGE STREET
 SENIOR DIRECTOR­
                                                                      OMAHA, NEBRASKA 68179
 LABOR RELATIONS-NON-DPS




                                        May 24, 1990

                                           297-74




           Mr. G. L. McCall
           General Chairman, TCU
           2820 South 87th Avenue
           Omaha, Nebraska 68124




                                                    A
           Dear Sir:
                This refers to letter of May 1, 1990, in which clerical


                                           IN
           employe L. K. Bowman was advised that her protective benefits
           under the UP/TCU Job Stabilization Agreement were suspended.

                As your Organization is aware, this Carrier expends a
           tremendous amount of money for clerical training, far and beyond
                                AV
           what many other Carriers provide and what is required under the
           Collective Bargaining Agreement. As such, when clerical employes
           do not exert a reasonable effort in training programs, Carrier
           has an extremely hard time in accepting future employment for
           such employes.  In my opinion, this was the exact case of Clerk
           Bowman.
                    P-


                In our meeting of May 22, 1990, her situation was discussed
           in length and it was finally concluded that Carrier would again
           place her in a compensation status under the following condi­
           tions:
                   U



           1.      Ms. Bowman will be granted the opportunity to again take the
                   CMS Policy Test.   This will be available within a week and
                   if she successfully completes the test, she will be placed
                   into the Training Program with compensation at the CMS
                   Dispatcher Trainee rate.

           2.      Ms. Bowman will continue to receive compensation as long as
                   she maintains passing scores in the Training Program.
                   However, in the event that she does not successfully com­
                   plete the entire CMS Training Program, she will again be
                   placed into a furloughed status, with a suspension of
                   protective benefits.




           CONFIDENTIAL
             Case 4:19-cv-00480-RK                             UP-AVINA-002390
                                     Document 70-3 Filed 03/15/21 Page 166 of 196
      »,
_.~    .l




            Mr. G. L. McCall                    -   2 -                    May 24, 1990
                                                                                 297-74




                 As I have stated earlier and reiterated in conference,
            Carrier will not tolerate or condone any case where a clerical
            employe fails to exert a reasonable effort in our training
            programs.   Ms. Bowman should be mindful of this position and
            realize that this second opportunity the Carrier is now providing
            is based upon the unique and unusual circumstance that was
            discussed in our meetings. Ms. Bowman, as well as your Organiza­
            tion, must also realize that this second opportunity is complete­
            ly without prejudice to Carrier's position on this serious issue
            and will not be cited as a precedent in any other future situa­
            tions.

                 If the above conditions are acceptable, please signify in
            the space provided below, returning the original to my office no




                                                          A
            later than May 30, 1990.

                                                    Very truly yours,

                                                      ces-«:
            AGREED:                                 N
                                      VI
            /blP/
            G. L. Mc::,C"'a"'I"'I;,---------­
                          A

            &6~
                       P-

            L. K. Bowman                                            Date
                 U




            GLM 67/AGMT8




            CONFIDENTIAL
              Case 4:19-cv-00480-RK                             UP-AVINA-002391
                                      Document 70-3 Filed 03/15/21 Page 167 of 196
                                                                                                       '?fC'D
                                                                                                AUO 02
                        UNION PACIFIC RAILROAD COMPANY
                                                                                                             2005
                                                                                              labor~~L.
D. D. Matter                                                                                    Stop lJIIfttiOf/S
Gen. Director                                                                          1400 Douglas Street
Labor Relations Dept.                                                              Omaha NE 68179-0710
                                                                                          (402) 544-4947




                                             July 7,2005

                                             (297 - CMS)

MR JOHN F LYDON
GENERAL CHAIRMAN - TCU
2820 S 87TH AVE




                                                               A
OMAHA NE 68124

Dear Sir:
                                                  "

                                                      N
       This has reference to our several discussions concerning various proposals
                                         VI
affecting the Crew Services area of the Crew Management System (CMS). As you know,
the Internal Services Section (ISS) of CMS will eventually be eliminated. The Crew
Services area will absorb the residual ISS work arid assume additional administrative
duties associated with the CMS function. This transition, coupled with the fact that new
                           A
systems are being implemented and the work force has a large number of inexperienced
new hires, has resulted in the need to make certain modifications to the CMS organization.
                        P-


       The Carrier believes that adding "right of selection" Peer Trainers would benefit the
entire CMS Organization and its customers. The current allocation and use of Rule 1 (e)
positions does not allow for additional Rule 1 (e) authority under the limits defined by the
Agreement. Therefore, we are requesting four (4) Rule 1 (e-2) All Services Rendered
            U



(ASR) positions above and beyond the current allocation to be used specifically as Peer
Trainers with the Crew Management Services Organization. These positions will not be
included in the calculations for purposes of determining the maximum allowable Rule 1 (e)
positions as provided by Rule 1 (e-4).

        The position title will be "CMS Peer Trainer" and will be assigned to the Crew
Services area. The CMS Peer Trainers will only perform work outlined in the attached
bulletin and duties directly incidental thereto. In the event a CMS Peer Trainer position is
abolished and not re-established within thirty (30) days from the effective date of the
abolishment, the authority for that CMS Peer Trainer position as a Rule 1 (e-2) ASR shall
be relinquished and may not be re-established except by agreement between the General
Chairman and the General Director of Labor Relations.            .

        In addition to Peer Trainers, the parties discussed the need to address the ebb and
flow of workload volumes throughout ttie day. In an effort to make the operation more fluid



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IIUP_CLUSTER_C775POOL_ SERVERIC77 5VOL1IGROUPDIRILAB RELNSILaborlOPSIWpcnonopslv297 -CMS.ddm.doc (1)
the Carrier requested to amend Rule 7 of the UPITCU Agreement so as to allow no more
than six positions in the Crew Services area to start or end between midnight and 6 a.m.
based on call volumes and the needs of the service.

        Finally, in recognition of the above, the Carrier agreed to place all fully covered Crew
Services Representatives under the provisions of Article III - CMS Crew Dispatcher
Productive Allowance Program, of the memorandum of agreement signed June 6, 1989,
as it relates to regular positions. The Productive Allowance Program will be applied in the
Crew Services area retroactively to January 1, 2005. Because the Crew Services area
does not have a Reserve Board arrangement, that portion of Article III will not apply.
Moreover, Article III will not apply to clerical employees assigned to Rule 1 (e) positions in
the Crew Services area.

       If you agree, please sign in the space indicated, retaining one (1) copy of this letter
and returning the other for our files.




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                                               Date_~,-------=--.:---_---=::::....-
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\\UP _CLUSTER_C775POOL_SERVERIC775VOL1IGROUPDIRILABRELNS\Labor\OPS\Wpcnonopslv297-CMS .ddm.doc (2)
                                PERMANENT NEW POSITION


Location:             Omaha, Zone 201

Title:                CMS Peer Trainer 1 (e-2)

Rate of Pay:          $4,541.28/mo.

Wage Grade:            N/A

Hours:                 ASR

Rest Days:             ASR




                                                            A
Period Period:         ASR

Duties:

                                                IN
Conduct on-the-job training with Crew Dispatchers and Crew Services Representatives
                               AV
as instructed by CMS Management Team. Assist in the design of structured training
classes and process documentation including study guides, handouts, manuals,
presentations, job aides, etc. Conduct structured training classes with Crew
Dispatchers and Crew Services Representatives. Evaluate and measure the
             P-


effectiveness of CMS training programs, and use the information to improve all aspects
of the continuous training program. Implement systems and processes which support
CMS services and operations as well as assist in the associated personnel training.
            U



Assist in monitoring and maintaining qualifications for Crew Dispatchers and Crew
Services Representatives. Must be CMS qualified.




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                          UNION PACIFIC RAILROAD COMPANY
                                                                                     1416 DODGESTREET
                                                                                 OMAHA, NEBRASKA 68179




                                                                                           REc'O
                                       August 15, 2001                                  AUG 2 02001
                                                                                    t.aOor .,
                                            (297-10)                                       •,elations

MRJ F LYDON
GENERAL CHAIRMAN TCU
2820 S 87TH AVENUE
OMAHA NE 68124

Dear Sir:




                                                        A
        I have been advised that effective August 1, 2001, the Union Pacific Corporation will
add a new company to its list of wholly-owned subsidiaries. The new company will be
called Insight Network Logistics, LLC. Because Insight Network Logistics will be a wholly­



                                               N
owned subsidiary of the Union Pacific Corporation, the Carrier is seeking your concurrence
to add this company to the listing of companies found in Rule 10 (c) of the Agreement
effective October 16, 1993. This will permit employees with the Union Pacific Railroad
                                    VI
holding clerical seniority to continue to retain and accumulate seniority provided such
employees maintain membership in good standing with TCU.

      If you agree with this modification to Rule 10C, please sign in the space indicated
                    A
below retaining one (1) copy of this letter and returning the other copy for my files.
                 P-


                                                     Yours truly,


                                                    J!~~
                                                     D. D. Matter
           U



                                                     General Director Labor Relations

I Agree:



                                                            eY /(, . 0/
                                                     Date



CC:    Michelle M. Gerhardt
       Director - Compensation
       Room 320 - HDQ




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                                                                                 !Ill. E. G.

                                                                              OCT 151973

•                                    A G R E E MEN T
                                        bet"men the
                               UNION PACIFIC RAILROAD COMPANY
                                          and the
                    BROTHERHOOD OF RAILWAY, AIRLINE P~D STEAMSHIP CLERKS,
                      FREIGHT HANDLERS, EXPRESS AND STATION EMPLOYES



                                  DUES DEDUCTION AGRED1ENT




                                                        A
                                                  N
                             In accordance with the provision of Section lO)b)
                   of the Agreement signed by the parties hereto at Omaha,
                   Nebraska on March 7,1953 and pursuant to Article II (Cost-
                                          VI
                   Free Union Dues Deduction Agreement) of the National Collec-
                   tive Bargaining Agreement, dated April 27, 1973, the follow-



•
                   ing Agreement by and between Union Pacific Railroad Company,
                   hereinafter referred to as the "Carrier" and the employe's
                   thereof represented by the Brotherhood of Railway, Airline
                              A
                   and Steamship Clerks, Freight Handlers, Express and Station
                   Employes, hereinafter referred to as the "Organization," is
                   entered into by the parties and shall be made effective
                           P-


                   October 1, 1973.

                              IT IS AGREED:
                        U



                               Section 1.   (a) Subject to the terms and conditions
                   hereinafter set forth, the Carrier will deduct from the wages
                   of employes, membership dues, initiation fees, and assessments
                    (excluding fines and penalties) as may be uniformly required
                   as a condition of the employes acquiring and/or retaining mem-
                   bership in the Brotherhood upon their written authorization in
                   the form (Individual Authorization Form) agreed upon by the
                   parties hereto, copy of which is attached, designated "At-
                   t.achment; A" and made a part hereof.

                              (b) The authorization shall, in accordance with
                   its terms, be revocable in writing after the expiration of
                   one year upon thirty (30) calendar days adva~ce notice to
                   the Organization and the Carrier by registere~ Dail or upon
                   termination of this Agreement or upon the tc:::c.:'-:-_,,-tion of the



 •
                   rules and Working Conditions Agreement bet~ee~ t~e parties
                   hereto, ,."hichever occurs sooner.



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                                  Currently effective assig~~ent forms need
                                  re-executed and will continue in effect
                           subject to their terms and conditions.

                          (c) Revocation of authorization shall be on the form
                  specified in Exhibit B attached hereto and made a part hereof,
                  and both the authorization and revocation of authorization fOrDS
                  shall be reproduced and furnished as necessary by the Organiza-
                  tion without cost to the Carrier.

                          (d) The Organization shall assume the full responsi-
                  bility for the procur~uent and proper execution of said forms
                  by employes, and for delivery of said forms to the Carrier.
                  Revocation of authorization forms shall be delivered to the'                                 Ii


                                                                  A
                  designated carrier Officer not later than the lOth day of the
                  month in which the termination of. deductions is to become ef-
                  fective •.

                                                        IN
                          (e) The Officer of the Organization designated by
                  the International President shall promptly notify in ~~iting
                  the Officer or Officers designated by the Carrier of any special                             i .


•
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                  assessment or changes in amounts of fees or dues; however, the                               I
                  deduction amounts may not be changed more often than once every
                  three months.

                         Section 2.  (a)  Individual authorizations to be effec-
                  tive for a particular month must be in the possession of the
                                                                                                               j
                         P-


                  designated carrier Officer not later than the fifth day of the
                  month in which such deductions are to be made.

                              The designated Officer of the Organization shall
                            (b)
                        U



                  furnish to the Carrier, with copies to appropriate units of
                  the Organization, an initial statement (Attachment Cl, by lodges,
                  in alphabetical order, certified by him, showing deductions to
                  be made from each such member, such statement to be furnished
                  together with individual authorization forms to cover, not later                           . ,,
                  than the fifth day of the month in which the deductions become
                  effective. Subsequent monthly deductions will.be based on the
                  initial statement, plus a monthly statement (Attachment D) show-
                  ing additions and/or deletions, furnished in the same manner as
                  the initial statement required hereby. If no changes are re-
                  ported by the 5th day of the month, the last previous list on
                  file with the designated carrier Officer shall be used for the
                  purposes of this Section.




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                           NOTE: Currently effective lists and                 a5s~~_~ent
                           forms need not be resubmitted.

                            Section 3.       (a) Deductions will 22 ~a~2 --~­ ::he
                  ',·:ages earned in the first period of the ":.0::1::"'" ~.::_:.::::_ -.:ill c e
                                                                                            -
                  dues of the member for the f o Ll.ow i.nq mcr t r; I in ;.::-_~::::-_ -::_"':.2   -
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•   mentio~~~ =~~~~=i=d stat~ment is furnished to the designated
    Carrier ===i=~~. The following payroll deductions \yill have
    priority C7=~ ceductions in favor of the Organization as
    covered by   ~2is    Agreement.
                                                                               ,,


                   (i)      Federal', State and l1unicipal taxes and
                            other deductions required by law, in-
                            cluding garnisThuent and attachments
                            and any other prior liens which the
                            Carrier must respect.

                  (ii)      Amounts due the Carrier.

                 (iii)      Union Pacific Railroad Employes Hospital
                            Association; and premiums on group
                            insurance plans.




                                              A
    If the earnings of the employe are insufficient, after all
    priority deductions have been made, to remit the full amount


                                      IN
    of deductions authorized by an employe hereunder, no deduction
    for dues on behalf of the Organization shall be made by the
    Carrier and the Carrier shall not be responsible for such
    collection~




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                           AV
            (b)  Deductions made hereunder shall be made on the
    regular payroll or from time vouchers and shall be r~mitt~d
    to the International Secretary-Treasurer or other officer' of
    the Organization as may be designated by the International
    President not later than the fifth day of the month next fol-
    lowing the month in which deduction is made; together with a
          P-


    machine-produced list (Attac~ment E), prepared in triplicate
    for each lodge, alphabetically listing the names, social security
    account n~mbers or payroll identification numbers, amount of
    deductions, and the total amount of deductions for the lodge.
         U



     (If no deduction is made for a particular individual on the
    list, the Carrier will show the reason therefor. The Carrier               I
    will also furnish a summary statement for all lodges, itemizing            I,
    the number of employes and amount deducted.)

            Section 4. Responsibility of the carrier under this
    Agre~ment shall be limited to remitting to the Organization
    amounts actually deducted from the wages of ~"ployes pursuant
    to this Agreement, and the Carrier shall not be responsible
    financially or otherwise for failure to make deductions or
    for making improper or inaccurate deductions. Nothing contained
    herein shall be construed as obligating the Carrier to collect
    dues from employes who leave its service or whcse wages shall
    be involved in any claim or litigation of any :-.".. ~t:re what soever .



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•            ~~==~=~~.      No part of this Agreement shall be used
    in any: rr,2.=2=- -~-:=atsoever either directly or indirectly as a
    basis for 2. ;=-i2vance or time claim by or in behalf of an
    employe; a== =0 part of this or any other Agreement between
    the Carrier a~d the Organization shall be used as the basis
    for a grievance or time claim by or in behalf of any employe               ,
    predicated upon any alleged violation of, or misapplication
    or noncompliance with any part of this Agre~~ent•.
                                                                               f
           Section 6.   (a) The requir~~ents of this Agreement                 II
    shall not be effective with respect to any individual employe
    until the Carrier has been furnished with written authorization            i
    of assignment of wages of such monthly membership dues, initia-
    tionfees, and assessments,

           (b) Any question arising as to the correctness of the




                                              A
    amount deducted shall be handled between the employe involved
    and the Organization, and any complaints against the Carrier
    in connection therewith shall be handled by the Organization on
    behalf of the employe concerned.
                                     IN
           Section 7. Except for remitting to the Organization
    monies deducted from the wages of employes,. the Organization


•
                         AV
    shall indemnify, defend and save harmless the Carrier from
    and against any and all claims, demands, liability, losses
    or damages resulting from the entering into this Agreement
    or arising or growing out of any dispute or litigation result-
    ing from any deductions made by the Carrier from the wages of
    its employes for or on behalf of the Organization.
                P-


           Section 8.  In the event of a change in representation
    of employes now represented by the Organization, this Agreement
    shall automatically terminate and be of no further force or
          U



    effect as of the date official notification is received from
    the National Mediation Board of such change in representation.             I
                                                                               r~
                                                                               I
            Section 9. To assist in the application of the Agree-              :•
    ment, the Carrier will furnish a list to the designated officer
    of the Organization and the General Chairman at the close of
    each month, to be received not later than the fifth day of the
    following month, wh i.ch list shall show the data and information
    as set forth in Attachment "p" and in the form as there pres-
    cribed •.

           Section 10. This Agreement is subject to the express
    Agreement of the parties hereto to observe and cc=?ly with the
    provisions of the applicable federal and state 12.';" now in



•
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 •                                     ~:is~e~=2                                          2=
                                       intentic~ == =i~~eY paYty hereto to relieve the other party ~2=a­
                                       to from c=--?~~i~~ with any provision of this Agreement which
                                       may be ir. -::s::flict with or violate any applicable state or
                                       federal 12.~" new in existence or enacted during the term hereof.
                                                                                                           s~=c~2d                  during the term hereof, i t being the




                                              Section 11. This Agreement shall                                                                                                                              be effective October
                                       1, 1973 and s~all remain in effect until                                                                                                                             altered, changed or
                                       cancelled in accordance with the Railway                                                                                                                             Labor Act, as amended,
                                       or as othen;ise provided in Section 8 of                                                                                                                             this ll.greement.

                                                                        S'  ~gne                     da'1:                    O~aha
                                                                                                                               ru   ,                 Nebraska
                                                                                                                                                         _     thO'
                                                                                                                                                                 lS                                     20~L.h   day of
                                                                                                                                                                                                                      _Septem,ber,
                                                                                                                                                                                                                        _
                                       1973.                                                                                                                                                                 ,": .
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                                                                                                                                                                                                                                 ... .-. '.- .
                                       FOR THE BROTHERHOOD OF HAIL-                                                                                                                                                                        "




                                       'I\'AY, AIRLINE AND STEANSHIP                                                                                                                                                         .   -..   ,   ....                                  -. :   -.:.
                                       CLERlCS, FREIGHT HANDLERS,                                                                                                                                                                                                                                         : ".



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                               .:"....
                                       EXPRESS. AND STATION Er-IPLOYES
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•                                      CONFIDENTIAL                                                                                                                  UP-AVINA-002401
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                                                                                  ATTACH2·:'=:::T .0\




 •
                                                                                  IBN Code

~,                                    WAGE   ASSIGN~ffiNT   AUTHORIZATION



             (Employing Officer)

     Union Pacific Railroad Company,


             (Location) .

     Name
             (Last)              First)                       (Hiddle Initial)     (Soc. Sec. 1\:0.)




                                                              A
     Home Address
                            (Street and.Number)                (City and State)         (Zip Code)


      (Occupation
             -"'-
               .~
                  Title)              (Pos.NO. )

                                                       N
                                                     (Work Location)    (Department)      (Sen. Dist. )
                                              VI
          (Lodge No;)             (Union Card No.)              (Carr ier Audit No.)


•                         I hereby assign to the Brotherhood of Railway, Airline
                               A
     and Steamship Clerks, Freight Handlers, Express and Station Employes
     that part of my wages necessary to pay my monthly membership dues (not
     including fines and penalties) in the Organization as such dues and
                            P-


     pr~~iums are reported to the Union Pacific Railroad Company by the
     designated officer of the Brotherhood of Railway, Airline and Steam-
     ship Clerks, Freight Handlers, Express and Station Employes, in monthly
     statements, certified by him, as provided under the Check-Off agre~~ent
                    U



     entered into by and between the Organization,and the Union Pacific Rail-
     road Company on September 20, 1973, and I hereby authorize the Union
     Pacific Railroad Company to deduct from my wages all such sums and pay
     th~~ over to the designated officer of the Organization (BRAC) in accord-
     ance ,vith the said Check-Off agreement. This authorization may be re-
     voked in v~iting by the undersigned after the expiration of one (1)
     year, upon thirty (30) days ,vritten advance notice or upon the termi-
     na~ion of the aforesaid Check-Off agreement or upon the termination
     of the union agreement between the Company and the Organization,
     .·,'hichever occurs sooner.


     _ _ _----,.,=-.,--,-         '    19
               (Date)                                 (Signature)                 (Lodge No.)



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                                                                              ATTACE·lENT B


•                                                                             IBN Code




            (Employing          O~flcer)

Union Pacific Railroad Company,


                      (Location)




                                                                A
Name __===:-
       . (Last)
                                       =T::=~----=T:5=_=__:;:_===
                                       (First)          (Hiddle Initial)
                                                                        ___    (Soc. Sec. No.)

Home Address
             .
             :~~
                 ..   -::--
                      .';-.-   (Street and Number)   IN   (City and State)        (Zip Code)
                                        AV
     {Occupation Title}               (pos.No.)   (Work Location)     (Department)   (Sen.Dist.)


             (Lodge No.)                    (Union Card No.')        (Carrier Audit No.)
                           P-


                                   Effective _ _ _ _ _ _ _ _ _ _ _ _ _ , 19_, # I hereby'

    revoke the Wage Assignment Authorization now in effect assigning to
                          U



    the Brotherhood of Railway, Airline and Steamship Clerks, Freight

Handlers, Express and station Employes that part' of my wages neces-

    sary to pay my monthly dues in that Organization now being withheld

    pursuant to the Check-Off agreement between the Organization and the

Union Pacific Railroad Company, and I hereby cancel the Authorization

    ~o"   in effect authorizing the Union Pacific Railroad Company to deduct

    s~c~   monthly dues from my wages.




•          (0ate)


    ,,170te:
          CONFIDENTIAL
      effectuate this   revocation.
                                     , 19
                                                      (Signa ture)


             Thirty (30) days wr i t.t.en advance notice rau s t,
                                                             UP-AVINA-002403
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                                                                              to
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                                                                                  (Lodge NO.)
                                                               ATTACEHENT C



•                                 INITIAL LIST


                                                 Date


Hr.
        (Employer    OfL~cer)



        (Employer)


        (Street)




                                               A
        (City and State)




Brotherhood. and
                                      IN
                      Pursuant to the Check-Off Agreement between the
                           AV
•                        (Employer)

is a list of names of employes for whom deductions shall be made effec-

tive the first pay period of _ _ _ _ _ _ _ _ _ _ _ _ ,- 19
                   P-


                     Wage Deduction Authorization Forms for these employes

are-enclosed.
           U



             Name
                                                                       n
Last         First          Mid. Initial   Soc.Sec.Acct.No.    Lodge   rr.   Amount

                                                                             I

                                                                             I

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                                                          GenerGl Chairman



                                                           UP-AVINA-002404
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                                       ~DDITIO~S   OR DELETIONS



•   Hr.
                                                           Date



                 (Employer    O~~icer)



                 (Employer)


                 (Street)


                 (City and State)




                                                        A
                    Pursuant to the Check-Off Agreement between the Brotherhood

    and                                                    , effective with the first
             ~ .-.;:-_

    pay period of
                          (Employer)
                                              IN       , 19__ , the following additions



•
                                  AV
    or deletions are to be made for the employes whose names are listed

    below:

                    Wage Deduction Authorization Forms for the employes to be
                          P-


    added to the initial list are enclosed.


                  Name                                                        Lodge
                  First       Mid. Initial
                   U



    Last                                                Soc.Sec.Acct.No.       No.      Amt

                                              ADDITIONS·




    --------+----81---                        DELETIONS




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•
                                                                     A'J.'TACID!EN'l' E


                                  MONTHLY LIST OF DEDUCTIONS


                                                       Date


  Hr.
           (Brotherhood Officer)


           (Street)


           (City and State)




                                                      A
                Pursuant to the Check-Off Agreement between the Brotherhood



                                                N
    and Uni.on.,·Pacific Railroad Company, enclosed is a machine-produced
                                        VI
    list for Lodge               for the month of _______________ , 19__, issued

.pursuant to Section 3(b} of the Agreement dated September 20, 1973,

    containing the following:
                           A

                                                           Deduction Account       No
                        P-


  Name                               Soc.Sec.Acct.No.      Nonthly Initiation or Deduction
  Last     First    Mid. Ini Hal     or Pavroll ID No.      Dues   Assessment     (Reason)
                 U




                                    Total Deduction
                                                      -----'-




• Dues    c.s~·:..1cted fro~

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                               first pay period of
             Case 4:19-cv-00480-RK
                                                         Carrie::-




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                                                                   UP-AVINA-002406
                                                                     Page 182 of 196
  dues.
,   .   "
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                         "

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•
                                                                                                ATTACH/,lENT F


                                            ?2CORD OF CHANGE IN STATUS OF EMPLOYES


                                                                           Seniority District Roster No.

                                                                           Division Officer or
                                                                           Department
                             (Month)                     (Year)


                             Name                                                    Name
     First                   l-liddle            Last   Reason for   I'!    First    Middle    Last     Reason for
    Initial                  Initial             Name   Change *           Initial   Initial   Name     Change "
                                                                     Ij




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    *       Insert appropriate explanatory letter symbol as                            show~   below:

                        Resigned; died; dismissed; retired
            3 -         Transferred to excepted position or position outside scope of
                           the Clerks' Agre~~ent
                        Returned from excepted position or position outside scope of
                           the Clerks' Agreement
            D -         Entered military service
            ~ -         Returned from military service
            _           Leave of absence
            ~           ~eturned from leave of absence


• J_
            ~       -   ~b~ent account sickness or disability
                        ?eturned from leave of absence account sickEess c= c:i-s",bility
                    -   ?urloughed
            ~-          ?eturned from furlough or recalled to serv:i-ce per ?~~e ~2
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                   ADDENDUM TO DUES DEDUCTION AGREEMENT

                                      between

                       UNION PACIFIC RAILROAD COMPANY

                                        and

            BROTHERHOOD OF RAILWAY, AIRLINE AND STEAMSHIP CLERKS,
              FREIGHT HANDLERS, EXPRESS AND STATION EMPLOYES


                       In accordance with the provisions of Article X of

            the National Agreement signed January 13, 1979, between

            Carriers represented by the National Railway Labor Conference

            and the employes of said Carriers represented by the Brother-




                                                A
            hood of Railway, Airline and Steamship Clerks, Freight

            Handlers, Express and Station Employes, the parties hereby

                                      IN
            amend the Dues Deduction Agreement of September 20, 1973,

            to the extent necessary to provide for the deduction of



.:-
                         AV
            employes' voluntary political contributions on the following

            terms and bases:

                       l(a)     Subject to the terms and conditions hereinafter
            P-


            set forth, and in accordance with the September 20, 1973 Dues

            Deduction Agreement, the Carrier will deduct from the wages of

            employes voluntary political contributions upon their written
           U



            authorization in the form (individual authorization form)

            agreed upon by the parties hereto, copy of which is attached,

            designated "Attachment A" and made a part hereof.

                        (b)     Voluntary political contributions will be made

            monthly from the compensation of employes who have executed a

            written authorization providing for such deductions.         The first

            such deduction will be made in the month following the month

            in which the authorization is received.        Such authorization

            will remain in effect for a minimum of twelve (12) months

            and thereafter until cancelled by thirty (30) days advance
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        -.
                                               - 2 -


    "          written notice from the employe to the Brotherhood and the



•              Carrier by Registered Mail.         Changes in the amount to be

               deducted must be on the same basis as provided in the

               September 20, 1973 Dues Deduction Agreement and will be

               limited to no more often than once every three months.

                            2         The General Chairman or his designated

               representative shall furnish the Carrier an initial statement

               (Attachment B) by lodges, in alphabetical order and certified

               by him, showing the amounts of deductions to be made from

               each member, such statement to be furnished together with




                                                       A
               individual authoriztion forms to cover, and payroll deductions



               following.
                                            IN
              of such amounts will commence in the month immediately

                                 Subsequent monthly deductions will be based on




•
                                 AV
               the initial statement plus a monthly statement (Attachment C)

               showing additions and/or deletions furnished in the same

              manner as the initial statement required hereinabove.             If no

               changes are reported, the most recent list on file with the
                   P-


               Carrier shall be used for the purposes of this section.

                            3         Monthly voluntary political contribution
             U



              deductions will be made from wages at the same time that

              membership dues are deducted from the employe's paycheck.

                                      The following payroll deductions will have

               priority over deductions covered by this agreement:

                                (a)   Federal, state and municipal taxes, and

                                      other deductions required by law, including

                                      garnishments and attachments and any other

                                      prior liens which the Carrier must respect.

                                (b)   Amounts due the Carrier.


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                                        - 3 -

                     (c)   Union Pacific Railroad Employes Hospital

                           Association: and premiums on group insurance

                           plans.

                     (d)   BRAC membership dues.

                 4         Concurrent with making remittance to the Organ-

      ization of monthly membership dues, the Carrier will make

      separate remittance of voluntary political contributions to

      the secretary-Treasurer of the Railway Clerks Political League,

      together with a list prepared in triplicate for each General




                                                      A
      Chairman and the Secretary-Treasurer of the Railway Clerks


                                     IN
      Political League and containing an alphabetical listing of the

      names, social security account numbers, or payroll identification

      numbers, amount of deductions and the total amount of deductions
                           AV
~made by      each General Chairman's constituents.

                 5         The requirements of this agreement shall not be

      effective with respect to any individual employe until the
         P-


      employer has been furnished with a written authorization of

      assignment of wages of such monthly vOluntary political
        U



      contribution.

                Signed at Omaha, Nebraska this 23rd day of April, 1979:

      FOR:

      BROTHERHOOD OF RAILWAY, AIRLINE
      AND STEA}1SHIP CLERKS, FREIGHT                  FOR:
      HANDLERS, EXPRESS AND STATION
      EMPLOYES                                        UNION PACIF   RAILROAD COMPANY



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      Case 4:19-cv-00480-RK                               UP-AVINA-002410
                                Document 70-3 Filed 03/15/21 Page 186 of 196
                                                               March 11, 2011
                                                               297 - 41



Mr. Steve Mether
International Representative - TCU
2820 S. 87th Avenue
Omaha, NE 68124

Dear Sir:

         The Supply Department is seeking your concurrence to establish one (1) vacancy relief position
at West Colton, California, for the purpose of providing vacation, personal leave day, sick leave and other
short vacancy coverage for Material Clerk and Material Handler positions at West Colton as well as
provide support during periods when no vacations are scheduled or there are no vacancies.




                                                                     A
         Accordingly, pursuant to the provisions of Rule 41 of the UPITCU Agreement effective July 31,
2006, the Carrier is seeking the Organizations concurrence in the establishment of the aforementioned
position with relevant information pertaining to this position being set forth as follows:

MATERIAL CLERK
MATERIAL HANDLER
PERMANENT
REST DAYS
                                                    IN
                                      VACANCY RELIEF­

                                      VARIOUS
                                 AV
HOURS                                 VARIOUS
RATE                                  PAID RATE OF POSITION WORKED
LUNCH                                 20 MINUTES PAID
      'When the position is not scheduled to relieve vacancies, it will be
      assigned to perform Material Handler duties on the first shift, Monday
      through Friday.
             P-


        In establishing this position, it is understood that during the period this position is in effect,
vacancies for Material Clerk and Material Handler positions will not be posted pursuant to Rule 12 of the
current Agreement unless they are to be filled and the Vacancy Relief position is unavailable to fill the
vacancylvacancies.
        This Agreement may be cancelled by the serving of a notice to cancel by either party. In the
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event notice is served, this Agreement will be terminate 30 days from the date of notice and the
provisions of the Schedule Agreement will be applicable .




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International Representative - TCU               Date



                                                        D. D. Matter
                                                        General Director

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                                                    1400 Douglas St., Stop 0710, Oml1ha, NE68179-0710
                                                                                        M.rllyn I. Ah.,t
                                                                                                Director


                                                                                              REC'O
                                                                                          JUN 142011
                                               June 9, 2011
                                               File: 297-11                            LaborRelations


Mr. S. W. Mether
International Representative - TCV
2820 South 87'h Ave.
Omaha, NE 68124

Dear Mr. Mether:




                                                           A
        This is to confirm our verbal agreement to waive the 5-day bulletin period for CMS vacancies
advertised June 1,2011. The initial bulletin period was bypassed and the vacancies were posted for
ten (10) days under the provisions of Rule 11.
                                              IN
        It is understood this agreement is made to address a unique situation to expedite the
assignment of employees to unanticipated vacancies and to facilitate the recall of furloughed
                              AV
employees. It does not establish a precedent and is not to be cited for any reason. If you agree,
please sign in the space indicated, retaining a copy of this letter and returning a copy for my files.
                  P-


                                                       Sincerely,

                                                      ~~
         U



                                                         6-/3-11
Internat onal Representative - TCV                     Date




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    Case 4:19-cv-00480-RK     RAI~ROAD 1400 Douglas Street
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                                                                           14(2) 544·2614
                                                                              Page 188 of 196
                                           AGREEMENT

                                           Between The

                             UNION PACIFIC RAILROAD COMPANY

                                              And The

                    TRANSPORTATION COMMUNICATIONS UNION (TCU)

                              TCF FOREMAN AGREEMENT (LATC)

         The parties agree the following provisions may be implemented at Los Angeles ,
 California at the discretion of management.

    1. TCF Foreman Positions

       a. At Los Angeles Transportation Center, the position of TCF Foreman may be




                                                        A
          bulletined and assigned subject to the terms and conditions outlined below.

       b. The rate of pay for the TCF Foreman will be a Wage Grade 5 ($253.90 per ten (10)


       c.
          hour day).

                                            IN
            TCF Foreman positions will be assigned to work ten (10) hours per day, four (4) days
            per week . Initially, two positions will be established , as follows
                           AV
                • 0500-1500 rest days Sunday, Monda y, Tuesday
                • 1700-0300 rest days Thursday , Friday , Saturday

    2. The following Rules of the applicable Collective Bargaining Agreement are modified to
       reflect the modified work schedule of these positions .
                  P-

       a. Rule 41 - Forty Hour Workweek - remains unchanged except for the following

             i.   The Carrier will establish a workweek of forty (40) hours, consisting of four (4)
                  days of ten (10) hours each , with three (3) consecutive da ys off in each seven (7)
      U



                  days.
             ii. The workweeks will be staggered in accordance with the Carrier's operational
                  requirements.
            iii . Regular relief assignments with four (4) days of work and three (3) consecutive
                  rest days may be esta blished to perform relief work on the rest days of the
                  above-mentioned assignments.

       b. Rule 35 - Meal PeriOd - will be mOdified as follows

             I. Employees working under the modified work schedule will have a twenty (20)
                minute paid meal period .
            ii. The meal period will be between the ending of the fourth and the beginning of the
                seventh hour after starting time .

       c. Rule 38 - Overtime - will remain unchanged except overtime will be paid on any
          given day for time on duty in excess of ten (10) hours instead of eight (8) hours.




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                                                                Page 189 of 196
        d. Rule 22 - Basic Day - will be modified to state that ten (10) consecutive hours shall
           constitute a day's work .

        e. Rule 18 - Reduction in Force - will be modified to state that if the force is to be
           reduced or position to be abolished , four (4) working days' notice will be given prior
           to such action to the clerical employee affected and a list will be furnished to the
           General and Local co mmittees.

   3.   Modification to Paid Leave Provisions

        a. The National Va cat ion Agreement provisions will be converted so that an emplo yee
           eligible for vacation will recei ve hours equal to those when on a five (5) day
           workweek assignment. As an example , an employee entitled to three (3) weeks'
           vacation , i.e., one hundred twent y (120) hours-fifteen (15) days at eight (8) hours,
           would now be entitled to twel ve (12) days at ten (10) hours. While on four (4) day
           workweek , a day's vacation will be ten (10) hours.




                                                         A
             I.    The workday of a four (4) day workweek will be considered as 1.25 days for
                   qualifying day purposes for vacation in the following yea r. If at the end of the



                                              IN
                   calendar year, an employee's vacation qualifying days would be adversely
                   affected, upon presentation of proof of an adverse impact the parties agree to
                   meet to determine whether an adjustment to vacation qualifying days would be
                   required.
                              AV
             II.   In the event the 10 hour day arrangement creates a problem with regard to
                   SCheduled 2013 vaca tion , the LocallDistrict Chairperson will meet with the Local
                   Supervisor to arrange a mutually satisfactory method for providing vacation
                   coverage.

        b.   For the purposes of applying Rule 42-Si ck Leave Allowance to a ten (10) hour day
                   P-

             position , a day's sick leave pay will be converted to hours on the basis of eight (8)
             hours for each day of sick leave to which an employee is entitled, e. g. 10 da ys of
             sick leave will be converted to eighty (80) hours, totaling (8) days of sick leave .
        U



        c.   Employees qualifying for Bereavement and Jury Duty, under the applicable
             provisions of the Collective Bargaining Agreement and National Agreements wi ll be
             compensated ten (10) hours at the straight time rate for the days to which they are
             entitled.

        d. Employees qualifying for Holidays and Personal Leave Days , under the applicable
           provisions of the Collective Bargaining Agreement and National Agreements will be
           compensated eight (8) hours at the straight time rate for those days to which they are
           entitled.

        e.   Employees entitled to paid personal leave days may elect to receive pay for those
             personal leave days in increments of two (2) hours if used to complete a ten (10)
             hour day for purposes of applying the Holiday and Personal Leave payments




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                                                                  Page 190 of 196
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      4 . Other Provisions

         a. The above modifications to the Collective Bargaining Agreement will be applicable
            only when emplo yees are working a four (4) day workweek consisting of ten (10)
            hours a day . It is not the intent of this Agreement to result In any increased costs to
            the Carrier in converting from a five (5) day workweek to a four (4) day workweek.

         b.   For purposes of this Agreement , EMRs wi ll be converted to an hourly basis.

         The provisions of this Agreement are not to be considered as a precedent nor be
 referred to in the handling of an y other matters. This Agreement may be cancelled by one party
 serving fifteen (15) days' written notice upon the other and the cancellation shall beco me
 effective on the first day of the payroll half following the end of the fifteen (15) day notice.

 Signed this 11 th day of February 2013.




                                                        A
 FOR THE ORGANIZATION :                                FOR THE CARRIER




~~
 Robert Ragland
 TCU/IAM National Representative            IN   ~(}&r AVP Labor Re lations
                             AV
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                                                                 Page 191 of 196
                                                                                                  Andrea Gansen
                                                                                              Asst. Vice President
                                                                                                   402·54 4·3073




                                                 March 13, 2012
                                                    297.38
                                                     NCSC

  Mr. Steve W. Mether
  National Representative TCUIIAM
  2820 South 87 th Avenue
  Omaha, NE 68124

  Dear Sir:

         This has reference to recent discussions regarding the Memorandum of Agreement
 outlining the overtime call provisions which were effective February 22, 1994 for the National
 Customer Service Center, Zone 210.




                                                                    A
       Section 3-Preferential Calling Order, Item D of the above-reference Memorandum of
 Agreement is modified to reflect the following windows for calling:

                    Calling window:
                 4:30 AM. to 5:30 AM .
                 5:30 AM . to 6:30 AM.
                 6:30 AM. to 7:30 AM .
                                                    IN        Positions beginning at:
                                                                       7:00 AM .
                                                                       8:00 AM.
                                                                       9:00 AM.
                               AV
                 7:30 AM. to 8:30 AM.                                 10:00 AM.
                 9:30 AM . to 10:30 AM.                              12:00 P.M.
                 12:30 P.M. to 1:30 P.M.                               3:00 P.M .
                  8:30 P.M. to 9:30 P.M.                             11 :00PM

         In the event a position is subsequently added that has a start time not listed above, the
                P-

 calling cycle will be the one and one-half (1 y,) to two and one-half (2 y,) period preceding the
 start of the shift . For example, the calling cycle for a position beginning at 11 :00 A.M . will be
 8:30 A.M. to 9:30 A.M.

        In order to alleviate problems with respect to the filling of vacanCies, it is agreed that
       U



except in emergency situations, employees who request to be absent from their assigned
positions must do so two (2) hours prior to start of shift.

       This understanding is made without prejudice to the position of either party and may be
cancelled by either party with the serving of a thirty (30) day advance notice.

       If this letter properly reflects our understanding in this matter, please signify in the space
provided below.

                                                                       Yours truly,




National Representative TCU/IAM

                      UNION PACIFIC RAILROAD 1400 Douglas Street STOP 07 10 Omaha, NE 68179




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                                                                      Page 192 of 196
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                                                                                              Dirc c tor




                                                         March 14,2013
                                                         297 - NSP
                                                         297 - 74




Mr. R. L. Ragland
National Repre se nt ative TeU/I AM
2820 S. 8t h
             Avenue




                                                           A
Omaha, NE 68124

Dear Mr. Ragland:



                                           IN
       Thi s is in reference to th e TeF Foreman positions which are bulletined and assigned t o
work four (4) ten hour straight time shifts per week.
                           AV
        It is agreed that the requirement to bid to these positions in order to preserve an
Employee Maintenance Rate (EMR) or a February 7, 1965 Job Stabilization rate is waived It is
und erstood that this waiver is being offered to address a unique situation and will not serve as
a precedent. If you agree with waiv ing the requirements of the National Salary Plan and the
February 7, 1965 Job Stabilization Agreement, as amended, outlined herein, please sign in the
               P-

space indicated, retaining one copy of this letter and returning the other copy for my file s.
       U




NATIONAL REPRESENTATVE TeU/ IAM



     ~QLo                                        62.1-          ZOt~
Robert L. Ragland    ~~-                                 Date




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                                                                                544 U']4
   UNION PACIFIC RAILROAD
   1400 Douglas Street , STOP 07 10                   Andrea   R.   Gansen   Assistant Vice President
   Omaha, Nebraska 68169

  P 402 5 443 0 73


                                                 October 24, 2013

                                                                                                        297-5 ; 297-74
 Mr. Robert Ragland
 National Representative, TCUIIAM
 2820 South 87 lh Ave
 Omaha, NE 68124

 Re        Transfer of Utility Clerks from EI Paso , Texas, to Santa Teresa, New Mexico

 Dear Sir:

          This letter is to gi ve such notice as may be required under Article III of the UPITCU Job
 Stabilization Agreement regarding the Carrier's planned operational change of assignment for
 Utility Clerks at EI Paso , Texas. On January 1, 2014, the crew change point for train and engine




                                                                    A
 employees will be almost entirely shifted from EI Paso to Santa Teresa, New Mexico. In support
 of this change in operations, the Carrier proposes the following :




      2.                                           IN
       1. Agreement that Santa Teresa , New Mexico, will be included as a part of Seniority Zone
          220 - Field Operations Texas, in Rule 4 of the Collective Bargaining Agreement.

               Effective January 1, 2014, the three (3) incumbent Utility Clerks headquartered at EI
               Paso , Texas , will have their headquarters/reporting location changed to Santa Teresa,
                                      AV
               New Mexico. These incumbent employees are, in seniority order:

               Sylvia Gerardo         EID 167401               Seniority Date: 11/19/1996
               Diana Alarcon          EID 009025               Seniority Date 11 /19/1996
               Elizabeth Perez        EID 420764               Seniority Date 10/17/2005
                      P-

      3.       As the Santa Teresa terminal is located within thirty (30) miles of the EI Paso terminal , it
               is the understanding of the parties that the Uti lity Clerk Agreement , effective February
               15, 2002, applies to the crew hauling positions transferred to Santa Teresa.
           U



      4. It is likewise recognized that no change of residence is required to effectuate this change
         in operations.

      If you are agreeable, please indicate with your signature and return one copy to me for
my handling.




AGREED



Robert 2~
       Ra9IS~-
CONFIDENTIAL
   Case 4:19-cv-00480-RK
www .up .com                              Document 70-3 Filed 03/15/21UP-AVINA-002418
                                                                       Page 194~
                                                                               of 196BUILDING AMERICA0
 UNION PACIFIC RAILROAD
 1400 Douglas Stree t, STOP 07 10                 Andrea R. Gansen    Assistant Vice President
 Omaha, Nebraska 68 169

 P 402544 3073
                                                  May 23 , 2014
                                                                                                 297- 2, 297-10


 Mr. R. L Ragland
 National Representative TCUIIAM
 2820 S. 8ih Avenue
 Omaha , NE 68124

 Dear IVir. Ragland :

        This Letter Agreement concerns the application of Rule 10 and the ability of an
 employee to retain his or her TCU seniority when he or she elects to transfer to a position
 represented by an Organization not affiliated with the TCU .

        It is agreed to allow employees transferring to a different, non-affiliated craft the




                                                            A
 opportun ity to keep their TCU seniority date for ninety (90) calendar days after the first date they
 are compensated for service or training for said position. It is understood that in order for
 employees to maintain their TCU seniority date, they will be required to continue their dues to



                                                IN
 the Organization . On the ninety-first (91 st ) calendar day, the employee's TCU seniority will end
 and he or she will be removed from all TCU seniority rosters.

         Employees maintaining their TCU seniority under the provisions of this Agreement may
                                    AV
 only use their seniority to bid to open positions and may not displace other employees.
 Employees who are furloughed during the ninety (90) day period are not entitled to any
 protective benefits under the TCU Collective Bargaining Agreement.

        Please indicate your agreement by signing in the space provided below. This agreement
will be effective June 1,2014.
                       P-

                                                  Sincerely ,
               U




 Robert Ragland, Nation I Representative                             Date




cc:            Jason Brin k, Finance
               Donna Callender, Finance
               Rowena Da vis, LR
               Jim Eisele, LR




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                                                                               of 196BUILDING AMERICA'"
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TO:              Max Connealy - MC 7080

 BCC:            John Steiger
                 Debbi Peitzmeier
                 Steve Wheeler
                 Glen Lamp
                 Denny Palma
                 Jerry Woodard

FROM:            Dean   Matter~
DATE:            November 29, 1995

FILE:            297-42




                                                   A
        This has reference to Rule 42(d) of the UPITCU Agreement providing for the


                                         IN
payment of unused sick leave. Prior to 1993, employees could receive payment for
unused sick leave in the month of February. Because this payment was made at the first
of the year, it was determined that current year sick leave would not be included in the
                           AV
"buy back" provisions of the Agreement. When Rule 42 was changed to provide for
payment in the month of December for unused sick leave, the Organization argued that
current year sick leave should be included in the "buy back" provisions of Rule 42.
                 P-

Because the payment is made at the end of the year, the Carrier agreed to allow payment
of unused sick leave for all unused sick leave days including unused sick leave for the
current year.
        U



        If you have any questions concerning this interpretation of Rule 42, please do not
hesitate to contact my office.




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